    Case 2:85-cv-04544-DMG-AGR Document 312-1 Filed 01/03/17 Page 1 of 126 Page ID
                                     #:10644



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14                                  UNITED STATES DISTRICT COURT
15                      CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
16
17      JENNY LISETTE FLORES, et al.,    )           Case No. CV 85-4544 DMG (AGRx)
18                                       )
                Plaintiffs,              )           PLAINTIFFS’ EXHIBITS 1 – 5 TO
19      - vs -                           )           PLAINTIFFS’ SUPPLEMENTAL RESPONSE
20                                       )           IN SUPPORT OF MOTION TO ENFORCE
        JEH JOHNSON, SECRETARY, U.S.     )           SETTLEMENT AND APPOINT A SPECIAL
21      DEPARTMENT OF HOMELAND SECURITY, )           MONITOR
        et al.,                          )
22
                                         )           Hearing: January 30, 2017
23              Defendants.              )
                                      _
24
25      Plaintiffs’ counsel, continued:
26

27
28
    Case 2:85-cv-04544-DMG-AGR Document 312-1 Filed 01/03/17 Page 2 of 126 Page ID
                                     #:10645

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                                                   ii
    Case 2:85-cv-04544-DMG-AGR Document 312-1 Filed 01/03/17 Page 3 of 126 Page ID
                                     #:10646

1
2                                           INDEX OF EXHIBITS

3
          1.   Deposition of Assistant Director of Field Operations, Enforcement and Removal Operations,
4              ICE, Phillip Miller – Transcript Excerpts………………………………………….………. 1

5         2.   Order Granting Preliminary Injunction, Unknown Parties v. Jeh Johnson, No. CV-15-00250-
               TUC-DCB (U.S. District Court for the District of Arizona) (Nov. 18, 2016) (“Unknown
6
               Parties”) [Az Dkt. # 244…………………………………………………………………… 7
7
          3.   Declaration of Border Patrol Assistant Chief G e o r g e Allen, from Doe, et al. v.
8              Johnson, et al. Case No. CV-15-0250 (D. Ariz.)……… ……………………...…… 36
9
          4.   Declaration of Eldon Vail, from Doe, et al. v. Johnson, et al. Case No. CV-15-0250 (D.
10             Ariz.)…………………………..……………………………………………………. 38
11
          5.   Declaration of Joeseph Gaston, from Doe, et al. v. Johnson, et al. Case No. CV-15-
12             0250 (D. Ariz.)……………………………………………………………………… 97

13
14
15
16
17
18
19

20
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22
23
24
25
26
27

28


                                                       iii
Case 2:85-cv-04544-DMG-AGR Document 312-1 Filed 01/03/17 Page 4 of 126 Page ID
                                 #:10647




                         Exhibit 1
Case 2:85-cv-04544-DMG-AGR Document 312-1 Filed 01/03/17 Page 5 of 126 Page ID
                                 #:10648
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                          UNITED STATES DISTRICT COURT
                    FOR THE CENTRAL DISTRICT OF CALIFORNIA

             JENNY LISETTE FLORES,      )
             et al.,                    )
                                        )
                                        )
                          Plaintiffs,   )
             VS.                        ) Case No. CV 85-4544 DMG
                                        )
                                        )
             LORETTA E. LYNCH,          )
             Attorney General of the    )
             United States, et al.,     )
                                        )
                                        )
                          Defendants.   )
             ---------------------------x




                         DEPOSITION OF PHILIP MILLER

                                WASHINGTON, D.C.

                               SEPTEMBER 28, 2016

                                    1:01 p.m.




            Reported by:
            Misty Klapper, CRR, RPR, CMR
            Job No. 46539




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Case 2:85-cv-04544-DMG-AGR Document 312-1 Filed 01/03/17 Page 6 of 126 Page ID
                                 #:10649
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     4                                PHILIP MILLER

     5                                SEPTEMBER 28, 2016

     6                                1:01 p.m.

     7

     8                 Deposition of Philip Miller,

     9           held at the Department of Justice,

    10           450 5th Street, N.W., Washington,

    11           D.C., pursuant to Notice, before

    12           Misty Klapper, RPR, CRR, CMR and

    13           Notary Public within and for the

    14           District of Columbia.

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Case 2:85-cv-04544-DMG-AGR Document 312-1 Filed 01/03/17 Page 7 of 126 Page ID
                                 #:10650
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    13      ALSO PRESENT:

    14                     Tom Zimmerman

    15                     Wendy Wallace

    16

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Case 2:85-cv-04544-DMG-AGR Document 312-1 Filed 01/03/17 Page 8 of 126 Page ID
                                 #:10651
                                                                                            130
     1                     PHILIP MILLER

     2      questioning.      I'm sorry if I

     3      misunderstood you.

     4           Q.    Let's go back.            No problem.

     5      It's probably my fault.

     6                 Have you ever -- in -- in

     7      this fiscal year did you ever reach

     8      maximum bed capacity at the Dilley

     9      detention center?

    10           A.    No.

    11           Q.    How about -- and what has

    12      been the average bed usage over the

    13      year?

    14           A.    As I said previously, I don't

    15      know what the average utilization was

    16      at Dilley, but the -- the physical

    17      plant capacity is much greater than the

    18      operational capacity because, although

    19      not licensed, Dilley is operating under

    20      the Texas space allotment criteria and

    21      JFRMU's guidance on family separation.

    22                 So that has reduced our

    23      operational capacity, as I said, to a

    24      little bit over 1500; whereas, the

    25      physical plant capacity is 2400.                  So


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                                                                                        4
Case 2:85-cv-04544-DMG-AGR Document 312-1 Filed 01/03/17 Page 9 of 126 Page ID
                                 #:10652
                                                                                              131
     1                       PHILIP MILLER

     2      we're focusing on operational

     3      capacities at the three facilities,

     4      whether under licensure or under

     5      anticipated licensure, and not the

     6      physical plant capacities.

     7             Q.    And would the same be true of

     8      Karnes?

     9             A.    Yes, sir.

    10             Q.    And when -- when border

    11      patrol calls you or calls somebody and

    12      says they want to transfer a family to

    13      either Dilley or Karnes, if somebody

    14      believes that that facility has reached

    15      operational capacity, do you so advise

    16      CBP?

    17             A.    Yes.

    18             Q.    And then is it your

    19      understanding that CBP would issue an

    20      NTA to those families and release them?

    21                   MR. SILVIS:          Objection to the

    22             foundation.

    23                   THE WITNESS:           Yeah, if all

    24             three were full, I believe that

    25             would be the case.            I don't think


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Case 2:85-cv-04544-DMG-AGR Document 312-1 Filed 01/03/17 Page 10 of 126 Page ID
                                  #:10653
                                                                                             132
      1                     PHILIP MILLER

      2           we've ever hit a point this fiscal

      3           year where all three have been

      4           full on the same day.

      5                      BY MR. SCHEY:

      6           Q.    Okay.       And -- and might you

      7     transport somebody -- from the

      8     U.S./Mexico border in Texas, might you

      9     transfer somebody all the way to Berks

     10     if there's bed space available there?

     11           A.    Yes.

     12           Q.    You would?

     13           A.    Yes, sir.

     14           Q.    And -- and approximately what

     15     is your transportation budget for

     16     fiscal year 2016 for family units?

     17           A.    We don't -- we don't

     18     differentiate in terms of, you know,

     19     our -- our budget for different

     20     criteria.     We track somewhat

     21     differently as it relates to ORR

     22     placements; but in terms of family unit

     23     placements, I don't believe that we

     24     track that separately.

     25           Q.    Okay.       So the answer is you


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                                                                                         6
Case 2:85-cv-04544-DMG-AGR Document 312-1 Filed 01/03/17 Page 11 of 126 Page ID
                                  #:10654




                         Exhibit 2
Case 2:85-cv-04544-DMG-AGR
         Case 4:15-cv-00250-DCB
                             Document
                                Document
                                      312-1
                                          244Filed
                                                Filed
                                                    01/03/17
                                                      11/18/16Page
                                                                Page
                                                                   121ofof126
                                                                           29 Page ID
                                    #:10655


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    6                          IN THE UNITED STATES DISTRICT COURT
    7                                FOR THE DISTRICT OF ARIZONA
    8
    9   Unknown Parties, et al.,                          No. CV-15-00250-TUC-DCB
   10                  Plaintiffs,                        ORDER
   11   v.
   12   Jeh Johnson, et al.,
   13                  Defendants.
   14
   15          Plaintiffs filed this action on June 8, 2015, asserting six claims for relief related to
   16   alleged inhumane and punitive treatment of Tucson Sector1 civil immigration detainees.
   17   Plaintiffs allege five claims of violations of the Due Process Clause of the Fifth
   18   Amendment based on deprivation of sleep, of hygienic and sanitary conditions, of
   19   adequate medical screening and care, of adequate food and water, and of warmth. (Doc. 1
   20   ¶¶ 184-218.) Plaintiffs also alleged the Defendants violated the Administrative
   21   Procedures Act (APA) by failing to enforce their own procedures related to the operation
   22   of holding cells in Tucson Sector facilities, id. ¶¶ 219-24, but this claim was dismissed,
   23   (Order (Doc. 118)). Previously in addition to granting in part and denying in part
   24   Defendants’ Motion to Dismiss, the Court certified the case as a class action. (Order
   25   (Doc. 117)).    The Court now considers Plaintiffs’ Motion for a Preliminary Injunction.
   26
   27          1
                 The Tucson Sector includes Border Patrol facilities at Bisbee (Brian A. Terry
        Station/ Naco Station), Casa Grande, Douglas, Nogales, Sonoita, Tucson, Why (Ajo
   28   Station), Willcox, and Three Points. The Motion for Preliminary Injunction relied on
        early discovery conducted at Tucson, Douglas, Nogales, and Casa Grande.


                                                                                              7
Case 2:85-cv-04544-DMG-AGR
         Case 4:15-cv-00250-DCB
                             Document
                                Document
                                      312-1
                                          244Filed
                                                Filed
                                                    01/03/17
                                                      11/18/16Page
                                                                Page
                                                                   132ofof126
                                                                           29 Page ID
                                    #:10656


    1   Following an evidentiary hearing, the Court finds the evidence supports the Plaintiffs’
    2   experts’ declarations attached to the Motion for a Preliminary Injunction,2 and grants the
    3   motion for the reasons that follow.
    4                        A. Preliminary Injunction: Standard of Review
    5          Preliminary injunctions are an “extraordinary remedy never awarded as of right.”
    6   Winter v. NRDC, 555 U.S. 7, 24 (2008). In Winter, the Supreme Court explained the
    7   four-factor test. “A plaintiff seeking a preliminary injunction must show that: (1) she is
    8   likely to succeed on the merits, (2) she is likely to suffer irreparable harm in the absence
    9   of preliminary relief, (3) the balance of equities tips in her favor, and (4) an injunction is
   10   in the public interest.” Farris v. Seabrook, 677 F.3d 858, 864 (9th Cir. 2012) (citing
   11   Winter, 555 U.S. at 20). “The first factor under Winter is the most important—likely
   12   success on the merits.” Garcia v. Google, Inc., 786 F.3d 733, 740 (9th Cir. 2015) (citing
   13   Aamer v. Obama, 742 F.3d 1023, 1038 (D.C.Cir. 2014) (“We begin with the first and
   14   most important factor: whether petitioners have established a likelihood of success on the
   15   merits.”)). “Because it is a threshold inquiry, when ‘a plaintiff has failed to show the
   16   likelihood of success on the merits, we ‘need not consider the remaining three [Winter
   17   elements].’” Id. (quoting Ass'n des Eleveurs de Canards et d'Oies du Quebec v. Harris,
   18   729 F.3d 937, 944 (9th Cir. 2013) (quoting DISH Network Corp. v. F.C.C., 653 F.3d 771,
   19   776–77 (9th Cir. 2011)).
   20          When a plaintiff is requesting a mandatory injunction, the burden is doubly
   21   demanding because then the plaintiff must establish that the law and facts clearly favor
   22
               2
                 Motion for Preliminary Injunction (MPI) (Doc. 206); Opposition (Response)
   23   (Doc. 141); Reply (Doc. 145). The Plaintiffs’ experts are: Eldon Vail, a corrections
        administrator; Robert Powitz, a forensic Sanitarian, with expertise in correctional public
   24   health; Joe Goldenson, M.D., Medical Director for Jail Health Services for the San
        Francisco Department of Public Health; Joseph Gaston, Plaintiffs’ attorney responsible
   25   for data analysis, and Kevin Coles, Plaintiffs attorney responsible for reviewing video
        surveillance tapes. Defendants experts are: George Allen, the Assistant Chief Patrol
   26   Agent for the Tucson Sector; Diane Skipworth, Sanitarian; Richard Bryce, retired
        Undersheriff of Ventura County Sheriff’s Department in California; Philip Harber, M.D.,
   27   Professor of Medicine with expertise in occupational-environmental (preventative)
        medicine, and Justin Bristow, Border Patrol’s Acting Chief, Strategic Planning and
   28   Analysis, overseeing various programs including the e3 Processing Module/e3 Detention
        Module (e3DM data system).

                                                    -2-
                                                                                             8
Case 2:85-cv-04544-DMG-AGR
         Case 4:15-cv-00250-DCB
                             Document
                                Document
                                      312-1
                                          244Filed
                                                Filed
                                                    01/03/17
                                                      11/18/16Page
                                                                Page
                                                                   143ofof126
                                                                           29 Page ID
                                    #:10657


    1   her position, not simply that she is likely to succeed on the merits. Id. This was the
    2   standard applied when an actress requested an injunction requiring Google to take
    3   affirmative action—to remove (and to keep removing) Innocence of Muslims from
    4   YouTube and other sites under its auspices. This relief was treated as a mandatory
    5   injunction because it “orders a responsible party to ‘take action.’” Id. (quoting Marlyn
    6   Nutraceuticals, Inc. v. Mucos Pharma GmbH & Co., 571 F.3d 873, 879 (9th Cir. 2009).
    7   This heightened standard is necessary because a mandatory injunction “goes well beyond
    8   simply maintaining the status quo pendente lite [and] is particularly disfavored,” id.
    9   (quoting Stanley v. Univ. of S. Cal., 13 F.3d 1313, 1320 (9th Cir. 1994)). Therefore,
   10   “mandatory injunctions should not issue in ‘doubtful cases.’” Id. (quoting Park Vill.
   11   Apartment Tenants Ass'n v. Mortimer Howard Trust, 636 F.3d 1150, 1160 (9th Cir.
   12   2011)).
   13          Following Winter,3 the Ninth Circuit applies a sliding scale test where serious
   14   questions going to the merits and a balance of hardships that tips sharply in favor of the
   15   plaintiff can support issuance of a preliminary injunction if plaintiff also shows that there
   16   is a likelihood of irreparable injury and the injunction is in the public interest. Alliance
   17   for the Wild Rockies v. Cottrell, 632 F.3d 1127, 1135 (9th Cir. 2011).
   18          Harm that is merely monetary “will not usually support injunctive relief.”
   19   American Trucking Associations v. City of Los Angeles, 559 F.3d 1046, 1057 (9th Cir.
   20   2009). Harm that is “merely speculative” will not support injunctive relief. Id. This is
   21   because “[a] preliminary injunction is an extraordinary remedy never awarded as of
   22   right.” Winter, 555 U.S. at 55.      In balancing the competing claims of injury and
   23   consequences resulting from the granting or withholding of the requested relief, a court
   24
   25          3
                 Before Winter, a plaintiff could demonstrate either: (1) a likelihood of success on
        the merits and the possibility of irreparable injury; or (2) that serious questions going to
   26   the merits were raised and the balance of hardships tips sharply in its favor. These two
        alternatives represented extremes of a single continuum, rather than two separate tests.
   27   Thus, the greater the relative hardship to the party seeking the preliminary injunction, the
        less probability of success the party had to show. In Winter, the Supreme Court
   28   definitively refuted the “possibility of irreparable injury” standard as too lenient.
        Stormans, Inc. v. Selecky, 586 F.3d 1109, 1126–27 (9th Cir. 2009)

                                                    -3-
                                                                                            9
Case 2:85-cv-04544-DMG-AGR
         Case 4:15-cv-00250-DCB
                             Document
                                Document
                                      312-1
                                          244Filed
                                                Filed
                                                    01/03/17
                                                      11/18/16Page
                                                                Page
                                                                   154ofof126
                                                                           29 Page ID
                                    #:10658


    1   exercises its sound discretion, and, in equity, a court “should pay particular regard for the
    2   public consequences in employing the extraordinary remedy of injunction.” Weinberger
    3   v. Romero–Barcelo, 456 U.S. 305, 312 (1982). The government cannot be harmed,
    4   however, from an injunction that merely ends an unconstitutional practice. Rodriguez v.
    5   Robbins, 715 F.3d 1127, 1145 (9th Cir. 2013).
    6          The Court “‘need not consider public consequences that are highly speculative.’”
    7   Stormans, 586 F.3d at 1139. (quoting Golden Gate Restaurant Association v. City &
    8   County of San Francisco, 512 F.3d 1112, 1126 (9th Cir. 2008)). “In other words, the
    9   court should weigh the public interest in light of the likely consequences of the
   10   injunction. Such consequences must not be too remote, insubstantial, or speculative and
   11   must be supported by evidence.” Id.
   12          In the Ninth Circuit “the deprivation of constitutional rights unquestionably
   13   constitutes irreparable injury.” Melendres v. Arpaio, 695 F.3d 990, 1002 (9th Cir. 2012).
   14   This is because “constitutional violations cannot be adequately remedied through
   15   damages and therefore generally constitute irreparable harm.” Am. Trucking Ass’ns, Inc.,
   16   559 F.3d at 1059. In the Ninth Circuit, “it is always in the public interest to prevent the
   17   violation of a party’s constitutional rights.”    Melendres, 695 F.3d at 1002 (quoting
   18   Sammarano v. First Jud. Dist. Ct., 303 F.3d 949, 974 (9th Cir. 2002)). If plaintiffs “show
   19   that a constitutional rights claim is likely to succeed, the remaining preliminary
   20   injunction factors weigh in favor of granting an injunction.” Vivid Entm’t, LLC v.
   21   Fielding, 956 F. Supp. 2d 1113, 1136 (C.D. Calif. 2013) (citing Melendres, 695 F.3d at
   22   1002; Klein v City of San Clemente, 584 F.3d 1196, 1208 (9th Cir. 2009)).
   23          In summary, as a threshold matter under Winter, the Plaintiffs must establish a
   24   likelihood of success on the merits of their claims before the Court can grant a
   25   preliminary injunction. If the Plaintiffs are unable to establish the threshold element of
   26   likely success on the merits, the request for a preliminary injunction must be denied and
   27   the Court need not review whether the remaining requirements for issuance of a
   28   preliminary injunction are satisfied. If the threshold is met, the Plaintiffs must establish


                                                    -4-
                                                                                            10
Case 2:85-cv-04544-DMG-AGR
         Case 4:15-cv-00250-DCB
                             Document
                                Document
                                      312-1
                                          244Filed
                                                Filed
                                                    01/03/17
                                                      11/18/16Page
                                                                Page
                                                                   165ofof126
                                                                           29 Page ID
                                    #:10659


    1   the other three elements: they are likely to suffer irreparable harm without the injunction,
    2   the balance of equity tips in favor of the injunction, and the public interest favors the
    3   injunction. Alternatively, under the “sliding scale” approach, a preliminary injunction
    4   may be granted if there are “serious questions going to the merits and a hardship balance
    5   that tips sharply toward the [Plaintiffs],” so long as “the other two elements of the Winter
    6   test, [irreparable harm and public interest], are also met.”
    7          If a mandatory injunction is sought, the Plaintiffs must make a doubly burdensome
    8   threshold showing: that the law and facts clearly favor their position, not simply that
    9   there is a likelihood of success on the merits. This is because mandatory injunctions are
   10   not granted unless extreme or very serious damage will result and are not issued in
   11   doubtful cases.
   12              B. Mandatory Injunction or Injunction to Maintain the Status Quo?
   13          A mandatory injunction orders a party to take action, while a prohibitory
   14   injunction prohibits action and preserves the status quo pending a determination of the
   15   action on the merits. Marlyn Nutraceuticals, 571 F.3d at 878–79. “The relevant status
   16   quo is that ‘between the parties pending a resolution of a case on the merits.’” Arizona
   17   Dream Act Coalition (DACA) v. Brewer, 757 F.3d 1053, 1061 (9th Cir. 2014) (quoting
   18   McCormack v. Hiedeman, 694 F.3d 1004, 1019 (9th Cir. 2012)). In the context of a
   19   preliminary injunction, the “status quo” refers to the legally relevant relationship between
   20   the parties before the controversy arose. McCormack, 694 F.3d 1020. It is not enough
   21   that the result of an injunction may be an action taken in response to it; as long as the
   22   injunction does not mandate a change in the status quo it is prohibitory. Id. (citing see
   23   Marlyn Nutraceuticals, 571 F.3d at 879).
   24          It is not a defense that “Border Patrol has done everything possible with the
   25   resources provided by Congress to ensure that conditions at its stations protect the health
   26   and safety of the individuals in its custody.”        (Response at 3.)   The Court is not
   27   unsympathetic, but a deprivation of constitutional rights cannot be justified by fiscal
   28   necessity, Golden Gate Rest. Ass’n., 512 F.3d at 1126, and the government may be


                                                     -5-
                                                                                           11
Case 2:85-cv-04544-DMG-AGR
         Case 4:15-cv-00250-DCB
                             Document
                                Document
                                      312-1
                                          244Filed
                                                Filed
                                                    01/03/17
                                                      11/18/16Page
                                                                Page
                                                                   176ofof126
                                                                           29 Page ID
                                    #:10660


    1   compelled to expand the pool of resources to remedy a constitutional violation, Peralta v.
    2   Dillard, 744 F.3d 1076, 1083 (9th Cir.2014) (en banc). The role of the judiciary is a
    3   limited one—restricted to assessing the constitutionality of government conduct. It is for
    4   the elected officials, both legislative and executive, and their administrators to determine
    5   this Country’s immigration policies and how to finance and implement them.
    6          Accordingly, the Court turns to the question of whether or not the government’s
    7   actions are constitutional. Defendants submit that they provide medical care, warmth,
    8   sanitation, food, and water, and allow detainees to sleep. Defendants assert they provide
    9   for detainees basic human needs pursuant to Border Patrol’s 2008 Hold Rooms and Short
   10   Term Custody Policy (2008 Policy) and the National Standards on Transport, Escort,
   11   Detention, and Search (TEDS standards).
   12          The Court accepts for purposes of this preliminary injunction that these guidelines,
   13   the 2008 Policy and TEDS, provide for constitutional conditions of confinement, which
   14   Defendants assert is the status quo. Plaintiffs have presented persuasive evidence that the
   15   basic human needs of detainees are not being met pursuant to the current practices being
   16   implemented by Defendants pursuant to these guidelines. The Court preliminarily orders
   17   full and immediate compliance with these guidelines, with the clarification that the
   18   guideline requiring Defendants to give clean bedding to detainees includes mats for
   19   detentions exceeding 12 hours.
   20                        C. Unconstitutional Conditions of Confinement
   21          “When the State takes a person into custody and holds him there against his will,
   22   the Constitution imposes upon it a corresponding duty to assume some responsibility for
   23   his safety and general well-being: Under this rationale, the State must provide for a
   24   detainee’s “basic human needs—e.g., food, clothing, shelter, medical care, and
   25   reasonable safety—.”DeShaney v. Winnebago Cty. Dep’t of Soc. Servs., 489 U.S. 189,
   26   199-200 (1989).
   27          It is undisputed that Border Patrol holds the Plaintiffs as civil detainees, pursuant
   28   to civil immigration laws, Zadvydas v. Davis, 533 U.S. 678, 690 (2001), therefore, they


                                                   -6-
                                                                                           12
Case 2:85-cv-04544-DMG-AGR
         Case 4:15-cv-00250-DCB
                             Document
                                Document
                                      312-1
                                          244Filed
                                                Filed
                                                    01/03/17
                                                      11/18/16Page
                                                                Page
                                                                   187ofof126
                                                                           29 Page ID
                                    #:10661


    1   are protected under the Fifth Amendment from being held without due process of law
    2   under conditions that amount to punishment. Wong Wing v. United States, 163 U.S. 228,
    3   237 (1896). Similarly, the Eighth Amendment’s prohibition against cruel and unusual
    4   punishment requires prison officials to provide humane conditions of confinement,
    5   including adequate food, clothing, shelter, sanitation, and medical care, and take
    6   reasonable measures to guarantee the safety of the inmates. Farmer v. Brennan, 511 U.S.
    7   825, 832 (1994). But to be liable under the Eighth Amendment, a prison official must act
    8   with deliberate indifference to an inmate’s health or safety. Id. at 834. Conditions of
    9   confinement that violate the Eighth Amendment necessarily violate the Fifth
   10   Amendment, but the reverse is not necessarily true.        In other words, Plaintiffs are
   11   protected by both the Fifth and Eighth Amendments.
   12          Because Plaintiffs are civil detainees and not prisoners, the Court applies the Fifth
   13   Amendment, mirrored by the Fourteenth Amendment,4 Due Process Clause. Both the
   14   Fifth and Fourteenth Amendments protect a non-convicted detainee from punishment
   15   prior to an adjudication of guilt. Bell v. Wolfish, 441 U.S. 520, 534–35 (1979). “This
   16   standard differs significantly from the standard relevant to convicted prisoners, who may
   17   be subject to punishment so long as it does not violate the Eighth Amendment’s bar
   18   against cruel and unusual punishment.” Pierce v. County of Orange, 526 F.3d 1190, 1205
   19   (9th Cir. 2008). The “more protective” Fourteenth Amendment standard requires the
   20   government to do more than provide minimal necessities, Jones v. Blanas, 393 F.3d 918,
   21   931 (9th Cir. 2004),5 but, a detainee does not have a fundamental liberty interest under the
   22
   23          4
                The Due Process Clause of the Fourteenth Amendment bars any State from
        depriving any person of rights secured under the Bill of Rights (the first eight
   24   amendments). Therefore, the Court relies equally on cases applying the Fourteenth and
        Fifth Amendment Due Process Clauses.
   25
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                 Overruled in part by Peralta, 744 F.3d at 1083 (holding monetary damages as a
   26   retroactive remedy is unavailable against an official capacity defendant who lacks
        authority over budgeting decisions; applying subjective intent standard allowing fiscal
   27   considerations to factor into deliberate indifference analysis in Eighth Amendment case).
        The government cannot assert a lack of resources defense against an injunction because it
   28   is prospective relief, and the government may be compelled to expand the pool of
        resources to remedy a constitutional violation. Id..

                                                   -7-
                                                                                           13
Case 2:85-cv-04544-DMG-AGR
         Case 4:15-cv-00250-DCB
                             Document
                                Document
                                      312-1
                                          244Filed
                                                Filed
                                                    01/03/17
                                                      11/18/16Page
                                                                Page
                                                                   198ofof126
                                                                           29 Page ID
                                    #:10662


    1   Fourteenth Amendment to be free from discomfort, Bell, 441 U.S. at 537. Under the
    2   Fourteenth Amendment, “due process requires that the nature and duration of
    3   commitment bear some reasonable relation to the purpose for which the individual is
    4   committed.” Jackson v. Indiana, 406 U.S. 715, 738, (1972).
    5          To evaluate the constitutionality of a pretrial detention condition, a district court
    6   must determine whether those conditions amount to punishment of the detainee. Bell, 441
    7   U.S. at 535; Pierce, 526 F.3d at 1205; Demery v. Arpaio, 378 F.3d 1020, 1029 (9th Cir.
    8   2004). For a particular governmental action to constitute punishment, (1) that action
    9   must cause the detainee to suffer some harm or disability, and (2) amount to punishment.
   10   Pierce, 526 F.3d at 1205 (quoting Bell, 441 U.S. at 538). To constitute punishment, the
   11   governmental action must cause harm or disability that either significantly exceeds or is
   12   independent of the inherent discomforts of confinement. Demery, 378 F.3d at 1030. In
   13   the absence of evidence of express intent, a court may infer that the purpose of a
   14   particular restriction or condition is punishment if the restriction or condition is not
   15   reasonably related to a legitimate governmental objective or is excessive in relation to the
   16   legitimate governmental objective. Pierce, 526 F.3d at 1205 (citing Bell, 441 U.S. at
   17   539); Demery, 378 F.3d at 1028 (citing Bell, 441 at 538).
   18          “Maintaining institutional security and preserving internal order and discipline are
   19   essential goals that may require limitation or retraction of the retained constitutional
   20   rights of both convicted prisoners and pretrial detainees.” Bell, 441 U.S. at 546; Pierce,
   21   526 F.3d at 1205. In the absence of substantial evidence that indicates officials have
   22   exaggerated their responses, courts should ordinarily defer to the expert judgment of
   23   correction officials to determine whether detention restrictions or conditions are
   24   reasonably related to maintaining security and order and operating the institution in a
   25   manageable fashion. Bell, 441 U.S. at 540 n. 23.
   26          A reasonable relationship between the governmental objective and the challenged
   27   condition does not require an “exact fit,” proof that the policy in fact advances the
   28   legitimate governmental objective, or even that it is the “least restrictive alternative.”


                                                   -8-
                                                                                           14
Case 2:85-cv-04544-DMG-AGR
         Case 4:15-cv-00250-DCB
                             Document
                                Document
                                      312-1
                                          244Filed
                                                Filed
                                                    01/03/17
                                                      11/18/16Page
                                                                Page
                                                                   209ofof126
                                                                           29 Page ID
                                    #:10663


    1   Valdez v. Rosenbaum, 302 F.3d 1039, 1045 (9th Cir. 2002). However, the correction
    2   official must have reasonably thought that the policy would advance a legitimate
    3   governmental objective. Id. The relevant question is whether the official’s judgment was
    4   rational, that is whether the Defendants might reasonably have thought that their policies
    5   and practices would advance legitimate interests. Id. at 1046 (citing Mauro v. Arpaio,
    6   188 F.3d 1054, 1060 (9th Cir. 1999)).
    7          In summary, a condition of confinement for an inmate who has not been convicted
    8   violates the Fifth and Fourteenth Amendments if it imposes some harm to the detainee
    9   that significantly exceeds or is independent of the inherent discomforts of confinement
   10   and is not reasonably related to a legitimate governmental objective or is excessive in
   11   relation to the legitimate governmental objective. Kingsley v. Hendrickson, 135 S. Ct.
   12   2466, 2473-74 (2015). Under the Fourteenth Amendment, the Court makes an objective
   13   assessment whether there is a reasonable relationship between the government’s conduct
   14   and a legitimate purpose. Id. at 2469. This is the measurement for harm relevant for
   15   assessing the merits of Plaintiffs’ constitutional claims that the conditions of confinement
   16   are punitive.
   17          Importantly, the Court notes that Plaintiffs are not pretrial detainees and that the
   18   civil nature of their confinement provides an important gloss on the meaning of
   19   “punitive” in the context of their confinement. Because they are detained under civil,
   20   rather than criminal, process, they are most decidedly entitled to “more considerate
   21   treatment” than those who are criminally detained. Cf. Estelle v. Gamble, 429 U.S. 97,
   22   104, (1976); Youngberg v. Romeo, 457 U.S. 307, 321–22, (1982). In this way, decisions
   23   defining the constitutional rights of prisoners establish a floor for the constitutional rights
   24   of the Plaintiffs. Padilla v. Yoo, 678 F.3d 748, 759 (9th Cir. 2012) (citations omitted).
   25   Therefore, the Court should presume the Plaintiffs are being subjected to punishment if
   26   they are confined in conditions identical to, similar to, or more restrictive than those
   27   under which the criminally convicted are held. See Sharp v. Weston, 233 F.3d 1166,
   28   1172–73(9th Cir. 2000) (finding that Youngberg required that individuals civilly confined


                                                     -9-
                                                                                             15
Case 2:85-cv-04544-DMG-AGR
         Case 4:15-cv-00250-DCB
                              Document
                                 Document
                                       312-1
                                          244 Filed
                                               Filed01/03/17
                                                     11/18/16 Page
                                                               Page2110ofof126
                                                                            29 Page ID
                                     #:10664


    1   at a commitment center receive “more considerate” treatment than inmates at the
    2   correctional center in which the commitment center was located). Similarly, “[i]f pretrial
    3   detainees cannot be punished because they have not yet been convicted, [citing Bell ],
    4   then [civil] detainees cannot be subjected to conditions of confinement substantially
    5   worse than they would face upon commitment.” Lynch v. Baxley, 744 F.2d 1452, 1461
    6   (9th Cir. 1984).   “Or, to put it more colorfully, purgatory cannot be worse than hell.”
    7   Jones, 393 F.3d at 933.
    8          This is precisely the case here. Assistant Chief Patrol Agent for the Tucson
    9   Sector, George Allen, admitted, when this Court asked him to compare the conditions of
   10   confinement at Tucson Sector Border Patrol stations with those afforded criminal
   11   detainees at the Santa Cruz County jail, that in jail, detainees have a bed, with blankets,
   12   clean clothing, showers, toothbrushes and toothpaste, warm meals, and an opportunity for
   13   uninterrupted sleep.   Likewise, the conditions of confinement for civil immigration
   14   detainees improve once they are transferred from Border Patrol holding cells to detention
   15   centers operated by the United States Marshals.
   16                                        D. Discussion
   17          The Tucson Sector stations are designed for short-term civil detention for
   18   processing of immigrant detainees for transfer to Immigration and Customs Enforcement
   19   (ICE) for civil immigration removal proceedings or Enforcement and Removal Office
   20   (ERO) for juvenile custody determinations, to the United States Marshal for prosecution,
   21   or for repatriation. (Allen Decl. ¶ 7.) There is no dispute that upon transfer to detention
   22   by ICE, ERO or the United States Marshal affords conditions of confinement like those
   23   found in the county jails where detainees have beds, blankets, clean clothing, showers,
   24   personal hygiene items like toothbrushes, etc., hot meals, and the opportunity to sleep
   25   uninterrupted.
   26          Defendants argue the constitutionality of the conditions of confinement in the
   27   Border Patrol stations must be assessed with due consideration given to the nature,
   28   purpose, and duration, of an individual’s time in a Border Patrol station.” (Response at


                                                  - 10 -
                                                                                          16
Case 2:85-cv-04544-DMG-AGR
         Case 4:15-cv-00250-DCB
                              Document
                                 Document
                                       312-1
                                          244 Filed
                                               Filed01/03/17
                                                     11/18/16 Page
                                                               Page2211ofof126
                                                                            29 Page ID
                                     #:10665


    1   24.) “[B]order Patrol stations are twenty-four hour operations, and in fact a significant
    2   number of individuals who are detained in Border Patrol stations are apprehended during
    3   the evening and night time hours.”       Id.   Defendants assert that providing sleeping
    4   facilities and turning off lights would require structural changes at the facilities, create
    5   safety risks, and impede its purpose to provide 24-7 immigration processing. Id. at 24-
    6   25, see also: (Allen Decl. ¶¶ 46-47; Bryce Decl. ¶¶ 100-02; Skipworth Decl. ¶¶ 153;
    7   Harber Decl. ¶ 65.) Accordingly, the hold rooms are not designed for sleeping and,
    8   therefore, have no beds. (MPI, Ex. 81:Hold Room Policy (sealed) (Doc. 193)).
    9          Assistant Chief Allen explains that Border Patrol processing begins in the field,
   10   but on arrival at the detention facility intake begins in the “sally port” where detainees’
   11   outer-clothing is removed for security reasons, (Allen Decl. ¶ 1-4), leaving detainees
   12   without sweatshirts, jackets, or second layers of clothing for warmth. Detainees are
   13   placed into group-holding rooms based on age, gender, family units, or criminal suspects.
   14   Id. ¶ 4. Processing consists of obtaining biographical information and biometrics and
   15   submitting this information through the e3Nex Generation Identification system to
   16   determine prior criminal and immigration arrests. Id. ¶ 5. Fully processing a detainee
   17   includes preparing an arrest report, immigration processing, service of immigration
   18   forms, consular notifications, and communication with family members and attorneys as
   19   appropriate. Id. If uninterrupted and if there is no remarkable criminal or immigration
   20   history, processing would take between two and two and one-half hours. Id.
   21          But there are interruptions, which can be caused by a large number of prior
   22   apprehensions and the criminal background of the detainees awaiting processing, the
   23   need to dispense meals, medical or health care, to arrange consular communications,
   24   phone calls to family members or attorneys, to conduct investigations, and computer
   25   system outages. Id. Evidence at the hearing revealed that detention in Border Patrol
   26   holding rooms is also extended because of delays by the receiving agencies ICE, ERO,
   27   and the United States Marshal in accepting the Border Patrol transfers. See also (Allen
   28   Decl. ¶ 9.)


                                                   - 11 -
                                                                                           17
Case 2:85-cv-04544-DMG-AGR
         Case 4:15-cv-00250-DCB
                              Document
                                 Document
                                       312-1
                                          244 Filed
                                               Filed01/03/17
                                                     11/18/16 Page
                                                               Page2312ofof126
                                                                            29 Page ID
                                     #:10666


    1          Discovery in this case reflects that between June 10, 2015 and September 28,
    2   2015, only about 3,000 of approximately 17,000 detainees were processed out of Border
    3   Patrol station detention within 12 hours. (Gaston Decl. ¶ 20.) Of these 17,000 detainees,
    4   8,644 people were held at Border Patrol stations up to 23 hours, 6,807 were held up to 47
    5   hours, 1,207 were held up to 71 hours, and 476 were held for 72 hours or more.
    6   (Response at 6.) Defendants’ expert, Diane Skipworth, indicated that based on her
    7   review “BP tries diligently to process detainees promptly, and generally does so within
    8   24 hours.” (Skipworth Decl. ¶ 154.) Defendants’ other expert, Richard Bryce, believes
    9   that nearly all detainees were processed within 48 hours. (Bryce Decl. ¶ 38.)
   10          The conditions of confinement challenged by the Plaintiffs include: 1) deprivation
   11   of sleep; 2) failure to provide a safe and sanitary environment, including potable water; 3)
   12   inadequate and insufficient food, and 6) inadequate medical screening and care.
   13                                   1. Success on the Merits
   14                                            Sleeping:
   15          “Detention facilities (and prisons) must provide detainees held overnight with beds
   16   and mattresses. The absence of either violates detainees’ due process rights.” (MPI at 10
   17   (citing Thompson v. City of Los Angeles, 885 F.2d 1439, 1448 (9th Cir. 1989); accord
   18   Anela v. City of Wildwood, 790 F.2d 1063, 1069 (3rd Cir. 1986)). “Indeed, the use of
   19   floor mattresses—i.e.., mattresses without bed frames—is unconstitutional ‘without
   20   regard to the number of days a prisoner is so confined.’” Id. (quoting Lareau v. Manson,
   21   651 F.2d 96, 105 (2nd Cir. 1981)).
   22          According to Plaintiffs’ analysis of the Defendants’ e3DM data system,6 “out of
   23   16,992 detainees between June 10 and September 28, 2015, only 122 were recorded to
   24   have received a mat.” (Vail Decl. ¶ 62 (citing Gaston Decl. ¶ 25.) The remainder of
   25   detainees’ bedding needs was met with a Mylar sheet/blanket. The 2008 Policy provides
   26
               6
                 This is an electronic data system designed by Defendants to track each action
   27   taken by Border Patrol for each detainee, including the time of arrest; check-in and out at
        the station; when meals are served, mats are provided, personal hygiene items are
   28   delivered, health care is administered, and when a transfer is made to a hospital facility,
        etc.

                                                   - 12 -
                                                                                           18
Case 2:85-cv-04544-DMG-AGR
         Case 4:15-cv-00250-DCB
                              Document
                                 Document
                                       312-1
                                          244 Filed
                                               Filed01/03/17
                                                     11/18/16 Page
                                                               Page2413ofof126
                                                                            29 Page ID
                                     #:10667


    1   that “detainees requiring bedding will be given clean bedding.” (Ex. 87 at 000330.)
    2   Under TEDS, only juveniles receive mats. (Ex. 95: TEDS at 000634). Adults get clean
    3   blankets, which are Mylar sheets, upon request when available. Id. Video releases by
    4   Defendants reflect overcrowded hold rooms with wall to wall detainees lying cocooned in
    5   Mylar blankets and adjacent empty cells with some of the empty cells having mattresses
    6   piled high. (Coles Decl. ¶ 37.) Plaintiffs found no mats in videos from the Casa Grande,
    7   Willcox, Sonoita, and the Brian A. Terry stations. (Coles Decl. ¶ 37.)
    8          Plaintiffs add that the harshness caused by the lack of mats and the inadequacy of
    9   the Mylar blankets is compounded by the Defendants’ practices of keeping holding-cell
   10   lights turned on 24-7, feeding one of the three regular hot meals to detainees at 4:00 a.m.,
   11   moving detainees in and out of holding cells throughout the night for processing,
   12   overcrowding cells which causes people to lie cramped together and next to toilet
   13   facilities or to sit or stand up, and because the hard concrete floors and benches retain the
   14   cold caused by low thermostat temperatures and make it too hard and cold to sleep. 7
   15          Plaintiffs attest that there are prison standards for short-term detentions, defined as
   16   being less than 10 hours, which require at least 25 square feet of unencumbered space per
   17   occupant. (Vail Decl. ¶ 42). Prison standards for detaining two to 64 occupants requires
   18   25 square feet of unencumbered space per occupant, id. ¶ 44, and 35 square feet when
   19   confinement exceeds ten hours per day, id. (relying on American Correctional
   20   Association (ACA) CORE Jail Standards, United States Department of Justice National
   21
   22          7
                  Toussaint v. McCarthy, 597 F. Supp. 1388, 1409-10 (N.D. Calif. 1984) (noise
        occurring every night, often all night interrupting or preventing sleep gives rise to due
   23   process claim), reversed on other grounds; Keenan v. Hall, 83 F.3d 1083, 1090 (9th Cir.
        1996) (no penological justification for psychological harm caused by living in constant
   24   illumination), amended on other grounds; King v. Frank, 328 F. Supp.2d 940, 946-47
        (W.D. Wis. 2004) (constant illumination leading to sleep deprivation may violate Eighth
   25   Amendment); Bowers v. City of Philadelphia, 2007 WL 219651 (E.D. Pa. Jan. 25 2007)
        (unconstitutional where overcrowding caused detainees to sleep overlapping one another
   26   and on every inch of concrete floors with heads next to toilets  and on metal benches);
        United States v. Wilson, 344 F. App’x 134, 137, 143 (6th Cir. 2009) (cells with only
   27   concrete bench and floors stated Eighth Amendment claim for subjection to cold); Knop
        v. Johnson, 667 F. Supp. 467, 475-77 (W.D. Mich. 1987) (clothing must be minimally
   28   adequate   for conditions of confinement); Henderson v. DeRobertis, 940 F.2d 1055, 1059
        (7th Cir. 1991) (same).

                                                    - 13 -
                                                                                            19
Case 2:85-cv-04544-DMG-AGR
         Case 4:15-cv-00250-DCB
                              Document
                                 Document
                                       312-1
                                          244 Filed
                                               Filed01/03/17
                                                     11/18/16 Page
                                                               Page2514ofof126
                                                                            29 Page ID
                                     #:10668


    1   Institute of Corrections (NIC), and United Nations Body of Principles for the Protection
    2   of all Persons Under any form of Detention or Prison).
    3          In comparison, the capacity numbers for the border patrol holding cells is
    4   calculated as 35 square feet for the first detainee, plus an additional seven square feet for
    5   each additional detainee. Id. ¶ 41, ¶ 29 (citing 2009 Border Patrol Handbook). At the
    6   evidentiary hearing, the evidence reflected that holding-cell occupancy limits are
    7   established for detainees sitting up, and the problem of overcrowding is compounded by
    8   the need to lie down and would be further compounded if detainees were given mats to
    9   lie down in the holding cells. Detainees need to lie down to sleep because they are
   10   detained at the Border Patrol stations in excess of 12 hours. The Court finds the holding-
   11   cell capacity numbers cannot accommodate the number of detainees being detained
   12   longer than twelve hours because detention of this duration requires them to lie down to
   13   sleep rather than sit up.
   14          Defendants’ expert, Richard Bryce, objects to Plaintiffs’ comparison between
   15   Border Patrol short-term immigration processing facilities and detention facilities like
   16   prisons and jails. (Bryce Decl. ¶ 32.) He opines the Border Patrol facilities are on par
   17   with short-term [prison] holding cells, id. ¶ 35, of the type which is used during the
   18   booking process in jail facilities. He explains that “[n]o other law enforcement agency in
   19   the United States faces the unique issue of populations subject to fluctuation based on the
   20   entry patterns of aliens.” Id. The processing time depends on immigration patterns and
   21   the characteristics of those apprehended, but generally he believes that nearly all
   22   detainees are processed within 48 hours. Id. ¶ 38.
   23          The Court rejects Bryce’s suggestion to allow conditions of confinement
   24   appropriate for holding cells used at a jail facility for its booking process, which does
   25   take hours instead of days. The processing being conducted at the Border Patrol stations,
   26   whether or not it is being done for booking purposes, takes days (48 hours).
   27          It is undisputed that the holding-cells are illuminated 24-7 for security reasons and
   28   there is constant coming and going during the night, which Defendants assert is


                                                   - 14 -
                                                                                            20
Case 2:85-cv-04544-DMG-AGR
         Case 4:15-cv-00250-DCB
                              Document
                                 Document
                                       312-1
                                          244 Filed
                                               Filed01/03/17
                                                     11/18/16 Page
                                                               Page2615ofof126
                                                                            29 Page ID
                                     #:10669


    1   necessary, given the very essence of the facility is to provide 24-7 immigration
    2   processing. The Court accepts Defendants’ assertion that the holding cells need to be
    3   illuminated for security where security cameras are not technologically capable of
    4   recording in dimmed light. In terms of interruptions of sleep, the Court finds no security
    5   reason nor any reason related to the processing activities being conducted at these
    6   facilities to wake up detainees by scheduling one of the three burrito meals at 4:00 a.m.
    7          As to warmth, without mats, the Mylar sheets are the only barriers between the
    8   detainee and the cold, including the cold concrete floors and benches in the holding cells
    9   upon which they are forced to lie. Defendants admit that the Mylar sheets do not provide
   10   insulation but merely prevent evaporation so that when wrapped around the body the
   11   Mylar blankets reflect approximately 80% of body heat back to the body and provide a
   12   barrier between the body and air currents or drafts. (Skipworth Decl. ¶ 150.) The efficacy
   13   of the Mylar blanket depends on comfortable room temperatures being maintained at
   14   Border Patrol stations. Id.
   15          Defendants report holding cell temperatures are set between 71 and 74 degrees,
   16   (Response at 10 (citing Allen Decl ¶¶ 13-14; Skipworth Decl. ¶¶ 35, 133-134, 137-141,
   17   147-48 (citing Ex. 2) Bryce Decl. ¶¶ 82, 83 (citing Ex. 3); Harber Decl. ¶ 66 (citing Ex.
   18   4), and at the hearing the evidence reflected a variability of 2 degrees up or down.
   19   Defendants assert the acceptable institutional standard is 68 to 80 degrees. (Skipworth
   20   Decl. ¶ 133 (citing ANSI and ASHRAE standards).           In addition to room temperature,
   21   body heat is affected by the sedentary nature of the detention and whether or not
   22   detainees have the ability to move around can be a factor in warmth.             The Court
   23   recognizes that Plaintiffs have a constitutional right to clothing that is at least minimally
   24   adequate for the conditions of confinement, Knop v. Johnson, 66 F. Supp. 467, 475-77
   25   (Mich. 1987), but when mats are provided for detentions exceeding 12 hours the analysis
   26   regarding adequate clothing and comfortable room temperature may change. As of now,
   27   the Court will require Defendants to continue monitoring cell temperatures.
   28          The Court finds that the law and the facts clearly favor Plaintiffs’ position that


                                                   - 15 -
                                                                                            21
Case 2:85-cv-04544-DMG-AGR
         Case 4:15-cv-00250-DCB
                              Document
                                 Document
                                       312-1
                                          244 Filed
                                               Filed01/03/17
                                                     11/18/16 Page
                                                               Page2716ofof126
                                                                            29 Page ID
                                     #:10670


    1   Defendants are violating Plaintiffs’ constitutional right to sleep. Preliminary, the Court
    2   orders that clean bedding, which Defendants assert they are providing to all detainees,
    3   must include a mat and a Mylar blanket for all detainees being held longer than 12 hours.
    4                                           Sanitation:
    5          “A sanitary environment is a basic human need that a penal institution must
    6   provide for all inmates,” Toussaint, 597 F.Supp. at 1411, which includes a “right to
    7   personal hygiene supplies such as toothbrushes and soap,” Keenan v. Hall, 83 F.3d 1083,
    8   1091 (9th Cir. 1996), and “sanitary napkins for female prisoners,” Atkins v. County of
    9   Orange, 372 F. Supp.2d 377, 406 (S.D.N.Y 2005). See also Dawson v Kendrick, 527 F.
   10   Supp. 1252, 1288-89 (S.D.W.Va. 1981) (failing to provide clean bedding, towels,
   11   clothing and sanitary mattresses, as well as toilet articles including soap, razors, combs,
   12   toothpaste, toilet paper, access to a mirror and sanitary napkins for women constitutes
   13   denial of sanitary living conditions). Sanitation includes “the control of vermin and
   14   insects, food preparation, medical facilities, lavatories and showers, clean places for
   15   eating, sleeping, and working.” Rhodes v. Chapman, 452 U.S. 337, 364 (1981).
   16          Plaintiffs offer the opinion of Robert Powitz, a practicing forensic sanitarian, who
   17   has expertise in correctional public health. He opines that Defendants do not comply
   18   with their own Border Patrol standards, which do not comply with national standards for
   19   correctional facilities with respect to hygiene. Id. ¶ 18-22 (relying on Performance-Based
   20   Standards for Adult Local Detention Facilities (ALDF), American Public Health
   21   Association Standards for health Services in Correctional Institutions, and U.S. Depart. of
   22   Justice ICE Detention Standards).
   23          He personally observed holding rooms with floors, walls, benches, drains, toilets,
   24   sinks, stalls, and other fixtures—all of which were badly soiled. Id. ¶ 23. ICE detention
   25   standards require garbage and refuse be collected and removed from common areas daily.
   26   Id. ¶ 25. The hold rooms lacked trash receptacles, id. ¶ 27, and toilet stalls lacked waste
   27   receptacles for sanitary napkins, diapers, and other bathroom waste. Id. ¶ 28. Cleaning
   28   supplies did not appear to be segregated so as to prevent interchangeable use in toilet


                                                  - 16 -
                                                                                          22
Case 2:85-cv-04544-DMG-AGR
         Case 4:15-cv-00250-DCB
                              Document
                                 Document
                                       312-1
                                          244 Filed
                                               Filed01/03/17
                                                     11/18/16 Page
                                                               Page2817ofof126
                                                                            29 Page ID
                                     #:10671


    1   areas and food storage or sleeping areas. Id. ¶ 88. Cleaning crews did not appear to
    2   clean and sanitize common-touch points in detainee areas. Id. ¶ 89. He concluded that
    3   cleaning was not sufficient to sanitize the holding cells. Id. ¶¶ 88,89. He explains that
    4   exposure to garbage increases the risk of disease and presence of vermin, and is
    5   psychologically stressful. Blood-born transmission can occur from exposure to diapers
    6   and sanitary napkins. Id. ¶ 31.
    7          According to Powitz, the CORE prison standard 4-4137 requires one toilet for
    8   every twelve male prisoners and one toilet for every eight female detainees. See also
    9   TEDS § I.A.7. He reports that “in most cases, the number of toilets in a hold room was
   10   inadequate for the contemplated occupancy numbers posted or produced by Defendants.”
   11   Id. ¶ 51. One large hold room at Nogales station, with capacity up to 88, had one
   12   working toilet and one non-flushing toilet. Id. ¶ 52, see also ¶¶ 83-86 (relying on Border
   13   Patrol logs8 reflecting long-term out of order sinks and toilets supporting his conclusion
   14   that there is no regular maintenance program and policy), see also (Vail Decl. 51; Powitz
   15   Decl. ¶ 52) (some rooms where over 40 detainees were forced to share one toilet).
   16          Powitz explains that the toilet is a sink/toilet combination fixture, with the sink
   17   fixture on top of the toilet and the water spigot is designed for use as a water fountain.
   18   Id. ¶ 38. This explains the lack of hot water and why the fixtures were not capable of
   19   providing an uninterrupted water flow of at least ten seconds, which is the minimal flow
   20   required for adequate hand washing. Id. ¶ 64. This also creates a potential for
   21   contamination from fecal matter and saliva.        Id. ¶ 39. Plaintiffs complain that the
   22   toilet/sink combination system for dispensing drinking water creates a potable water
   23   problem. At the Tucson and Nogales stations, 5-gallon Igloo water coolers are placed in
   24   many hold cells, without cups and there are no sinks, kitchens, or any other means at
   25   these facilities to properly clean the Igloo containers. Id. ¶ 73. One video recorded
   26
   27          8
                 The Court is not clear on whether these logs are part of the e3DM data system or
        were designed for purposes of conducting discovery in this case. Regardless, the Court
   28   will rely on them for the purposes of monitoring compliance with TEDS standards for the
        working sinks and toilets per detainee.

                                                  - 17 -
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Case 2:85-cv-04544-DMG-AGR
         Case 4:15-cv-00250-DCB
                              Document
                                 Document
                                       312-1
                                          244 Filed
                                               Filed01/03/17
                                                     11/18/16 Page
                                                               Page2918ofof126
                                                                            29 Page ID
                                     #:10672


    1   detainees all drinking from the same one-gallon water jug because cups were not
    2   provided. Id. ¶ 75.
    3          A person who has been trudging across the Arizona desert will likely arrive at a
    4   detention station dirty and in need of a shower, but Plaintiffs report that only two stations,
    5   Nogales and Tucson, have shower facilities, and these were sparsely used, generally for
    6   detainees who have scabies. (Vail Decl. ¶ 116.) The Defendants e3DM data system
    7   showed that only 115 detainees were given showers out of the 16,992 held between June
    8   10 and September 28, 2015. Of those 115 showers, 20 reportedly occurred at Casa
    9   Grande station where Border Patrol agents said no shower facilities existed. Id.
   10          Plaintiffs tender first-hand accounts from detainees that there were no sanitary
   11   napkins, or available diapers. (Vail Decl. ¶ 125.) The Defendants e3DM data confirms
   12   that personal hygiene items, including those necessary for feminine hygiene and dental
   13   care, were routinely denied. (Powitz Decl. ¶ 60.)
   14          Defendants offer explanations to present a different picture. They report the
   15   holding cells are cleaned twice a day, except for the Casa Grande station which is cleaned
   16   only once a day, (Allen Decl. ¶¶ 29-30), and admit there were problems with the Casa
   17   Grande custodial services, but assert that things are being rectified, (Allen Decl. ¶¶ 29-
   18   30).
   19          Defendants also report that in 2015, they began placing trash receptacles in the
   20   holding cells, id. ¶ 31, whereas previously “there were no trashcans in the hold rooms for
   21   safety reasons,” (Response to Motion for Expedited Discovery, Padilla Decl. ¶ 14 (Doc.
   22   39-1)). Defendants admit that dirty toilet paper is on the floor next to the toilets rather
   23   than flushed because detainees are from countries where plumbing cannot tolerate
   24   flushing toilet paper and instead it is common practice to dispose of it in trash
   25   receptacles. Id. ¶ 32. This is no excuse. Instead, it suggests that toilet receptacles are
   26   especially important.
   27          Cleanliness is monitored by walk-throughs of the holding cells during each shift
   28   turnover, and the review is logged in e3DM. Id. ¶36. Defendants’ sanitarian, Skipworth,


                                                    - 18 -
                                                                                            24
Case 2:85-cv-04544-DMG-AGR
         Case 4:15-cv-00250-DCB
                              Document
                                 Document
                                       312-1
                                          244 Filed
                                               Filed01/03/17
                                                     11/18/16 Page
                                                               Page3019ofof126
                                                                            29 Page ID
                                     #:10673


    1   inspected the Tucson station, reviewed Defendants’ contracts with cleaning companies,
    2   and it was her opinion that the facility is kept clean and sanitary. (Skipworth Decl. ¶¶ 36-
    3   67 (citing TEDS)).    According to her, the ACA Plumbing Fixture Standard (one toilet
    4   per 12 male detainees; one toilet per 8 female detainees) is met. Id. ¶ 69. Personal
    5   hygiene items are regularly dispensed, id. ¶¶ 78-91, and children had toys and games and
    6   were watching television in the Tucson station, id. ¶ 87
    7          Defendants assert soap has been available to detainees upon request and in 2014, it
    8   was decided to fit the hold rooms with soap dispensers. Due to “security, functionality
    9   and durability” concerns, these dispensers had to be specially fabricated. The process of
   10   installing them in hold rooms was completed in 2015. Id. ¶ 34. The cleaning services
   11   are now responsible for filling the dispensers.
   12          Defendants assert that if the water fountain in the cell is inoperable, the five gallon
   13   water coolers provide a sufficient source of drinking water, and disposable cups are
   14   provided. (Allen Decl. ¶ 44 (citing TEDS)). They do not explain how the Igloo water
   15   coolers are kept clean and sanitary. Skipworth’s inspection found compliance with
   16   TEDS: “functioning drinking fountains or clean drinking water along with clean drinking
   17   cups must always be available to detainees.” (Skipworth Decl. ¶¶ 126-131.) Defendants
   18   explain the one-gallon jug seen in the video is the container of water, which was
   19   distributed in the field at the time of apprehension—some stations allow detainees to
   20   retain these jugs of water, and detainees choose to share them even though other sources
   21   of water are available. (Allen Decl. ¶ 44.) The video did not, however, reflect another
   22   water source.
   23          The evidence reflects that Defendants are making ongoing efforts to rectify
   24   personal hygiene and sanitation problems, which in large part appear to be
   25   noncompliance issues. Preliminarily, the Court will order compliance monitoring to
   26   ensure detainees have access to working toilets and sinks, soap, toilet paper, garbage
   27   receptacles, tooth brushes and toothpaste, feminine hygiene items, baby food, diapers,
   28   and clean drinking water.


                                                    - 19 -
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Case 2:85-cv-04544-DMG-AGR
         Case 4:15-cv-00250-DCB
                              Document
                                 Document
                                       312-1
                                          244 Filed
                                               Filed01/03/17
                                                     11/18/16 Page
                                                               Page3120ofof126
                                                                            29 Page ID
                                     #:10674


    1          The Court turns to the admitted lack of shower facilities and lack of access to hot
    2   running water. Jail standards require access to showers and washbasins with temperature
    3   controlled hot and cold running water 24 hours per day, (Vail Decl. ¶ 121), with daily
    4   shows being available to general population jail-inmates, id. ¶ 123.
    5          Defendants assert that the lack of shower accommodations is not a problem
    6   because detainees are transferred when approaching 72 hours, and TEDS only requires
    7   that reasonable efforts be made to provide showers to those approaching 72 hour
    8   detentions. Id. ¶ 33. Like Defendants’ failure to provide for the necessity of sleeping
    9   when detention exceeds 12 hours, Defendants fail to recognize the basic human need to
   10   wash during these detentions. “The more basic the particular need, the shorter the time it
   11   can be withheld.” Hoptowit v. Ray, 682 F.2d 1237, 1259 (9th Cir. 1982). So for
   12   example, it is doubtful that any circumstance would permit a denial of access to
   13   emergency medical care, but less critical needs may be denied for reasonable periods of
   14   time when warranted by exceptional circumstances such as an emergency or disciplinary
   15   need. Id. (citing Spain v. Procunier, 600 F.2d 189, 199 (9th Cir. 1979)). The Court’s task
   16   is to “determine whether a challenged punishment comports with human dignity,”
   17   Furman v. Georgia, 408 U.S. 238, 282 (1972) (BRENNAN, J., concurring), and requires
   18   careful scrutiny of challenged conditions and application of realistic yet humane
   19   standards, Rhodes, 452 U.S. at 361.
   20          It has been held to be self-evident that adequate and functional plumbing
   21   providing neither too hot nor too cold water is necessary so as to not discourage prisoners
   22   from taking showers, which would result in an increased risk of skin problems and
   23   transmission of disease from person to person and a foul and malodorous environment,
   24   Benjamin v. Fraser, 161 F. Supp.2d 151, 171 (S.D. N.Y. 2001). Nevertheless, courts are
   25   extremely reluctant to find constitutional violations based on temporary deprivations of
   26   personal hygiene and grooming items. Id. at 175 (citations omitted). Additionally, courts
   27   have found that when other materials are made available for a prisoner to clean himself, a
   28   constitutional violation has been averted. Shakka v. Smith, 71 F.3d 162, 168 (4th Cir.


                                                  - 20 -
                                                                                          26
Case 2:85-cv-04544-DMG-AGR
         Case 4:15-cv-00250-DCB
                              Document
                                 Document
                                       312-1
                                          244 Filed
                                               Filed01/03/17
                                                     11/18/16 Page
                                                               Page3221ofof126
                                                                            29 Page ID
                                     #:10675


    1   1995).
    2            This Court does not mean to suggest that a lack of daily showers for a few days
    3   would necessarily rise to the level of a constitutional violation in a prison setting, see e.g.
    4   Griffin v. Southern Health Partners, Inc., 2013 WL 530841, *9 (W.D. Kentucky,
    5   February 11, 2013) (finding six day, eight day, and 72 hour deprivation of showers and
    6   being subjected to unsanitary conditions insufficient to violate the constitution), but
    7   Border Patrol detainees are not pretrial detainees or prisoners. They are civil detainees
    8   who are being denied the ability to wash or clean themselves for several days.
    9   Transferring them when detention approaches 72 hours does not solve this problem.
   10   Given the admitted lack of showers, the Court preliminarily finds that Defendants need
   11   only provide some means or materials for washing and/or maintaining personal hygiene
   12   when detainees are held longer than 12 hours.
   13            Given the evidence of noncompliance related to conditions of sanitation,
   14   compliance monitoring is warranted. Plaintiffs are likely to prevail on this claim unless
   15   there is full compliance by Defendants with the guidelines for sanitation and there are
   16   materials available for detainees held longer than 12 hours to clean themselves.
   17                                               Food
   18            It is undisputed that “[p]rison officials are ‘obligt[ed] to provide inmates with
   19   nutritionally adequate meals on a regular basis.’” (MPI at 16 (quoting Foster v. Runnels,
   20   554 F.3d 807, 816 (9th Cir. 2009)). Prison food does not need to be tasty or aesthetically
   21   pleasing, it must simply be adequate to maintain health. (Response at 22 (citing Keenan
   22   v. Hall, 83 F.3d 1083, 1091 (9th Cir. 1996)).
   23            Detainees receive a diet of burritos (bean, beef, or beef and bean (330 to 360
   24   calories), cheese or peanut-butter filled crackers (200 calories), and boxes of fruit juice
   25   (60 calories). (Vail Decl. ¶ 90); (Allen Decl. ¶ 37). Snacks include cookies, cereal bars,
   26   graham crackers, and goldfish crackers. (Allen Decl. 38.) There is baby food and
   27   formula. (Vail Decl. ¶ 91.) There is no evidence in the Defendants’ data base of any
   28   fluctuation in this regimen except for pregnant and nursing women. Id. ¶ 92.


                                                    - 21 -
                                                                                             27
Case 2:85-cv-04544-DMG-AGR
         Case 4:15-cv-00250-DCB
                              Document
                                 Document
                                       312-1
                                          244 Filed
                                               Filed01/03/17
                                                     11/18/16 Page
                                                               Page3322ofof126
                                                                            29 Page ID
                                     #:10676


    1           There are no food preparation areas in the detention stations. The burritos are
    2   heated up in microwaves or warming trays. Id. ¶ 93. The Defendants’ e3DM data
    3   system reflects that the average time between meals/burritos is 7.336 hours, and at the
    4   Tucson station the average time between meals/burritos is 8.239 hours. Id. ¶ 94.
    5           According to Defendants, this diet adequately satisfies the basic nutritional needs
    6   of detainees. (Skipworth Decl. ¶ 122.) Skipworth believes that food preparation is
    7   performed under safe and sanitary conditions, with food being commercially prepared
    8   and packaged, and agents heating it to adequate temperatures. (Skipworth Decl. ¶¶ 109-
    9   112.)
   10           The CORE jail standards require: three meals, including at least two hot meals to
   11   be served at regular times during each 24 hour period, with no more than 14 hours
   12   between the evening meal and breakfast. Id. ¶¶ 96-97. TEDS mirrors this, with regularly
   13   scheduled meal times and snacks to be provided between regularly scheduled meal times.
   14   Two meals must be hot. Juveniles and pregnant detainees are to be offered a snack upon
   15   arrival and meals at least every six hours thereafter. Juveniles, pregnant and nursing
   16   detainees must have access to snacks, milk and juice. Id. ¶¶ 98-100.
   17           According to Defendants, meals are served 3 times per day at 4:00 a.m., 12:00
   18   p.m., and 8:00 p.m.; snacks are served three times per day at 8:00 a.m., 4:00 p.m., and
   19   12:00 a.m.    (Allen Decl. ¶ 38.)     This creates approximately an eight-hour interval
   20   between the evening burrito meal and the burrito breakfast, and eight-hour intervals
   21   between the three regularly served burrito meals. To ensure that no more than four hours
   22   elapses between eating times, an internal auditing function exists within the e3DM
   23   system that warns agents when a detainee is approaching the timelines. Id. ¶ 38. When
   24   an individual is scheduled for transfer, “it is incumbent on each individual station to
   25   identify whether the transfer will cause a detainee to exceed the four hour limit to provide
   26   a snack and juice or burrito, accordingly. Id. ¶ 39.
   27           With the exception of changing the 4:00 a.m. meal schedule to accommodate
   28   sleeping, the question is one of compliance with TEDS.          Preliminarily, compliance


                                                   - 22 -
                                                                                           28
Case 2:85-cv-04544-DMG-AGR
         Case 4:15-cv-00250-DCB
                              Document
                                 Document
                                       312-1
                                          244 Filed
                                               Filed01/03/17
                                                     11/18/16 Page
                                                               Page3423ofof126
                                                                            29 Page ID
                                     #:10677


    1   monitoring is warranted.
    2                                         Medical Care:
    3            “Denying, delaying, or mismanaging intake screening violates the Constitution.
    4   (MPI at 18 (citing Gibson v. Cty. of Washoe, Nev., 290 F.3d 1175, 1188-90 (9th Cir.
    5   2002); Lareau v. Manson, 651 F.2d 96, 109 (2nd Cir. 1981)). Defendants agree that the
    6   Constitution does require them to “‘provide a system of ready access to adequate medical
    7   care.’” (Response at 13 (quoting Madrid v. Gomez, 889 F. Supp. 1146, 1554 (N.D. Calif.
    8   1995) (citing Hoptowit, 682 F.2d at 1253; Casey v. Lewis, 834 F. Supp. 1477, 1545 (Ariz.
    9   1993)). The parties are, however, at odds regarding the boundaries of this constitutional
   10   right.
   11            Plaintiffs challenge the adequacy of Defendants’ intake screening. (MPI at 18
   12   (relying on Graves v. Arpaio, 48 F. Supp. 3d 1318, 1340-1344 (Ariz. 2014) and Madrid,
   13   889 F. Supp. at 1257)). They bring the following challenges: 1) screening is performed
   14   by border patrol agents, not doctors, nurses, or other qualified or specially trained
   15   personnel; 2) Defendants do not maintain a medical treatment program capable of
   16   responding to emergencies that arise after detainees are placed in holding cells because
   17   they do not have medical staff on site, and 3) the practice of confiscating incoming
   18   detainees’ medication creates impermissible and heightened risk that detainees will
   19   experience a medical emergency. (MPI at 18-20.)
   20            Defendants assert that TEDS provides a system of ready access to adequate
   21   medical care. Before detainees are placed into a Border Patrol hold room, a Border
   22   Patrol agent “must ask detainees about and visually inspect for any sign of injury, illness,
   23   or physical or mental health concerns and question . . . about any prescription
   24   medications.” (Harber Decl. ¶ 26-32 (citing TEDS § 4.3, 4.10)) but see also (Harber
   25   Decl. ¶ 30, Attachment B: Medical Screening Form used by agents) (missing questions
   26   required about physical and mental health concerns, and prescription medications)).
   27   Observed or reported injuries or illnesses should be communicated to a supervisor,
   28   documented in the appropriate electronic system, and appropriate medical care should be


                                                   - 23 -
                                                                                           29
Case 2:85-cv-04544-DMG-AGR
         Case 4:15-cv-00250-DCB
                              Document
                                 Document
                                       312-1
                                          244 Filed
                                               Filed01/03/17
                                                     11/18/16 Page
                                                               Page3524ofof126
                                                                            29 Page ID
                                     #:10678


    1   provided or sought in a timely manner. Id. Treatment plans and medication accompany
    2   detainees when they are transferred or discharged. TEDS § 4.10.
    3          Defendants assert that they either have EMTs who can treat emergencies at the
    4   detention centers, (Harber Decl. ¶ 33), or they routinely transfer detainees to hospitals for
    5   emergency care, id. ¶¶ 29, 34.)
    6          Under TEDS prescription medication may be used by incoming detainees, if it is
    7   in a properly identified container with the specific dosage indicated, but non-U.S.
    8   prescribed medication must be validated by a medical professional, or the detainee should
    9   be taken in a timely manner to a medical practitioner to obtain an equivalent United
   10   States prescription. TEDS § 4.10. It is standard practice to send detainees to the hospital
   11   for appropriate care and prescriptions for medication by U.S. doctors. (Allen Decl. ¶ 22;
   12   Harber Decl. ¶ 34.)
   13          Plaintiffs’ expert, Joe Goldenson, M.D., has extensive experience in jail and state
   14   correctional facilities. (Goldenson Decl. ¶¶ 1-3.) He based his opinion on declarations of
   15   individual Plaintiffs, review of the e3DM data system, and depositions by Vail and
   16   Powitz. Id. ¶¶ 8-9. He found there was no evidence of any formalized screening process
   17   being carried out by agents at the detention centers. Id. ¶¶ 19-23. The e3DM data
   18   system reflects approximately 527 incidents of medical treatment being provided to
   19   detainees out of the approximately 17,000 detained individuals for the period of time
   20   from June 10 to September 28, 2015. Id. ¶ 42.
   21          He explains there are two components of screening: 1) immediate medical triage
   22   to determine if there are any issues that would preclude acceptance into the facility and 2)
   23   a more thorough medical and mental health screening. Id. ¶ 13. He explains that in some
   24   facilities, the first triage-step is performed upon entry into the facility, with the more
   25   thorough screening done soon after the person is accepted into the facility. Id. ¶ 14. The
   26   screening includes both a face-to-face interview using a structured questionnaire and,
   27   whenever possible, a review of the individual’s prior medical record. The questionnaire
   28   covers the detainee’s current problems and medications; past history, including


                                                   - 24 -
                                                                                            30
Case 2:85-cv-04544-DMG-AGR
         Case 4:15-cv-00250-DCB
                              Document
                                 Document
                                       312-1
                                          244 Filed
                                               Filed01/03/17
                                                     11/18/16 Page
                                                               Page3625ofof126
                                                                            29 Page ID
                                     #:10679


    1   hospitalizations; mental health history, including current or past suicidal ideation;
    2   symptoms of chronic illness; medication and/or food allergies, and dental problems.
    3   Female detainees are asked about current and past history related to pregnancy and date
    4   of last menstrual period. Id.
    5          Whenever possible, intake screening is performed by qualified health
    6   professionals, but in smaller detention settings, where health staff is not present at times,
    7   specially trained custodial staff conduct the screening. Id. ¶ 15. This staff should be
    8   trained, including on-going training, on conducting medical screening, and there should
    9   be procedures for officers to obtain guidance and direction from a health care
   10   professional for problems beyond the scope of their training and experience. Id. ¶ 16. It
   11   is important to record the information obtained during screening and have the records
   12   accessible during detention so it can be provided to health care professionals as needed.
   13   Id. ¶ 17.
   14          Dr. Goldenson believes that field screening is not an adequate replacement for
   15   intake screening because field screening is not done pursuant to a type of standardized
   16   protocol or procedure that would suffice as “intake screening.” Id. ¶ 25, see also (Harber
   17   Decl. ¶ 30, Attachment B: Medical Screening Form used by agents) (missing questions
   18   required under TEDS about physical and mental health concerns, and prescription
   19   medications).
   20          Proper intake screening is critical to identifying newly arriving detainees with
   21   urgent or emergent health care needs, who are suffering from potentially communicable
   22   diseases which require isolation and enhanced disinfection processes, or to identify
   23   continuity of care issues like medication or prescription needs, or to identify medical or
   24   mental health conditions that require referrals. (Goldenson Decl. ¶28.) Dr. Goldenson
   25   suggests detainees are high risk for medical problems because they have just crossed the
   26   desert under extreme physical hardship, lacking in water and food, without access to
   27   medication and medical supplies. Id. ¶¶ 31-39.)
   28          The number of medical/hospital referrals, 527 out of approximately 17,000


                                                   - 25 -
                                                                                            31
Case 2:85-cv-04544-DMG-AGR
         Case 4:15-cv-00250-DCB
                              Document
                                 Document
                                       312-1
                                          244 Filed
                                               Filed01/03/17
                                                     11/18/16 Page
                                                               Page3726ofof126
                                                                            29 Page ID
                                     #:10680


    1   detainees from June 10 to September 28, 2015, support Dr. Goldenson’s opinion,
    2   especially when considered in the context of the TEDS requirement that all foreign
    3   prescriptions be rewritten by U. S. doctors. The cursory medical screening performed at
    4   the detention stations is problematic as the duration of detention lengthens because intake
    5   screening becomes more important if it must be relied on for detention extending over
    6   several days rather than for a few hours.          Defendants are already using an intake
    7   screening questionnaire, but it does not meet the TEDS standards because it fails to ask
    8   about physical and mental health concerns and prescription medications. It also fails to
    9   ask about pregnancy and whether a detainee is nursing. TEDS § 4.2. And, Defendants
   10   do not know whether the screening form is being used at all the stations.
   11          Preliminarily, the Court requires compliance with TEDS, including measures to
   12   ensure the Medical Screening Form currently being used by Defendants at some stations
   13   is used at all stations, and that the form asks questions to ensure compliance with TEDS
   14   standards for screening and delivering medical care. Without this compliance, the Court
   15   finds that Plaintiffs are likely to prevail on this constitutional claim.
   16                                        2. Irreparable Harm
   17          Plaintiffs have presented evidence of harm related to the conditions of
   18   confinement, such as the physiological effects of sleep deprivation or constant discomfort
   19   that comes from an inadequate food supply, or health risks related to exposure due to
   20   contaminated water or unsanitary cells, or medical risks associated with being unable to
   21   continue taking prescription medications or being exposed to communicable diseases.
   22   These are the types of harm relevant to the 14th Amendment assessment of whether the
   23   challenged conditions of confinement exceed or are independent of the inherent
   24   discomforts of confinement and are not reasonably related to a legitimate government
   25   objective, or are excessive in relation to legitimate government objectives.
   26           For the purpose of assessing whether Plaintiffs are likely to suffer irreparable
   27   harm in the absence of an injunction, this Court looks at the deprivation of constitutional
   28   rights. If, like here, a court finds that plaintiffs are likely to succeed on the merits of their


                                                     - 26 -
                                                                                                32
Case 2:85-cv-04544-DMG-AGR
         Case 4:15-cv-00250-DCB
                              Document
                                 Document
                                       312-1
                                          244 Filed
                                               Filed01/03/17
                                                     11/18/16 Page
                                                               Page3827ofof126
                                                                            29 Page ID
                                     #:10681


    1   constitutional claims, then “the deprivation of constitutional rights unquestionably
    2   constitutes irreparable injury.” Melendres, 695 F.3d at 1002. This is because
    3   “constitutional violations cannot be adequately remedied through damages and therefore
    4   generally constitute irreparable harm.” Am. Trucking Ass’ns, Inc., 559 F.3d at 1059.
    5                            3. Balance of equities and Public Interest
    6          Likewise, because the Court finds the Plaintiffs have established a likelihood of
    7   success on the merits of their constitutional claims and that they are likely to suffer
    8   irreparable harm without an injunction, all that remains is for Plaintiffs to persuade the
    9   Court that the balance of equity and the public interest tips in favor of the injunction.
   10   “Once a plaintiff shows that a constitutional claim is likely to succeed, the remaining
   11   preliminary injunction factors weigh in favor of granting an injunction.” Vivid Entm’t
   12   LLC, 65 F. Supp.2d at 1136 (citing Melendres, 695 F.3d at 1002; Klein, 584 F.3d at 1208.
   13   “‘[I]t is always in the public interest to prevent the violation of a party’s constitutional
   14   rights.’” Melendres, 695 F.3d at 1002 (quoting Sammarano, 303 F.3d at 974. The
   15   government suffers no harm from an injunction that merely ends unconstitutional
   16   practices and/or ensures that constitutional standards are implemented. Rodriguez, 715
   17   F.3d at 1145 (citing cf. Zepeda v. I.N.S., 753 F.2d 719, 727 (9th Cir. 1983) (INS cannot
   18   assert harm in any legal sense by being enjoined from constitutional violations).
   19                                          D. Conclusion
   20          Defendants cannot sidestep reality by relying on the structural limitations of the
   21   Border Patrol detention facilities, i.e., that they are not designed for sleeping. If anything,
   22   this cuts against the 72-hour definition of short-term. If detainees are held long enough to
   23   require them to sleep in these facilities, take regular meals, need showers, etc., then the
   24   Defendants must provide conditions of confinement to meet these human needs. Where
   25   there is no evidence of an express intent to punish, the Court may infer that the purpose
   26   of the condition is punishment if it is not reasonably related to a legitimate governmental
   27   objective or is excessive in relation to the legitimate governmental objective. The Court
   28   finds that there is no objectively reasonable relationship between 24-7 immigration


                                                     - 27 -
                                                                                              33
Case 2:85-cv-04544-DMG-AGR
         Case 4:15-cv-00250-DCB
                              Document
                                 Document
                                       312-1
                                          244 Filed
                                               Filed01/03/17
                                                     11/18/16 Page
                                                               Page3928ofof126
                                                                            29 Page ID
                                     #:10682


    1   processing or security and the conditions of confinement which Plaintiffs have
    2   preliminary shown exist in the Tucson Sector Border Patrol stations related to sleeping,
    3   sanitation, food, and medical care. Therefore, there is a likelihood of success on the
    4   merits of Plaintiffs’ constitutional claims.    The deprivation of a constitutional right
    5   unquestionably constitutes irreparable injury. It is always in the public interest to prevent
    6   the violation of a party’s constitutional rights, and the government suffers no harm from
    7   an injunction that merely ends unconstitutional practices and/or ensures that
    8   constitutional standards are implemented.
    9          Accordingly,
   10          IT IS ORDERED that the Motion for a Preliminary Injunction (Doc. 206) is
   11   GRANTED as follows:
   12                 1.      Clean bedding, which Defendants assert they are providing to all
   13   detainees, must include a mat and a Mylar blanket for all detainees being held longer than
   14   12 hours.
   15                 2.      Personal hygiene needs of detainees held longer than 12 hours
   16   include the need to wash or clean themselves.
   17                 3.      Defendants shall implement the universal use of their Medical
   18   Screening Form at all stations and ensure that the form questions reflect the TEDS
   19   requirements for delivery of medical care to detainees.
   20                 4.      Defendants shall monitor for compliance the following: availability
   21   of working sinks and toilets and/or other materials sufficient to meet the personal hygiene
   22   needs of detainees on a per cell per station basis; cell temperatures; cell sanitation and
   23   cleanliness; delivery to detainees of bedding, including mats, personal hygiene items such
   24   as toilet paper, toothbrushes and toothpaste, feminine hygiene items, baby food, diapers,
   25   and meals.
   26   ///
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   28   ///


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Case 2:85-cv-04544-DMG-AGR
         Case 4:15-cv-00250-DCB
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                                       312-1
                                          244 Filed
                                               Filed01/03/17
                                                     11/18/16 Page
                                                               Page4029ofof126
                                                                            29 Page ID
                                     #:10683


    1          IT IS FURTHER ORDERED that Defendants monitoring responsibilities shall
    2   be met by using the e3DM data system and Border Patrol logs, shall be released to
    3   Plaintiffs on a quarterly basis.
    4          Dated this 18th day of November, 2016.
    5
    6
    7                                                      Honorable David C. Bury
    8                                                      United States District Judge

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Case 2:85-cv-04544-DMG-AGR Document 312-1 Filed 01/03/17 Page 41 of 126 Page ID
                                  #:10684




                         Exhibit 3
Case 2:85-cv-04544-DMG-AGR
         Case 4:15-cv-00250-DCB
                              Document
                                 Document
                                       312-1
                                          133-7
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                                                        02/25/16
                                                              Page
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                                                                   42 of
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                                                                         of 3 Page ID
                                     #:10685




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Case 2:85-cv-04544-DMG-AGR
         Case 4:15-cv-00250-DCB
                              Document
                                 Document
                                       312-1
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                                                        02/25/16
                                                              Page
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                                                                   43 of
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                                                                         of 3 Page ID
                                     #:10686




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Case 2:85-cv-04544-DMG-AGR Document 312-1 Filed 01/03/17 Page 44 of 126 Page ID
                                  #:10687




                         Exhibit 4
Case 2:85-cv-04544-DMG-AGR
        Case 4:15-cv-00250-DCB
                             Document
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                                      312-1
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                                                    01/03/17
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                                    #:10688


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                             IN THE UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF ARIZONA


        Jane Doe #1; Jane Doe #2; Norlan Flores,         Case No. 4:15-cv-00250-TUC-DCB
        on behalf of themselves and all others
        similarly situated,
                            Plaintiffs,
               v.                                        DECLARATION OF ELDON VAIL
                                                         IN SUPPORT OF PLAINTIFFS’
        Jeh Johnson, Secretary, United States            MOTION FOR PRELIMINARY
        Department of Homeland Security, in his          INJUNCTION
        official capacity; R. Gil Kerlikowske,
        Commissioner, United States Customs &
        Border Protection, in his official capacity;
        Michael J. Fisher, Chief of the United States
        Border Patrol, in his official capacity;
        Jeffrey Self, Commander, Arizona Joint
        Field Command, in his official capacity;
        Manuel Padilla, Jr., Chief Patrol Agent-
        Tucson Sector, in his official capacity,
                             Defendants.




                                                                                     38
Case 2:85-cv-04544-DMG-AGR
        Case 4:15-cv-00250-DCB
                             Document
                               Document
                                      312-1
                                         206-2
                                             Filed
                                                 Filed
                                                    01/03/17
                                                       08/17/16
                                                              Page
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                                    #:10689


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Case 2:85-cv-04544-DMG-AGR
        Case 4:15-cv-00250-DCB
                             Document
                               Document
                                      312-1
                                         206-2
                                             Filed
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                                                    01/03/17
                                                       08/17/16
                                                              Page
                                                                Page
                                                                   47 of
                                                                      3 of
                                                                         126
                                                                           59 Page ID
                                    #:10690


        I, ELDON VAIL, hereby declare:

        I.     INTRODUCTION
               1.      I have personal knowledge of the facts stated herein and, if called as a
        witness, could and would competently testify thereto.
               2.      I am a former corrections administrator with nearly thirty-five years of
        experience working in and administering adult and juvenile institutions. Before becoming
        a corrections administrator, I held various line and supervisory level positions in a number
        of prisons and juvenile facilities in Washington State. I have served as the Superintendent
        (Warden) of 3 adult institutions, including facilities that housed maximum, medium and
        minimum-security inmates.
               3.      I served for seven years as the Deputy Secretary for the Washington State
        Department of Corrections (WDOC), responsible for the operation of prisons and
        community corrections. I briefly retired, but was asked by the former Governor of
        Washington, Chris Gregoire, to come out of retirement to serve as the Secretary of the
        Department of Corrections in the fall of 2007. I served as the Secretary for four years,
        until I retired in 2011.
               4.      Since my retirement I have served as an expert witness and correctional
        consultant for cases and disputes twenty-eight times in fourteen different states. A true
        and correct copy of my current resume is attached as Attachment A to this report, which
        lists my work experience, publications, and service as an expert witness and correctional
        consultant.
               5.      As a Superintendent, Assistant Director of Prisons, Assistant Deputy
        Secretary, Deputy Secretary and Secretary, I have been responsible for the safe and secure
        operations of adult prisons in the State of Washington, a jurisdiction that saw and
        continues to see a significant downward trend in prison violence with very little class
        action litigation. As an expert witness and consultant I have been called upon to address
        security issues and conditions of confinement in adult prisons and jails in other states. I
        am experienced in sound correctional practice.


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Case 2:85-cv-04544-DMG-AGR
        Case 4:15-cv-00250-DCB
                             Document
                               Document
                                      312-1
                                         206-2
                                             Filed
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                                                    01/03/17
                                                       08/17/16
                                                              Page
                                                                Page
                                                                   48 of
                                                                      4 of
                                                                         126
                                                                           59 Page ID
                                    #:10691


        II.    ASSIGNMENT
               6.      I have been asked by Plaintiffs’ counsel to offer my opinions regarding the
        conditions of confinement in Tucson Sector Border Patrol Station Hold Rooms (“Hold
        Rooms”).

        III.   MATERIALS RELIED UPON
               7.      I personally inspected all four of the Border Patrol Stations made available
        to Plaintiffs for inspection—Tucson, Casa Grande, Douglas and Nogales—on September
        8 through September 11, 2015. At each station, I was accompanied by sanitarian expert
        Robert W. Powitz and a photographer. I was also accompanied at each station by two of
        Plaintiffs’ attorneys, including Colette Mayer and Nora Preciado at Tucson, Louise
        Stoupe and Nora Preciado at Casa Grande, Kevin Coles and James Lyall at Douglas,
        Nogales and an abbreviated second visit to Tucson.
               8.      I reviewed surveillance video screenshots from an additional 3 stations—
        Sonoita, Brian A. Terry, and Willcox—which I did not personally inspect. The conditions
        at these stations appear to be very similar to those at the four stations that I visited.
        (Exs. 168-169, 154-157, 190-191.) 1
               9.      I have read the declaration of Robert W. Powitz and believe his account of
        our inspections and descriptions of the various facilities to be accurate.
               10.     I have read the declaration of Joseph Gaston and have based my opinion on
        the reports prepared at the request of Plaintiffs’ counsel, which analyze “e3DM” data
        produced by Defendants. I understand the e3DM data purports to reflect certain records
        logged by Defendants with respect to the detention of individuals at each of the eight
        Border Patrol Stations within the Tucson Sector.
               11.     I have been provided with all documents produced by Defendants in this
        case to date, Bates numbers USA000001 through USA0002186.



               1
                  All exhibits referenced in this declaration are to the Appendix of Exhibits In Support of
        Plaintiffs’ Motion for Preliminary Injunction.


                                                                                                   41
Case 2:85-cv-04544-DMG-AGR
        Case 4:15-cv-00250-DCB
                             Document
                               Document
                                      312-1
                                         206-2
                                             Filed
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                                                    01/03/17
                                                       08/17/16
                                                              Page
                                                                Page
                                                                   49 of
                                                                      5 of
                                                                         126
                                                                           59 Page ID
                                    #:10692


               12.       I have also been provided with copies of photographs taken during our
        Border Patrol station inspections.
               13.       I have reviewed approximately 50 of the declarations of former detainees
        who were detained in U.S. Customs and Border Protection facilities within the Tucson
        Sector of the U.S. Border Patrol submitted in support of Plaintiffs’ Motion for Class
        Certification.
               14.       I have also reviewed screenshots of surveillance video from Tucson, Casa
        Grande, Douglas and Nogales Stations that was produced by Defendants.
               15.       I have been provided with certain declarations and other documents filed in
        this case and Flores v. Lynch, No. CV 85–4544–RJK–Px (C.D. Cal. filed July 11, 1985)
        that relate to CBP hold rooms.

        IV.    OPINIONS
               16.       It is my opinion that the operation of the CBP detention facilities in the
        Tucson sector does not comply with the national standards for correctional facilities in
        several respects outlined in more detail below.
               17.       The American Correctional Association (ACA) is the primary body that
        promulgates standards for the operation of jails. These standards were developed by ACA
        with the involvement of the National Sheriffs’ Association, the American Jail Association,
        the National Institute of Corrections and the Federal Bureau of Prisons and they describe
        the mandatory standards for the safe operation of detention facilities. A true and correct
        copy of these standards is attached to the Appendix of Exhibits as Exhibit 195. The CBP
        makes no reference to these standards and fails to meet them in many respects.
               18.       Other bodies also establish standards for the operation of jails and detention
        facilities. The United States Department of Justice National Institute of Corrections (NIC)
        has developed standards for the safe, secure and humane operation of jails. A true and
        correct copy of these standards is attached to the Appendix of Exhibits as Exhibit 196.
               19.       The United Nations has established a Body of Principles for the Protection
        of all Persons Under Any Form of Detention or Imprisonment as well as Standard


                                                                                               42
Case 2:85-cv-04544-DMG-AGR
        Case 4:15-cv-00250-DCB
                             Document
                               Document
                                      312-1
                                         206-2
                                             Filed
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                                                    01/03/17
                                                       08/17/16
                                                              Page
                                                                Page
                                                                   50 of
                                                                      6 of
                                                                         126
                                                                           59 Page ID
                                    #:10693


        Minimum Rules for the Treatment of Prisoners. CBP makes no reference to these
        principles and standards to guide the operation of its detention facilities. True and correct
        copies of these standards are attached to the Appendix of Exhibits as Exhibits 197 and
        198.
               20.    CBP has promulgated standards that serve as “mandatory minimum
        requirements for CBP managers to implement and improve the security posture for their
        designated CBP area of responsibilities.” (See CBP Security Policy and Procedures
        Handbook, HB 140-02B, August 13, 2009 (“2009 CBP Handbook”), Appendix 8.10,
        attached to the Appendix of Exhibits as Exhibits 81 and 102 (produced by Defendants at
        USA00088-105 and USA00681-698).) The guidelines set out in the 2009 CBP Handbook
        remain in place today.
               21.    The CBP also has internal standards and guidelines that govern their
        interactions with detainees that were recently modified. Formerly, issues such as bedding,
        medical screening and hygiene were governed by CBP’s 2008 Hold Rooms and Short
        Term Custody Policy (“2008 Policy”), attached to the Appendix of Exhibits as Exhibit 85.
               22.    Similarly, attached to the Appendix of Exhibits as Exhibit 86 is a true and
        correct copy of a document produced by Defendants on or about September 4, 2015 and
        Bates labeled USA000322-345, which appears to be a CBP memorandum dated October
        18, 2012, with subject heading “Hold Rooms and Short Term Custody Policy,” which
        “serves as a reminder of the [June 2, 2008] Hold Rooms and Short Term Custody Policy,
        which in turn “covers all persons . . . who are arrested by Border Patrol Agents and are
        detained in hold rooms at Border Patrol stations, checkpoints, and processing facilities.”
               23.    The new standards recently issued by CBP “replace separate policies that
        have evolved over the years since CBP’s formation in 2003” are lauded as “agency-wide
        policy that sets forth the first nationwide standards which govern CBP’s interaction with
        detained individuals”. (See National Standards on Transport, Escort, Detention, and
        Search (“TEDS standards”) published on October 5, 2015, excerpts attached to the
        Appendix of Exhibits as Exhibit 95.)


                                                                                            43
Case 2:85-cv-04544-DMG-AGR
        Case 4:15-cv-00250-DCB
                             Document
                               Document
                                      312-1
                                         206-2
                                             Filed
                                                 Filed
                                                    01/03/17
                                                       08/17/16
                                                              Page
                                                                Page
                                                                   51 of
                                                                      7 of
                                                                         126
                                                                           59 Page ID
                                    #:10694


               24.    Neither the TEDS standards (which lower CBP’s standards from the
        preexisting level), their historical antecedents or the 2009 CBP Handbook make reference
        to ACA or NIC standards or the United Nations principles and in fact in several areas
        violate those standards and principles. As described in more detail below, the result is
        that many of the actual practices of the CBP facilities are unsafe and inhumane and put
        detainees at risk of significant harm. Further, these conditions serve no legitimate
        penological or custodial purpose.

               A.     Hold Rooms Designed For Short Term Confinement Only
               25.    It is my professional opinion that the Hold Rooms were designed and
        intended for short-term confinement, meaning detentions of less than 10 hours.
               26.    Defendants admit that Tucson Sector stations are “not designed for long-
        term care and detention.” (ECF No. 39-1, Ex. 1 ¶ 11.)
               27.    Defendants also describe these stations as “short-term facilities” that “serve
        the limited purpose of overnight processing” or “brief initial processing.” (ECF No. 52 at
        2, 8–9.)
               28.    According to CBP officials, including Defendants here, “Border Patrol
        seeks to process and transfer all aliens out of their custody within 12 hours from
        apprehension.” (ECF No. 39-1, Ex. 1 ¶ 11; see also Request for Judicial Notice (“RJN”),
        Ex. A (Declaration of Chief Border Patrol Agent Kevin W. Oaks ¶ 14, ECF. No. 121-1,
        Flores v. Lynch, No. CV 85–4544–RJK–Px (C.D. Cal. filed July 11, 1985)).).
               29.    Similarly, the design and construction of the facilities suggest that they were
        intended for very short detentions only. The 2009 CBP Handbook, describes the physical
        requirements of the Hold Rooms and states, among other requirements, the amount of
        unencumbered floor space that each detainee is intended to have in the Hold Rooms.
        (Exs. 81.) The 2009 Handbook mandates that each detainee should be provided with 37
        square feet of unencumbered space for a single occupant hold room, and 7 additional
        square feet for each additional detainee. It also states that hold rooms have “[n]o beds; a
        hold room is not designed for sleeping.” (Id. at USA000091.) Facilities of the type


                                                                                               44
Case 2:85-cv-04544-DMG-AGR
        Case 4:15-cv-00250-DCB
                             Document
                               Document
                                      312-1
                                         206-2
                                             Filed
                                                 Filed
                                                    01/03/17
                                                       08/17/16
                                                              Page
                                                                Page
                                                                   52 of
                                                                      8 of
                                                                         126
                                                                           59 Page ID
                                    #:10695


        described in the Handbook, however, are inadequate for long-term detention and further
        support my conclusion that the facilities were not intended to hold detainees over 10
        hours.
                 30.     Detainees are held in the facilities for much longer than the time period for
        which they were designed. For example, according to Plaintiffs’ analysis of “e3DM” data
        produced by Defendants, of the 17,006 individuals detained in Tucson Sector facilities
        between June 10, 2015 to September 28, 2015, at least 14,021 were detained for over 12
        hours; 6,541 over 24 hours; 2,841 over 36 hours; 1,064 over 48 hours; and 157 over 72
        hours. (Decl. of Joseph Gaston in Support of Mot. for Preliminary Injunction (Gaston
        Decl.”) ¶ 20.)

                 B.      Lack of Space
                 31.     It is my opinion that the hold rooms at the CBP facilities have maximum
        occupancy numbers that are overstated for housing detainees any length of time, but are
        particularly problematic when individuals are detained for over 10 hours. As a result,
        there is evidence that the hold rooms are regularly overcrowded.
                 32.     Surveillance video from Tucson Station reveals that Defendants routinely
        pack so many individuals into holding cells that detainees are commonly forced to lie
        down on the concrete floors beneath the toilet stalls. Others are crammed so tightly, they
        look like sardines in a can, with no room to move in any direction without rolling over
        someone else:




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Case 2:85-cv-04544-DMG-AGR
        Case 4:15-cv-00250-DCB
                             Document
                               Document
                                      312-1
                                         206-2
                                             Filed
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                                                    01/03/17
                                                       08/17/16
                                                              Page
                                                                Page
                                                                   53 of
                                                                      9 of
                                                                         126
                                                                           59 Page ID
                                    #:10696




        (Ex. 188).
               33.    Surveillance video from other hold rooms similarly shows detainees
        crowded into cells and forced to lie on concrete floors to sleep or rest. (Exs. 151, 152,
        158; see also Exs. 130, 170, 172-73, 176-88); Declaration of Kevin Coles In Support of
        Plaintiffs’ (“Coles Decl.”) ¶ 36, 37.)
               34.    The surveillance video also shows that people are often kept in these
        crowded conditions overnight. (Coles Decl. ¶ 36.)
               35.    Consistent with this, former detainees describe having to sit or stand for all
        or part of the nights because there was insufficient room for everyone in the cell to lie
        down. (See, e.g., ECF No. 2-1, Ex. 6 ¶ 8 (he and 15 others stood all night because there
        was not enough room to lie down); ECF No. 2-2, Ex. 33 ¶ 6 (sandwiched between others
        and unable to lie down); ECF No. 2-3, Ex. 50 ¶ 17 (forced to sleep on his side on the floor
        to make room for others to lie down).)
               36.    This overcrowding problem is compounded by the fact that many of the
        holding cells I encountered in my inspections were irregularly designed in shape, often
        with multiple narrow concrete benches and toilet stalls. (Exs. 52, 54, 56, 60, 62, 68, 75;
        see also Exs. 7, 19,-20.) Despite the dimensions of the cell perimeter walls, the actual
        useable space available to detainees is restricted, in some cases severely. Cells with stated




                                                                                             46
Case 2:85-cv-04544-DMG-AGR
        Case 4:15-cv-00250-DCBDocument
                                Document
                                       312-1
                                         206-2Filed
                                                 Filed
                                                    01/03/17
                                                       08/17/16Page
                                                                 Page
                                                                    5410
                                                                      of 126
                                                                         of 59 Page ID
                                     #:10697


        occupancy numbers as high as 48, such as Cell 18 in Tucson, did not even have enough
        floor space to fit more than a couple beds. (Exs. 60-62.)
               37.    During my inspection of Tucson, Casa Grande and Douglas Stations, I
        found room occupancy numbers posted above or near each holding cell door.
               38.    There were no occupancy numbers posted at the Nogales Station. We were
        informed that occupancy numbers had been painted over.
               39.    Defendants produced their own capacity numbers for hold rooms at each of
        the four stations we inspected.
               40.    Defendants produced various floor plans and sketches with measurements
        for some of the walls and fixtures in holding cells at each of those four stations.
               41.    From my review of these floor plans and sketches, I believe that
        Defendants’ hold room occupancy numbers were likely calculated by applying the 2009
        CBP Handbook standard of 35 square feet for the first detainee plus 7 additional square
        feet for each additional detainee.
               42.    CBP’s unencumbered space requirements are significantly below the
        American Correctional Association’s National Core Jail Standards (“Core Jail Standards”)
        requirements. A true and correct copy of excerpts of these standards is attached to the
        Appendix of Exhibits as Exhibit 199. Even for confinement in multiple-occupancy cells
        for less than ten hours per day, the Core Jail Standard 1-CORE-1A-07 requires at least 25
        square feet of unencumbered space per occupant.
               43.    It is my professional judgment that the CBP Handbook standard is
        completely inadequate for longer-term detentions (lasting more than 10 hours), where
        detainees reasonably require room to lie down, sleep, and walk around.
               44.    Longer-term facilities (over ten hours) have larger minimum space
        requirements. For example, the Core Jail Standards state that “between two and sixty-four
        occupants and provide 25 square feet of unencumbered space per occupant. When
        confinement exceeds ten hours per day, at least 35 square feet of unencumbered space is
        provided for each occupant.” (Ex. 199, 4-ALDF-1A-10, at 3 (emphasis added).)


                                                                                              47
Case 2:85-cv-04544-DMG-AGR
        Case 4:15-cv-00250-DCBDocument
                                Document
                                       312-1
                                         206-2Filed
                                                 Filed
                                                    01/03/17
                                                       08/17/16Page
                                                                 Page
                                                                    5511
                                                                      of 126
                                                                         of 59 Page ID
                                     #:10698


               45.    There is widespread consensus among corrections officials, based on their
        experience and supported by considerable research that goes back at least 30 years, that
        overcrowded facilities create conditions of confinement that increase the risk to safety and
        security for prisoners. That consensus is consistent with my own correctional experience.
        Dr. Craig Haney, a University of California professor who has researched and testified as
        an expert in prison overcrowding cases, wrote in an article in the Washington University
        Journal of Law and Policy.

                      There is widespread agreement among correctional experts
                      that chronic idleness in prison produces negative
                      psychological and behavioral effects…Thus, overcrowding
                      means that there is less for prisoners to do, fewer outlets to
                      release the resulting tension, a decreased staff capacity to
                      identify prisoner problems, and fewer ways to solve them
                      when they do2occur. The increased risk of victimization is a
                      likely result.

               46.    The conditions here serve no legitimate penological or custodial interest and
        in fact are likely to make the facilities unsafe as such conditions will increase tension
        among the detainees as they contend for space to simply lie down, sleep or use the
        bathroom with having someone in the immediate proximity. Based on my experience and
        review of literature, I believe the lack of space in these holding cells creates an
        unjustifiable risk of harm to detainees.
               47.    The effects of overcrowding and lack of space in CBP facilities are
        extensive. There is simply not enough space to move around in the holding cell when they
        approach or exceed their stated capacity. There is not enough space to sometimes sit or
        find a place to sleep. Unless they stand for 24 hours of more— a difficult, if not
        impossible undertaking —detainees must sit or lie on heat-draining concrete floors and
        benches. It is very likely, and consistent with detainee declarations, that adequate sleep is
        impossible to achieve in these conditions.

               2
               (Dr. Craig Haney, The Wages of Prison Overcrowding: Harmful Psychological
        Consequences and Dysfunctional Correction Reactions, Washington University Journal of
        Law & Policy, Volume 22, January 2006, pages 275-276, Exhibit 201.)


                                                                                              48
Case 2:85-cv-04544-DMG-AGR
        Case 4:15-cv-00250-DCBDocument
                                Document
                                       312-1
                                         206-2Filed
                                                 Filed
                                                    01/03/17
                                                       08/17/16Page
                                                                 Page
                                                                    5612
                                                                      of 126
                                                                         of 59 Page ID
                                     #:10699


               48.    There are also no activities or diversions for the detainees while they await
        decisions on their next destination to distract them from the conditions.
               49.    The effects of overcrowding are made worse the longer they must be
        endured. However, the CBP facilities have some unique and troubling designs that can
        quickly result in conditions that place great stress on detainees.
               50.    The location of and access to toilets is one exacerbating factor and seems
        unnecessarily humiliating for detainees. While the designs of every CBP facility I
        inspected were different, access to even a modicum of privacy while using the toilet was
        absent in all of them. Every detainee in the room can view the toilet activities of others.
        Moreover, the surveillance cameras mounted in each cell make clear to the detainees that
        they are being watched not only by every other detainee in the room but also by the CBP
        agents. Some of the surveillance cameras even have a direct view into the toilet stall.
        (Exs. 143, 144 (for surveillance video); Exs.7, 8 (for photos of the toilet stall shown in the
        video).) This lack of privacy makes overcrowding even more of an issue. (See ECF No.
        2-3, Ex. 50 ¶ 9 (closed his eyes when using bathroom because he was so embarrassed).)
               51.    Similarly, overcrowding has a direct effect on hygiene. Many of the toilets
        we inspected were leaking and stained with built up grime from over use as there are
        simply not enough of them for the capacity of the detainees in some of the holding cells. 3
        (Ex. 11; Ex. 43; Ex.77.) One detainee reported that there was only one toilet for
        approximately 40 people. (ECF No. 2-1, Ex. 6 ¶¶ 7, 10; id., Ex. 7 ¶¶ 9, 14 (2 toilets for 60
        people); id., Ex. 16 ¶¶ 3, 12 (the sole toilet was backed up and did not flush while a
        mother and two children were detained); ECF No. 2-3, Ex. 38 ¶¶ 17, 20 (approximately 90
        people detained with only three of four toilets that functioned); ECF No. 2-1, Ex. 2 ¶¶ 5, 9
        (52 people in a cell with only 2 of 3 toilets working); id., Ex. 1 ¶¶ 4, 6 (2 of 3 toilets
        working in cell with 45 people); id., Ex. 17 ¶¶ 6, 13 (60 to 70 people in cell with only 2 of

               3
                 The ACA prison standard 4-4137 requires one toilet for every twelve male
        prisoners and one toilet for every eight female prisoners, standards which, in my
        observation, are frequently exceeded in CBP holding cells. (See Ex. 195, 4-ALDF-4C-
        12, at 54.)


                                                                                               49
Case 2:85-cv-04544-DMG-AGR
        Case 4:15-cv-00250-DCBDocument
                                Document
                                       312-1
                                         206-2Filed
                                                 Filed
                                                    01/03/17
                                                       08/17/16Page
                                                                 Page
                                                                    5713
                                                                      of 126
                                                                         of 59 Page ID
                                     #:10700


        4 toilets working).) Additionally, detainees frequently run out of toilet paper and CBP
        delays in resupplying them. (Id. Ex. 6 ¶ 10; ECF No. 2-3, Ex. 44 ¶ 25.)
               52.    Although CBP apparently has no policies with respect to how often the Hold
        Rooms must be cleaned, surveillance footage from Casa Grande station shows hold rooms
        being cleaned once per 48 hours, if that. (Coles Decl. ¶ 41.) There are no cleaning
        supplies in the hold rooms and, according to detainees, the rooms often lacked a trash can.
        (ECF No. 2-1, Ex. 8 ¶ 11; id., Ex. 16 ¶ 25; id., Ex. 43 ¶ 15.) This means, effectively, that
        the Hold Rooms are hardly ever clean and that the areas around the toilets are generally
        dirty. (ECF No. 2-1, Ex. 8¶ 11 (diapers, toilet paper and other trash was strewn around
        the bathroom area); ECF No. 2-3, Ex. 35 ¶ 24 (1 toilet backed up and smelled terrible).)
        Unfortunately, this fact does not stop the overcrowding of the cells which makes it
        necessary for some detainees to lie down very close to those toilets in order to find a place
        to sleep:




        (Ex. 173, 174; Ex. 152; see also ECF No. 2-2, Ex. 32 ¶ 10 (people were so tightly packed
        into the cell some had to sleep in the bathroom area); id., Ex. 17 ¶ 7 (same); ECF No. 2-1,
        Ex. 7 ¶ 13 (one detainee sat upright on the concrete floor for two nights, finding it
        impossible to sleep more than a couple of hours during the time he was detained); id.,
        Ex. 11 ¶ 12 (several detainees explained that in order to find space to sleep on the floor,
        some detainees resorted to sleeping next to toilets.).) In essence, the design of the Hold
        Rooms mean that the person using the toilet and the person trying to sleep both experience



                                                                                                50
Case 2:85-cv-04544-DMG-AGR
        Case 4:15-cv-00250-DCBDocument
                                Document
                                       312-1
                                         206-2Filed
                                                 Filed
                                                    01/03/17
                                                       08/17/16Page
                                                                 Page
                                                                    5814
                                                                      of 126
                                                                         of 59 Page ID
                                     #:10701


        difficulties, creating unnecessary tension in the holding cell, especially when it is
        overcrowded.
               53.     All of these factors lead me to conclude that detainees suffer unnecessarily
        and that these conditions are likely to create tension among the detainees as they are
        forced to compete for access to these most basic functions of everyday life. (See, e.g.,
        ECF No. 2-2, Ex. 20 ¶ 18 (“Sometimes if you went to use the bathroom you would lose
        your seat [on the bench].”).)

               C.      Deprivation of Sleep
               54.     During my inspections of the four stations, I did not see a single bed, cot or
        mattress, and no bedding apart from two or three pillows.
               55.     The only coverings I found were thin sheets made of Mylar, a material
        similar in appearance to, but more durable than, aluminum. These sheets are almost paper
        thin, but are referred to by CBP agents as “Mylar blankets”:




        (Ex. 4.)
               56.     I understand that Plaintiffs’ review of video surveillance from these stations
        further supports the fact that detainees are not provided beds or mattresses at these
        stations, regardless the duration of their detention. (Coles Decl. ¶ 45.)
               57.     During my inspection of Casa Grande station, there were only three mats in
        the entire facility:




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Case 2:85-cv-04544-DMG-AGR
        Case 4:15-cv-00250-DCBDocument
                                Document
                                       312-1
                                         206-2Filed
                                                 Filed
                                                    01/03/17
                                                       08/17/16Page
                                                                 Page
                                                                    5915
                                                                      of 126
                                                                         of 59 Page ID
                                     #:10702




        (Ex. 3.)
                 58.   We were informed at each station that mats were intended only for families
        and children. According to documents filed by CBP with the court, the policy in the
        Tucson Sector is that “[m]attress pads are available for juvenile and family units,” ECF
        No. 39-1, Ex. 1 ¶ 15, while in the Rio Grande Valley, “[i]n certain circumstances, aliens
        who are in Border Patrol’s custody may require some form of bedding.” (RJN, Ex. A
        ¶ 21.)
                 59.   Surveillance video from some of these stations often shows detainees lying
        on the concrete floors while, at the exact same moment in time in the same station, mats
        go unused in other unoccupied or less occupied cells:




        (Ex. 170; see also Ex. 147.)

                 60.   Surveillance video also shows families and children confined in cells with
        too few or no mats:


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Case 2:85-cv-04544-DMG-AGR
        Case 4:15-cv-00250-DCBDocument
                                Document
                                       312-1
                                         206-2Filed
                                                 Filed
                                                    01/03/17
                                                       08/17/16Page
                                                                 Page
                                                                    6016
                                                                      of 126
                                                                         of 59 Page ID
                                     #:10703




        (Ex. 146, 147; see also Ex. 155.)
               61.     This is consistent with the declarations of former detainees held with their
        children but not provided mats. (ECF No. 2-1, Ex. 5, ¶ 5; id., Ex. 8 ¶ 9 (mother and 6
        month old daughter); id., Ex. 13 ¶ 7 (pregnant mother and 5 year old daughter); id., Ex. 16
        ¶ 7 (pregnant mother and 2 children); ECF No. 2-2, Ex. 29 ¶ 3, 7 (mother and 18 month
        old child).)
               62.     According to Plaintiffs’ analysis of the e3DM data, out of the 16,992
        individuals held in U.S. Border Patrol custody between June 10 and September 28, 2015,
        only 122 were recorded to have received a mat. (Gaston Decl. ¶ 25.)
               63.     Additionally, detainees are frequently forced to endure constant illumination
        in the holding cells through the night. Video surveillance shows holding cell lights on in
        the middle of the night. (Ex. 186, 187; Ex. 142; Exs. 150, 151.) Even when the holding
        cell lights are dimmed or turned off, light from the processing areas still floods in through
        the windows from the processing areas. (Exs. 171, 182.)
               64.     Detainees are commonly seen shielding the light by hiding their faces under
        their Mylar blankets. (Ex. 152; Ex. 188.) One juvenile even appears to be shielding
        himself from the light by hiding underneath one of the mats. (Exs. 162, 163.)
               65.     Declarations of former detainees also show that there is constant noise
        throughout the night. (ECF No. 2-1, Ex. 9 ¶ 9 (guards would talk to detainees throughout




                                                                                            53
Case 2:85-cv-04544-DMG-AGR
        Case 4:15-cv-00250-DCBDocument
                                Document
                                       312-1
                                         206-2Filed
                                                 Filed
                                                    01/03/17
                                                       08/17/16Page
                                                                 Page
                                                                    6117
                                                                      of 126
                                                                         of 59 Page ID
                                     #:10704


        the night or hit the cell window); id., Ex. 11 ¶ 15 (Mylar sheets were very noisy making it
        hard to sleep).
               66.    Video surveillance also shows CBP agents interrupting detainees’ sleep in
        the middle of the night to conduct cell counts or call individuals in or out of the cells.
        (Coles Decl. ¶ 40; see also ECF No. 2-1, Ex.16 ¶ 11 (called out twice for interviews
        during the night).)
               67.    The Core Jail Standards require bedding and appropriate illumination:

                      Bedding Issue
                      1-CORE-4B-01 (Ref. 4-ALDF-4B-02)
                      Inmates are issued suitable, clean bedding and linens.
                      There is provision for linen exchange, including towels, at
                      least weekly.
        (Ex. 199, 1-CORE-4B-01, at 25.)
                      Environmental Conditions/Lighting
                      1-CORE-1A-09 (Ref. 4-ALDF-1A-14, 1A-15)
                      All inmate rooms/cells provide the occupants with access to
                      natural light. Lighting throughout the facility is sufficient for
                      the tasks performed.
        (Id., 1-CORE-1A-09, at 4.)
               68.    The Department of Justice NIC Standards also state:

                      Inmates must be provided with clean clothes and bedding.
                      Clothing, towels, and bedding must be exchanged, laundered,
                      and inspected on a regular basis. Failing to do so will result in
                      an unhygienic facility for both the inmates and the staff.”
        (Ex. 196 at 4.)

               69.    The United Nations Standard Minimum Rules for the Treatment of
        Prisoners state:

                      Every prisoner shall, in accordance with local or national
                      standards, be provided with a separate bed, and with separate
                      and sufficient bedding which shall be clean when issued, kept
                      in good order and changed often enough to ensure its
                      cleanliness.
        (Ex. 198, R. 19 at 3.)
               70.    Prior to the start of this litigation, even the CBP’s own standards required all
        detainees to be given bedding. According to CBP’s June 2, 2008 Memorandum regarding


                                                                                              54
Case 2:85-cv-04544-DMG-AGR
        Case 4:15-cv-00250-DCBDocument
                                Document
                                       312-1
                                         206-2Filed
                                                 Filed
                                                    01/03/17
                                                       08/17/16Page
                                                                 Page
                                                                    6218
                                                                      of 126
                                                                         of 59 Page ID
                                     #:10705


        “Hold Rooms and Short Term Custody” (the “2008 Memorandum”), ”[d]etainees
        requiring bedding will be given clean bedding. Only one detainee will use this bedding
        between cleanings. This bedding will be changed every three days and cleaned before it is
        issued to another detainee. Vinyl or rubber-coated mattresses will be disinfected before
        being reissued.” (2008 Memorandum, ¶ 6.11 (Ex. 86 at 330)).
               71.    Unfortunately, CBP’s recently issued standards drop below even this basic
        level. Section 8.0 of the new TEDS standards defines bedding as “A (or any combination
        of) blanket, mat, or cot.” Section 4.12 of the new TEDS standards states that “bedding”
        must be provided to juveniles but only a “blanket” needs to be provided to adults and only
        on request.
               72.    CBP’s recent reductions in bottom line requirements from the 2008 Memo
        to the new TEDS standards serve as an admission that bedding has not been adequately
        provided to detainees in these facilities. Standards from top officials at CBP are meant to
        inform as to what practices are recommended and acceptable. It is clear that, in practice,
        these minimums have been treated as maximums, if followed at all.
               73.    The current practice at the CBP facilities is to force detainees to sleep on the
        concrete floor or on very narrow concrete benches in overcrowded conditions. While
        inspecting those facilities I made a point of sitting and lying down on those concrete
        benches. Even though the air temperature of the holding cells seemed more or less
        “normal” it only took a few minutes on a concrete bench to begin to feel the heat leave my
        body and for me to begin to feel cold. I cannot imagine that any restful sleep is possible
        without a bed that is off the floor and adequate bedding to keep myself warm. The
        declarations of former detainees confirm this. (ECF No. 2-1, Ex. 4 ¶ 6: id., Ex. 8 ¶¶ 8-9;
        ECF No. 2-2, Ex. 24 ¶ 8; ECF No. 2-3, Ex. 48 ¶ 8; ECF No. 2-1, Ex. 11 ¶ 13; id., Ex. 16
        ¶¶ 9-10; id., Ex. 15 ¶¶ 9-10, 21-22.)
               74.    According to one detainee, he and fifteen others had to remain standing
        throughout the night and he was therefore not able to sleep at all. (ECF No. 2-1, Ex. 6¶ 8
        (gave up his place on the floor to an injured detainee).) In its report on International


                                                                                             55
Case 2:85-cv-04544-DMG-AGR
        Case 4:15-cv-00250-DCBDocument
                                Document
                                       312-1
                                         206-2Filed
                                                 Filed
                                                    01/03/17
                                                       08/17/16Page
                                                                 Page
                                                                    6319
                                                                      of 126
                                                                         of 59 Page ID
                                     #:10706


        Prison Conditions, the U.S. Department of State identified overcrowding as a “central
        problem” in prison management and cited specific instances in Ukraine and Haiti where
        inmates were forced to sleep in shifts as evidence of overcrowding. 4 The State
        Department stated that it “encourages the use of the general standard in section 7085(b)(1)
        of Public Law 111-117 for guiding our assessment of whether prison conditions are
        overcrowded (i.e., ‘the number of prisoners or detainees does not so exceed prison
        capacity such that per capita floor space is sufficient to allow for humane sleeping
        conditions and reasonable physical movement’),” 5
                 75.   Add to this mix the undisputed acknowledgement by CBP officials that the
        lights in the holding cell are left on 24 hours a day. Furthermore, it is likely that the lack
        of sleep will exacerbate tensions in an overcrowded environment. It is my opinion that the
        practices at the CBP facilities are well beyond what would be tolerated in jails or prisons
        for convicted felons in our country. It is my professional opinion that conditions of
        confinement at the Tucson Sector Stations unnecessarily deprive detainees of sleep, serve
        no legitimate penological or custodial purpose, and create an unjustifiable risk of harm to
        detainees.

                 D.    Potable Water
                 76.   It is a basic requirement that detainees be provided with access to potable
        water.
                 77.   The CBP facilities deal with this issue differently. Surveillance video of
        holding cells at Tucson Station (which was limited to two dates in August, 2015 and most
        of September, 2015, see Coles Decl. ¶¶ 91-111) shows a 5-gallon water cooler in cells,
        often placed on toilet stalls or the ground, but with few or no paper cups. (Exs. 180, 184,
        185.) Cells with 15 or more detainees might have only four or five paper cups shared



                 4
                  Report on Int’l Prison Conditions, U.S. Dep’t of State,May 22, 2013, available at
        http://goo.gl/OaquKm.
                5
                  Id.


                                                                                               56
Case 2:85-cv-04544-DMG-AGR
        Case 4:15-cv-00250-DCBDocument
                                Document
                                       312-1
                                         206-2Filed
                                                 Filed
                                                    01/03/17
                                                       08/17/16Page
                                                                 Page
                                                                    6420
                                                                      of 126
                                                                         of 59 Page ID
                                     #:10707


        among the various detainees. Individuals can also be seen drinking directly from the
        water cooler itself. (Coles Decl. ¶ 39.)
               78.    In Casa Grande, there were no water coolers in any of the holding cells
        during our inspections.
               79.    There were no cups in any of the rooms at Casa Grande. During my
        inspection of the Casa Grande facility I saw paper cups in the storage room. (Ex. 1.)
        Papers cups were never given to the detainees in Hold Room 5 during the 5 days where
        they were drinking out of the plastic jug depicted below. (Coles Decl. ¶ 46.) Depriving
        detainees of paper cups appears to be common practice. In general, during my inspections
        of Tucson, Casa Grande and Douglas stations, I found paper cups being stored at each of
        the stations, yet found few or none in the holding cells or waste receptacles. (Ex. 1 (box
        of Solo brand cups); Exs. 50, 51.)
               80.    Numerous detainees complained of not getting adequate access to drinking
        water. (ECF No. 2-1, Ex. 5 ¶ 13 (no drinking water); ECF No. 2-3, Ex. 43 ¶ 18 (same);
        ECF No. 2-2, Ex. 26 ¶ 27 (no drinking water for entire first day).) Many complain of
        being forced to recycle used juice boxes to hold drinking water. (ECF No. 2-1, Ex. 2 ¶
        11; id., Ex. 10 ¶ 16; id., Ex. 12 ¶ 10.)
               81.    This testimony is confirmed by surveillance video of the Casa Grande which
        shows at least a dozen different detainees drinking from the same 1-gallon water jug over
        the course of 5 days:




                                                                                           57
Case 2:85-cv-04544-DMG-AGR
        Case 4:15-cv-00250-DCBDocument
                                Document
                                       312-1
                                         206-2Filed
                                                 Filed
                                                    01/03/17
                                                       08/17/16Page
                                                                 Page
                                                                    6521
                                                                      of 126
                                                                         of 59 Page ID
                                     #:10708


        (Ex. 130; see also Exs. 125, 129, 130, 133, 141.)
               82.    The jug was never replaced or cleaned, despite the cell being swept by
        maintenances crews on several occasions over the course of the 5 days it was used.
        (Coles Decl. ¶ 46.)
               83.    In hold rooms with “bubblers” to dispense drinking water, these were
        usually located just above or adjacent to the toilets, often as part of the same metal
        toilet/sink unit. During each of my inspections of the four stations, I observed numerous
        bubblers that did not work or had extremely low water pressure. One example of a
        malfunctioning bubbler is shown in the picture below:




        (Ex. 31.)

               84.    In general, I believe that the problem with the bubblers is the same as with
        the toilets—they are subject to overuse as there are not enough of them for the numbers of
        detainees placed in the holding cells 6 and they are not regularly inspected and repaired.
               85.    CBP’s own inspection checklists produced in this litigation support this
        conclusion. One of the earliest produced “Processing Inspection Form” for Casa Grande
        states that “Water fountain 10-7 in cell#6” is not working starting June 7, 2015. (Ex. 103)


               6
                ACA prison standard 4-4138 requires one washbasin for every 12 prisoners. (See
        Ex. 195, 4-ALDF-4C-10, at 54.)


                                                                                             58
Case 2:85-cv-04544-DMG-AGR
        Case 4:15-cv-00250-DCBDocument
                                Document
                                       312-1
                                         206-2Filed
                                                 Filed
                                                    01/03/17
                                                       08/17/16Page
                                                                 Page
                                                                    6622
                                                                      of 126
                                                                         of 59 Page ID
                                     #:10709


        That entry continues for months. One of the latest produced Processing Inspection Forms
        in October 20, 2015 shows the same water fountain has not been repaired. “One Fountain
        needs repairs Cell #6” (Ex. 107). Although CBP’s records are incomplete, I understand
        that at least 34 detainees were held in Cell #6 between June 10, 2015 and September 28,
        2015. (Gaston Decl. ¶ 72.)
              86.    Similarly, inspection checklists for the Tucson Station report one or more
        malfunctioning sinks from July 16 through August 27 (Ex. 114 at USA1758-1776;
        Ex. 115 at USA1872-1898), and then again on September 10, 21 and 22 (Ex. 114 at
        USA1758-1776), and again between October 16-19 (Ex. 116 at USA2035-037; Ex. 116 at
        USA2055-056). Inspection checklists logs from Nogales Station report malfunctioning
        sinks on August 23-26 (Ex. 112 at USA1589-1592); August 28-September 9 (Ex. 112 at
        USA1595-1597; Ex. 112 at USA1608; Ex. 112 at USA1610; Ex. 112 at USA1610-1619);
        September 11-18 (Ex. 112 at USA1650-1657), September 20-21 (Ex. 112 at USA1659-
        1660), September 27 (Ex. 113 at USA1694); October 3 (Ex. 113 at USA1750), October
        14-16 (Ex. 113 at USA1731-1732), and October 18 (Ex. 113 at USA1735).
              87.    The Core Jail Standards make clear that potable water is required:

                     1-CORE-1A-05 (Mandatory) (Ref. 4-ALDF-1A-07)
                     The facility’s potable water source and supply, whether owned
                     and operated by a public water department or the facility, is
                     certified at least annually by an independent, outside source to
                     be in compliance with jurisdictional laws and regulations.
        (Ex. 199, 1-CORE-1A-05, at 2.)
              88.    Even CBP’s new TEDS standards make clear that detainees must be
        provided with potable water. Section 4.14 of the new TEDS standards also require that
        clean paper cups be provided to detainees. In my professional judgment, the failure to
        provide clean cups and potable water serves no legitimate penological or custodial interest
        and unjustifiably increases the risk of harm to detainees. (Ex. 95 at USA000631.)
              89.    The CBP facilities need to have clear standards for providing access to
        potable water and make sure that each facility complies with those standards. This is the
        simple and basic work of a detention facility. Further, water fixtures must be checked


                                                                                            59
Case 2:85-cv-04544-DMG-AGR
        Case 4:15-cv-00250-DCBDocument
                                Document
                                       312-1
                                         206-2Filed
                                                 Filed
                                                    01/03/17
                                                       08/17/16Page
                                                                 Page
                                                                    6723
                                                                      of 126
                                                                         of 59 Page ID
                                     #:10710


        regularly and repaired quickly when they are broken. If they wish to continue using water
        jugs as part of their water delivery system, the regular cleaning and refilling of those jugs
        should be scheduled and logged. In no case should detainees be expected to share the
        same cups or drink from the same gallon jug as they present an obvious risk of the spread
        of contagious disease.

               E.      Food
               90.     During my inspections, I found that each of the four stations stored
        microwaveable burritos, crackers and boxes of fruit juice. The nutritional information
        indicated that the burritos generally had between 330 and 360 calories each, crackers 200
        calories and boxes of fruit juice around 60 calories. (See Ex. 2.)
               91.     Other than some baby foods and formulas, there was no other food for
        detainees at these facilities.
               92.     There were no rotating menus and no evidence of differentiation between
        the food provided to children (other than infants), adults, and pregnant or nursing mothers.
               93.     There were no facilities for preparing hot meals other than microwaves or
        warming trays. (Ex. 5; Ex. 42.)
               94.     Plaintiffs’ analysis of the e3DM data indicates that, between June 10, 2015
        and September 28, 2015, the average gap time between burritos reportedly offered to
        detainees at all Tucson sector stations was 7.336 hours. (Gaston Decl. ¶ 49.) At Tucson
        station, the average gap time between meals was 8.239 hours. (Gaston Decl. ¶ 68.)
        Consistent with this, many detainees stated that they did not receive any food for 12 or
        more hours (ECF No. 2-3, Ex. 43 ¶¶ 9, 19, 21, 32; ECF No. 2-1, Ex. 5 ¶¶ 13, 17) and that
        they were constantly hungry. (ECF No. 2-3, Ex. 43 ¶¶ 18, 32, 38; ECF No. 2-3, Ex. 45
        ¶ 28; id., Ex. 46 ¶¶ 12, 15; id., Ex. 47 ¶ 13; ECF No. 2-2, Ex. 26 ¶ 18; ECF No. 2-3,
        Ex. 48 ¶ 11; ECF No. 2-1, Ex. 5 ¶¶ 13, 17; ECF No. 2-2, Ex. 30 ¶¶ 17, 18; ECF No. 2-3,
        Ex. 42 ¶¶ 12, 21; ECF No. 2-1, Ex. 11 ¶ 18; ECF No. 2-2, Ex. 21 ¶¶ 15, 25; ECF No. 2-3,
        Ex.44 ¶ 15, 21, 24; id., Ex. 49 ¶¶ 20, 28; id., Ex. 36 ¶ 23.)



                                                                                              60
Case 2:85-cv-04544-DMG-AGR
        Case 4:15-cv-00250-DCBDocument
                                Document
                                       312-1
                                         206-2Filed
                                                 Filed
                                                    01/03/17
                                                       08/17/16Page
                                                                 Page
                                                                    6824
                                                                      of 126
                                                                         of 59 Page ID
                                     #:10711


               95.    Former detainee declarants frequently complained about the quality of food
        as well. (ECF No. 2-1, Ex. 9 ¶ 32; id., Ex. 16, ¶ 15; id., Ex. 14 ¶ 8.)
               96.    The DOJ NIC Jail Standards state:

                      Inmates must be provided with adequate, nutritional meals.
                      Dieticians should ensure that each meal provides inmates with
                      a balanced diet appropriate to their age and medical
                      conditions. Teenagers may need a different caloric intake than
                      older inmates. Diabetics, inmates on dialysis, and those with
                      food allergies all need to have medically approved and
                      appropriate diets. Inmates with legitimate religious dietary
                      restrictions also must be accommodated.
        (Ex. 196 at 4.)

               97.    The Core Jail Standards make clear that nutritionally balanced diet is
        required and that meals must be served regularly:

                      1-CORE-4A-01 (Mandatory) (Ref. 4-ALDF-4A-07)
                      The facility’s dietary allowances are reviewed at least
                      annually by a qualified nutritionist or dietician to ensure that
                      they meet the nationally recommended dietary allowances for
                      basic nutrition for appropriate age groups. Menu evaluations
                      are conducted at least quarterly by food service supervisory
                      staff to verify adherence to the established basic daily
                      servings.
        (Ex. 199, 1-CORE-4A-01, at 23.)
                      1-CORE-4A-06 (Ref. 4-ALDF-4A-17, 4A-18)
                      Three meals, including at least two hot meals, are prepared,
                      delivered, and served under staff supervision at regular times
                      during each twenty-four hour period, with no more than
                      fourteen hours between the evening meal and breakfast.
                      Variations may be allowed based on weekend and holiday
                      food service demands, provided basic nutritional goals are
                      met.
        (Id., 1-CORE-4A-06, at 25.)
               98.    Section 4.13 of the new TEDS Standards also requires food to be provided
        at “regularly scheduled meal times” and accurately “documented in the appropriate
        electronic system(s) of record” and snacks are to be provided “between regularly
        scheduled meal times.”
               99.    Section 5.6 of the new TEDS requires that juveniles and pregnant detainees
        “will be offered a snack upon arrival and a meal at least every six hours thereafter, at


                                                                                             61
Case 2:85-cv-04544-DMG-AGR
        Case 4:15-cv-00250-DCBDocument
                                Document
                                       312-1
                                         206-2Filed
                                                 Filed
                                                    01/03/17
                                                       08/17/16Page
                                                                 Page
                                                                    6925
                                                                      of 126
                                                                         of 59 Page ID
                                     #:10712


        regularly scheduled meal times. At least two of those meals will be hot. Juveniles and
        pregnant or nursing detainees must have regular access to snacks, milk and juice.”
               100.   Former detainees’ declarations show that, despite providing irregular and
        insufficient meals, Border Patrol agents threaten to confiscate food to keep detainees
        quiet. (ECF No. 2-1, Ex. 11 ¶ 21; ECF No. 2-2, Ex. 43 ¶ 21; ECF No. 2-1, Ex. 11 ¶ 21
        (“Border patrol agents said that if we were not quiet they were going to take away our
        food. So we stayed very quiet because we were afraid of losing the food.”).)
               101.   I understand that Defendants were ordered to make available to Plaintiffs
        documents sufficient to show current detainee detention practices and procedures at the
        four stations I inspected. I have not seen any documents indicating that any of the four
        stations’ dietary allowances have been reviewed by a qualified dietician or nutritionist,
        and therefore assume none exists. I have seen Holding Cell Inspection forms from
        Douglas Station in which CBP employees include in the remarks section that the burritos
        are “delicious” or “yummy” or “super yummy” or “scrumptious.” (Ex. 108 at USA1185;
        Ex. 109 at USA1197; Ex. 111 at USA1494; Ex. 111 at USA1467.) I understand that CBP
        employees do not eat the food given to detainees so I must assume that these comments
        are made sarcastically and with the recognition that the burritos are not particularly
        appetizing and are in fact considered punitive. (ECF No. 2-1, Ex. 11 ¶ 21.)
               102.   The failure to provide a nutritionally balanced diet to individuals detained
        more than 12 hours serves no legitimate penological or custodial interest and creates a risk
        of harm for some detainees.
               103.   Detainees should be given food immediately upon arrival and then upon a
        set schedule. The current diet also does not address food allergies and should be required
        to do so.

               F.     Temperature and Ventilation
               104.   During our inspection, CBP agents informed us that all detainees’ outer
        layers of clothing were confiscated before being placed in hold rooms, and in all but a few
        instances, detainees were not given replacement clothing. (ECF No. 2-1, Ex. 3 ¶ 8 (agents


                                                                                            62
Case 2:85-cv-04544-DMG-AGR
        Case 4:15-cv-00250-DCBDocument
                                Document
                                       312-1
                                         206-2Filed
                                                 Filed
                                                    01/03/17
                                                       08/17/16Page
                                                                 Page
                                                                    7026
                                                                      of 126
                                                                         of 59 Page ID
                                     #:10713


        confiscated shirts and coat, so detainee had only a short sleeve shirt); ECF No. 2-2,
        Ex. 20, ¶ 9 (clothes were confiscated, leaving detainee with only a short sleeve shirt.)
               105.   Surveillance video regularly shows detainees in Hold Rooms with no outer
        layers of clothing. (Exs. 126, 129; Ex. 165.)
               106.   Surveillance video also shows detainees huddled together under Mylar
        blankets, even in the late Arizona summer months, wrapped head to toe in these flimsy
        plastic sheets. (Exs. 187, 188; Ex. 191.) According to detainees’ declarations sometimes
        they would not even have these sheets. (ECF NO. 2-3. Ex. 43 ¶ 10 (“[t]hree of the sixteen
        [detainees] got small aluminum blankets but the rest of us did not. . . [w]e asked for
        blankets but they ignored us”); ECF No. 2-1, Ex. 9 ¶¶ 24, 25 (guard refused detainee’s
        request for new aluminum sheet when it ripped, so she asked permission to take an
        aluminum blanket from the trash.)
               107.   These Mylar sheets are demonstrably inadequate to keep people warm in
        hold rooms that, even in the warmer months, drop to 58.8° Fahrenheit. (Ex. 111 at
        USA001461.) (ECF No. 2-2, Ex. 25, ¶ 9 (detainee stated that she tried to “curl up on the
        floor and huddle with some of the other women in order to stay warm,” but ultimately
        needed to pace around the holding cell to try to warm herself); ECF No. 2-2, Ex. 20 ¶ 8.
        (detainee stated that he understood why “dogs sleep in a little ball, to keep warm, but
        couldn’t even keep warm doing that.”); id., Ex. 26 ¶ 24 (“[m]any children were crying
        because it was so cold”); ECF No. 2-3, Ex. 44 ¶¶ 8, 21 (detainee’s two year old daughter
        and other children in the holding cell often cried due to hunger and cold).)
               108.   Former detainee declarations commonly complain of being subjected to cold
        temperatures. (ECF No. 2-1, Ex. 6 ¶ 9 (“The temperature in the cell was very cold, we
        call it the ‘hielera’ (freezer) because they turn on the air high and it’s so cold.”).) There
        are even accounts of Border Patrol agents using cold temperatures to punish inmates.
        (ECF No. 2-2, Ex. 24 ¶ 6; id., Ex. 23 ¶ 17 (“One Mexican woman asked an agent to turn
        off the air conditioner. The agent said, ‘Don’t ask or we’ll turn it up.’”); ECF No. 2-2,
        Ex. 18 ¶ 8; ECF No. 2-1, Ex. 4 ¶ 6 (“When people asked the guards to make it warmer,


                                                                                              63
Case 2:85-cv-04544-DMG-AGR
        Case 4:15-cv-00250-DCBDocument
                                Document
                                       312-1
                                         206-2Filed
                                                 Filed
                                                    01/03/17
                                                       08/17/16Page
                                                                 Page
                                                                    7127
                                                                      of 126
                                                                         of 59 Page ID
                                     #:10714


        they made it colder. Sometimes they laughed at us when we complained about the
        temperature.”); ECF No. 2-2, Ex. 18 ¶ 8; ECF No. 2-1, Ex. 6 ¶ 9 (“the other detainees who
        spoke English would translate for us and tell us that the guards said that if we talked too
        much or complained that they would turn on the air even colder”); ECF No. 2-3, Ex. 34
        ¶ 9 (“Someone asked the officials to make the cell warmer, but they were ignored; in fact,
        after the request was made we could feel the cell get even colder.”).)
               109.   Given the lack of clothing and mattresses and nothing to do all day,
        detainees are left to sit or lay down on concrete, which is a very cold experience. During
        the inspection, I alternately sat on the concrete and wooden benches at Nogales and the
        difference was striking. Concrete benches are very cold and seep heat from your body.
               110.   During our inspection of Douglas we were told their air-conditioning system
        was out of order, yet the temperatures were about the same as at the other facilities we
        inspected. As a result the CBP had provided sweatshirts/jackets for the detainees to wear.
        Every detainee was wearing them. In that the temperatures where similar to the other
        facilities, this is clear evidence of the need for additional insulation. In September 2015,
        the Douglas station changed its Holding Cell Inspection form to include a “Cell
        Temperature Check” section in which CBP employees include temperature readings for
        each of the cells. (Ex. 111 at USA001512.) The temperature of the cells appears to
        depend on the location of that cell, with some consistently colder than others.
               111.   The Core Jail Standards Require CBP to provide suitable clothing:

                      1-CORE-4B-02 (Ref. 4-ALDF-4B-03)
                      Inmates are issued clothing that is properly fitted and suitable
                      for the climate. There are provisions for inmates to exchange
                      clothing at least twice weekly.”
        (Ex. 199, 1-CORE-4B-02, at 25.)
               112.   The Core Jail Standards also require:

                      1-CORE-1A-10 (Ref. 4-ALDF-1A-19, 1A-20)
                      A ventilation system supplies at least 15 cubic feet per minute
                      of circulated air per occupant, with a minimum of five cubic
                      feet per minute of outside air. Toilet rooms and cells with
                      toilets have no less than four air changes per hour unless state
                      or local codes require a different number of air changes. Air

                                                                                             64
Case 2:85-cv-04544-DMG-AGR
        Case 4:15-cv-00250-DCBDocument
                                Document
                                       312-1
                                         206-2Filed
                                                 Filed
                                                    01/03/17
                                                       08/17/16Page
                                                                 Page
                                                                    7228
                                                                      of 126
                                                                         of 59 Page ID
                                     #:10715


                      quantities are documented by a qualified independent source
                      and are checked not less than once per accreditation cycle.
                      Temperatures are mechanically raised or lowered to
                      acceptable comfort levels.”]
        (Id., 1-CORE-1A-10, at 4.)
               113.   Additionally, the DOJ NIC Jail Standards state (emphasis added):

                      Inmates must be provided with clean clothes and bedding.
                      Clothing, towels, and bedding must be exchanged, laundered,
                      and inspected on a regular basis. Failing to do so will result in
                      an unhygienic facility for both the inmates and the staff.
        (Ex. 196 at 4.)

               114.   It is my opinion that the current practice of lack of suitable clothes, lack of
        bedding and mattresses, and the composition of the benches and floors that detainees must
        sit and sleep on serves no penological interest and serves only as punishment for the
        detainees.

               G.     Ability to Maintain Personal Hygiene
               115.   I understand that detainees often arrive dirty to the facilities and are in need
        of the opportunity to clean themselves and change clothing upon arrival. (ECF No. 2-1,
        Ex. 33 ¶ 8; ECF No. 2-3, Ex. 39 ¶ 7; ECF No. 2-2, Ex. 26 ¶ 29. Detainees also need to be
        able to clean their bodies prior to eating or after using the bathroom. Detainees however
        are unable to maintain basic personal hygiene in these facilities and typically not
        permitted to wash or change upon arrival or at any other time during their detention.
               116.   Out of the four facilities that we inspected, only Nogales and Tucson had
        any facilities for detainees to shower themselves. CBP officials at Nogales told us that
        these showers were rarely used and then only when a detainee showed evidence of
        scabies. According to e3DM data produced by Defendants, only 115 detainees were given
        showers out of 16,992 held in Tucson Sector Border Patrol stations between June 10 and
        September 28, 2015. (Gaston Decl. ¶ 27.) Of those 115 showers, 20 were purportedly
        provided at Casa Grande station, where we were told by CBP agents that no shower
        facilities existed. (Gaston Decl. ¶ 60.)



                                                                                              65
Case 2:85-cv-04544-DMG-AGR
        Case 4:15-cv-00250-DCBDocument
                                Document
                                       312-1
                                         206-2Filed
                                                 Filed
                                                    01/03/17
                                                       08/17/16Page
                                                                 Page
                                                                    7329
                                                                      of 126
                                                                         of 59 Page ID
                                     #:10716


               117.   I observed soap dispenser located on the walls of many hold rooms.
        However, they were sometimes broken or empty. During our inspection of Casa Grande
        station, there were no soap dispensers and no evidence of soap at all for detainees to clean
        themselves. In the Douglas station, the Holding Cell Inspection forms record there being
        no soap during several days in October. (Ex. 111 at USA1526; Ex. 111 at USA1528; Ex.
        111 at USA1537-38; Ex. 111 at USA1546-47; Ex. 111 at USA1549; Ex. 111 at
        USA1557.)
               118.   I also inspected the toilets and sinks. Most cells had between one and four
        metal sink/toilet units behind a low brick privacy wall or stall. (Ex. 55; Exs. 10, 23.)
        Occasionally the sink and toilet were separate units (Ex. 44) A few toilets were not
        operational. (Ex. 70.)
               119.   In only one case did I find a sink providing hot water.
               120.   We did not observe any towels that were made available to detainees.
               121.   The Core Jail Standards require:

                      1-CORE-4B-04         (Ref. 4-ALDF-4B-08, 4B-09, 4C-10)
                      Inmates, including those in medical housing units or
                      infirmaries, have access to showers toilets, and washbasins
                      with temperature controlled hot and cold running water
                      twenty-four hours per day. Inmates are able to use toilet
                      facilities without staff assistance when they are confined in
                      their cell/sleeping areas. Water for showers is thermostatically
                      controlled to temperatures ranging from 100 degrees to 120
                      degrees Fahrenheit.
        (Ex. 199, 1-CORE-4B-04, at 26.)
               122.   The result is that detainees have no opportunity to adequately clean
        themselves. Hot water is virtually nonexistent, soap is sometimes available but sometimes
        it is not, there are no towels and there is only very rare access to a shower. Many
        detainees come to the facilities after walking through the desert sometimes for days or
        weeks. (ECF No. 2-1, Ex. 11 ¶ 3 (apprehended after walking in desert for 10 days); ECF
        No. 2-2, Ex. 23 ¶¶ 5, 10 (lost in desert for a week).) It is likely their personal hygiene has
        suffered prior to the time of their apprehension. (ECF No. 2-3, Ex. 39 ¶ 7.) When they
        get to a CBP facility they do not have the opportunity to clean themselves. Especially


                                                                                              66
Case 2:85-cv-04544-DMG-AGR
        Case 4:15-cv-00250-DCBDocument
                                Document
                                       312-1
                                         206-2Filed
                                                 Filed
                                                    01/03/17
                                                       08/17/16Page
                                                                 Page
                                                                    7430
                                                                      of 126
                                                                         of 59 Page ID
                                     #:10717


        given the lack of hot water, they are not able to properly clean themselves before eating or
        after going to the bathroom. In a detention facility where detainees are held in
        overcrowded conditions it is my opinion this creates an unreasonable risk for the spread of
        disease or infection among the detainees and the staff who work there. I would think that
        CBP administrators would want to do more to protect their own staff if for no other
        reason.
               123.   Again, this is simple and basic protocol for the operation of a detention
        facility. Typically, general population jail inmates can shower daily. Since the detainees
        are constantly locked in their cells, they do not have an opportunity to shower during out
        of cell time like a jail population inmate. It is my opinion that detainees should be
        provided the opportunity to shower, after being searched, upon arrival at the facility. They
        should have the opportunity to shower once every 3 days they are confined at the facility.
               124.   Once again, this practice of the CBP serves no legitimate penological or
        custodial purpose, creates an unjustifiable risk of harm to detainees, and amounts to
        nothing more than punishment.
               125.   Additionally, I understand from detainees’ declarations that they are not
        provided with an adequate supply of sanitary napkins (ECF No. 2-2, Ex. 25 ¶ 11) or
        diapers (id., Ex. 29 ¶ 15 (One and a half year old child without a clean diaper for nineteen
        hours); id., Ex. 28 ¶ 11 (agents refused mother’s request that they get a diaper out of her
        bag, so child was left in a diaper diaper); id., Ex. 30, ¶ 14.)

               H.     Unsafe Isolation Cells
               126.   At the Douglas facility there are 6 isolation cells that are completely
        inadequate. These cells were very alarming to me and very dangerous for any detainee
        who might be housed there and for the staff who must supervise them. There are no
        windows to see into the cells in order to view inside nor are there food ports in the doors
        to safely deliver meals. The in-cell cameras have at least one blind spot that does that
        allow viewing into all parts of the cell.



                                                                                            67
Case 2:85-cv-04544-DMG-AGR
        Case 4:15-cv-00250-DCBDocument
                                Document
                                       312-1
                                         206-2Filed
                                                 Filed
                                                    01/03/17
                                                       08/17/16Page
                                                                 Page
                                                                    7531
                                                                      of 126
                                                                         of 59 Page ID
                                     #:10718


                127.   Since these cells are without windows in the doors and there is no food port
        in the cell door, the CBP agents must open the cell door “blind” since they cannot see in
        before opening the door. This increases the possibility of a serious assault that could occur
        immediately upon opening the cell door.
                128.   In all the documents I have reviewed about the operations of CBP facilities I
        have seen nothing that describes how these isolation cells are to be operated. As a result
        there is no evidence that these cells are operated according to industry standards. It is well
        know that the risk of suicide and self-harm is increased for persons housed in isolation.
        For that reason alone, consistent with ACA standards and industry practice, half hour
        checks are required of individuals held in isolation. Moreover, the surveillance cameras in
        the cells at Douglas are mounted in such a way as to create a hazard for hanging.
                129.   It is my opinion that the isolation cells at Douglas should be shut down and
        not utilized until the problems with the cell doors are fixed and the agency develops
        policy for their use that are consistent with industry standards. Continuing their operation
        creates the risk of serious harm for any detainee who may be housed there.

                I.     Medical Screening Standards in Detention Settings
                130.   Core Jail Standards provide that the admission processes for a newly-
        admitted inmate include, but are not limited to, health screening, suicide screening, and
        alcohol and drug screening. (Ex. 199, 1-CORE-2A-14, at 13.)
                131.   Specifically, the Core Jail Standards articulate mandatory guidelines for
        “Intake physical and mental health screening.” (Ex. 199, 1-CORE-4C-09, at 30.)
                132.   The screening should commence upon the inmate’s arrival at the facility,
        unless there is documentation of a medical screening within the previous 90 days or the
        inmate is an intra-system transfer. (Id.)
                133.   The screening should be “conducted by health-trained staff or by qualified
        health care personnel in accordance with protocols established by the health authority.”
        (Id.)
                134.   Screening must include at least:


                                                                                             68
Case 2:85-cv-04544-DMG-AGR
        Case 4:15-cv-00250-DCBDocument
                                Document
                                       312-1
                                         206-2Filed
                                                 Filed
                                                    01/03/17
                                                       08/17/16Page
                                                                 Page
                                                                    7632
                                                                      of 126
                                                                         of 59 Page ID
                                     #:10719


                     • current or past medical conditions, including mental health problems and
                        communicable diseases;
                     • current medications, including psychotropic medications;
                     • history of hospitalization, including inpatient psychiatric care;
                     • suicidal risk assessment, including suicidal ideation or history of suicidal
                        behavior;
                     • use of alcohol and other drugs including potential need for
                        detoxification;
                     • dental pain, swelling, or functional impairment;
                     • possibility of pregnancy; and
                     • cognitive or physical impairment.
              135.   Screening should also include observation of the following:
                     • behavior, including state of consciousness, mental status, appearance,
                        conduct, tremor, or sweating;
                     • body deformities and other physical abnormalities;
                     • ease of movement;
                     • condition of the skin, including trauma markings, bruises, lesions,
                        jaundice, rashes, infestations, recent tattoos, and needle marks or other
                        indications of injection drug use; and
                     • symptoms of psychosis, depression, anxiety and/or aggression.
              136.   At the conclusion of the screening, the medical disposition of the inmate
        should be determined as:
                     • refusal of admission until inmate is medically cleared;
                     • cleared for general population;
                     • cleared for general population with prompt referral to appropriate
                        medical or mental health care services;
                     • referral to appropriate medical or mental health care service for
                        emergency treatment; or


                                                                                           69
Case 2:85-cv-04544-DMG-AGR
        Case 4:15-cv-00250-DCBDocument
                                Document
                                       312-1
                                         206-2Filed
                                                 Filed
                                                    01/03/17
                                                       08/17/16Page
                                                                 Page
                                                                    7733
                                                                      of 126
                                                                         of 59 Page ID
                                     #:10720


                      • process for observation for high risk events, such as seizures,
                         detoxification head wounds, and so forth.
               137.   As explained by the Core Jail Standards, the purpose of this medical
        screening is two-fold: “to prevent newly arrived inmates who pose a health or safety threat
        to themselves or others from being admitted to the general population” and “to identify
        inmates who require immediate medical attention.” (Ex. 199, 1-CORE-4C-09, at 31.)

               J.     Failure to Screen at Tucson Sector CBP Facilities
               138.   During our inspection of the Tucson Sector CBP facilities, as described
        above, we were told by Defendants’ personnel that medical screening is not performed
        upon detainees’ arrival at each station. We were also told that some agents are EMT-
        trained and can be assigned these duties if they are available. I am not aware, however, of
        any records received by Plaintiffs from Defendants that ensure sufficient EMT-trained
        agents are on the staff rosters in each Tucson Sector CBP facility to consistently perform
        medical screening of arriving detainees.
               139.   The declarations of numerous former detainees show the failure of CBP to
        provide adequate medical screening, and even medical assistance upon request. (ECF No.
        2-2, Ex. 23 ¶ 7 (no medical evaluation and denied assistance when she complained of
        heavy vaginal bleeding); ECF No. 2-3, Ex. 38 ¶ 14 (refused medical assistance despite
        swollen arm); id., Ex. 37 ¶¶ 22, 29, 31 (refused prescribed medication for pain leg
        fracture); ECF No. 2-1, Ex. 9 ¶ 12-1; ECF No. 2-2, Ex. 19 ¶ 19.) Moreover, medications
        that detainees have with them are confiscated. (ECF No. 201, Ex. 9 ¶ 14.)
               140.   The declarations also show that detainees arriving at CBP facilities in the
        Tucson Sector are a particularly vulnerable population—exhausted, hungry, thirsty, many
        who are sick or injured and in need of immediate medical care. (ECF No. 2-2, Ex. 23, ¶ 5;
        ECF No. 2-2, Ex. 26, ¶¶ 15-16; id., Ex. 21¶ 14; ECF No. 2-3, Ex. 36 ¶ 8; ECF No. 2-1,
        Ex.15 ¶ 18 (diarrhea and vomiting); id., Ex. 6 ¶ 15 (heart condition); ECF No. 2-1, Ex. 20
        ¶ 15 (colitis); ECF No. 2-2, Ex. 23 ¶ 23 (heavy sustained vaginal bleeding); ECF No. 2-3,



                                                                                              70
Case 2:85-cv-04544-DMG-AGR
        Case 4:15-cv-00250-DCBDocument
                                Document
                                       312-1
                                         206-2Filed
                                                 Filed
                                                    01/03/17
                                                       08/17/16Page
                                                                 Page
                                                                    7834
                                                                      of 126
                                                                         of 59 Page ID
                                     #:10721


        Ex. 37 ¶¶ 4, 21, 34 (pain from broken leg).) This makes medical screening and care all
        the more crucial in the Tucson Sector setting.

               K.     Practices and Policies are Inadequate For A Facility That Holds
                      Detainees Over 10 Hours

               141.   I understand that Defendants have been ordered to make available to
        Plaintiffs documents sufficient to show current detainee detention practices and
        procedures for the four stations I inspected.
               142.   I have reviewed all of the policies produced. I find them to be either
        inadequate or insufficient and out of line with accepted standards for detention facilities,
        and woefully inadequate for facilities that detains people over 10 hours.
               143.   I understand that after the start of this litigation, in October 2015, the
        government released new TEDS standards. The new TEDS standards significantly
        extended the time period that Border Patrol agents may hold detainees to 72 hours or
        more. (Ex. 95 at USA631.) The hold rooms are completely inadequate facilities for
        housing detainees that long.
               144.   Apart from the deficiencies outlined above, CBP does not have policies on
        basic items that are standards in all jails and other correctional facilities such as what I
        have reference above for the use of isolation cells. Just a few examples of other standards
        taken from the Core Jail Standards that are not addressed by current CBP policies include:

                      a.      Required weekly, monthly and annual sanitation
                              inspections. (Ex. 199, 1-CORE-1A-01, at 1.)
                      b.      All inmate rooms/cells provide the occupants with
                              access to natural light. Lighting throughout the facility
                              is sufficient for the tasks performed. (Id., 1-CORE-1A-
                              09, at 4.)
                      c.      When a female inmate is housed in a facility, at least
                              one female staff member is on duty at all times. (Id., 1-
                              CORE-2A-05, at 10.)
                      d.      If food services are provided by the facility, there are
                              weekly inspections of all food service areas, including
                              dining and food preparation areas and equipment.
                              Water temperature is checked and recorded daily. (Id.,
                              1-CORE-4A-05, at 24.)

                                                                                               71
Case 2:85-cv-04544-DMG-AGR
        Case 4:15-cv-00250-DCBDocument
                                Document
                                       312-1
                                         206-2Filed
                                                 Filed
                                                    01/03/17
                                                       08/17/16Page
                                                                 Page
                                                                    7935
                                                                      of 126
                                                                         of 59 Page ID
                                     #:10722


                      e.     Inmates have access to exercise and recreation
                             opportunities. When available, at least one hour daily is
                             outside the cell or outdoors. (Id., 1-CORE-5C-01, at
                             27.)
                      f.     Annual and pre-service training requirements (Id., 1-
                             CORE-7B-03, at 52-53.)
               145.   Ultimately the CBP facilities lack the focus on the detail of the operation of
        detention facilities necessary to make certain they operate in a safe and humane manner.
               146.   CBP does not appear to have many of the accountability measures that are
        typically found in corrections facilities including routine inspection systems in all of its
        stations (daily, weekly, monthly) and outside audits. The purpose of these types of
        procedures is to establish accountability for local managers and to see if their practices are
        consistent with their policies. Corrections facilities require oversight and that appears to
        be woefully lacking from the operation of CBP facilities. Additionally, CBP’s policies do
        not cover all of the apparent practices within CBP facilities, leaving room for abuse. For
        example, on July 21, 2015, the Tucson station appears to have ordered 30 spit hoods. (Ex.
        118.) Spit hoods are typically transparent light hoods that are “designed to prevent the
        wearer from biting and/or transferring or transmitting fluids (saliva and mucous) to
        others.” 7 As with any restraint and particularly since the spit hoods cover the eyes, nose,
        and mouth of the wearer, spit hoods may pose dangers to the wearer if not fastened
        properly. 8 However none of the produced policies contained any guidelines regarding the
        proper use of spit hoods (or any reference to spit hoods or similar devices at all).
               147.   CBP’s own records demonstrate failings in documenting and addressing
        issues in its facilities. CBP appears to complete daily Processing Inspection Forms for
        each of its stations. The same form is filled out for different shifts during the day.
               148.   These forms suggest that inspections, which have implications for the health
        and safety of both detainees and CBP personnel, were not performed consistently or with

               7
                Policy 306: Handcuffing and Restraints, University of Merced Police
        Department, available at http://police.ucmerced.edu/about/department-policies/policy-306
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                Id.


                                                                                                 72
Case 2:85-cv-04544-DMG-AGR
        Case 4:15-cv-00250-DCBDocument
                                Document
                                       312-1
                                         206-2Filed
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                                                    01/03/17
                                                       08/17/16Page
                                                                 Page
                                                                    8036
                                                                      of 126
                                                                         of 59 Page ID
                                     #:10723


        appropriate care. For example, forms from Casa Grande station indicate that the video
        recording system was not working, was working intermittently, or was possibly not
        checked. (Ex. 104 at USA706-708, USA718-719, USA722-724, USA729-749) (for the
        question of whether the video monitors and video loop is operational or in use, the “no”
        box is checked).) Similarly, in the Casa Grande station, a lock on a cell was reported
        broken during some shifts but not during others. (Id. at USA790-791 (No report of
        broken lock during first shift on July 5 or July 6); Ex. 105 at USA814-816 (Lock on cell 9
        reported broken during the second shift on July 5 but not on July 7); id. at USA836,
        USA838 (Lock on cell 9 reported broken during third shift on July 5 and July 7); id. at
        USA866, USA 868 (Lock on cell 9 reported broken during fourth shift on July 5 and July
        7); Ex. 107 at USA1043, USA1047 (Lock broken again or still broken in September .)
        For the Nogales station, several items are reported as needing repair on August 18,
        including lighting (“At least one light out in every cell”), benches (“Some benches are
        missing bolts”), and doors/locks. (Ex. 112 at USA1570.) No issues are reported the
        following day. (Ex. 112 at USA1571.) However the same items are indicated as needing
        repair on August 22. (Id. at USA1574.) Some forms for the Casa Grande station were not
        filled out at all. (Ex. 104, USA728; Ex. 107 at USA1021, USA1029.) Additionally there
        very few or no comments in the “Remarks” sections of forms for all stations which
        suggested to me that the completion of the forms is largely a perfunctory exercise and not
        an actual inspection.
               149.   CBP’s inconsistent practices illustrate their own misunderstanding that part
        of their mission and responsibility is to attend to the basic and human needs of the
        detainees.
               150.   The CBP is engaged in at least two primary functions—the apprehension of
        detainees and their subsequent detention. It does not appear that they fully embrace,
        accept or understand the detention function. Agents for the Border Patrol are expected to
        be proficient at both functions. Structurally it would be best if those functions were
        separated. Absent that approach, training for agents expected to perform both functions


                                                                                            73
Case 2:85-cv-04544-DMG-AGR
        Case 4:15-cv-00250-DCBDocument
                                Document
                                       312-1
                                         206-2Filed
                                                 Filed
                                                    01/03/17
                                                       08/17/16Page
                                                                 Page
                                                                    8137
                                                                      of 126
                                                                         of 59 Page ID
                                     #:10724


        should be separated into separate tracks so that it is clear to agents that the skill sets are
        different. Managing a detained population is complex work and deserves its own focus
        and emphasis for the staff expected to perform those functions in order to provide for the
        safe and humane housing of the detainees.
               151.   It is clear that the CBP facilities are designed and operated to hold detainees
        for a short period of time. Whether or not it is 24, 48, 72 hours, or longer, CBP still needs
        to learn, implement and then monitor all the basic functions of a detention operation. But
        in order to minimize the amount of time people spend in these facilities, I strongly
        recommend that CBP do a business process flow analysis of detainees from arrest to
        transfer out of BP custody to identify roadblocks to moving them quickly. Performance
        measures should then be established for agency managers to make sure they are constantly
        focused on the important issue of moving detainees to their next location where full
        services can be provided.
               152.   The impact of overcrowded facilities, lack of regular sleep, lack of access to
        adequate food and water, inadequate sanitation, poor temperature control and ventilation,
        and other factors described above is likely to create conditions of confinement that place
        stress on detainees that is completely unnecessary for the safe and secure operation of a
        detention facility. Such conditions can and do lead to increased risk for detainees and staff
        alike as they introduce conflict for basic human necessities into an already stressful
        environment. Upon arrival at the these facilities detainees are likely to be exhausted,
        possibly in need of medical care, and some have fled their home country out of fear for
        their safety or the safety of their loved ones. (ECF No. 2-3, Ex. 41 ¶ 24 (afraid of
        returning to home country as relatives had been killed there); id., Ex. 38 ¶ 24 (same); ECF
        No. 2-1, Ex. 8 ¶ 26 (afraid of returning to home country); id., Ex. 15 ¶ 34 (same); ECF
        No. 2-2, Ex. 21 ¶ 28 (same).) Others are seeking be reunited with U.S. citizen children
        and spouses – often after several years of separation. (ECF No. 2-1, Ex. 9 ¶ 36; id.,
        Ex. 11 ¶ 23; ECF No. 2-2, Ex. 19 ¶ 27.) Good security is a combination of humane
        treatment and adherence to accepted custody practices—not a focus on conditions that


                                                                                                74
Case 2:85-cv-04544-DMG-AGR
        Case 4:15-cv-00250-DCBDocument
                                Document
                                       312-1
                                         206-2Filed
                                                 Filed
                                                    01/03/17
                                                       08/17/16Page
                                                                 Page
                                                                    8238
                                                                      of 126
                                                                         of 59 Page ID
                                     #:10725


        simply punish which appears to be the misguided approach taken in the operation of CBP
        facilities.

        V.      CONCLUSION
                153.   Based on my experience, review of the materials in this case, and the
        literature, the conditions of confinement in these holding cells for periods longer than ten
        hours are worse than national jails and prisons and, combined, clearly and unjustifiably
        create risk of harm to detainees, and, in my professional judgment, serve no penological
        or custodial interest.
                154.   I have worked in correctional organizations for 35 years. During my career
        and since I commenced my work as a corrections consultant and expert witness nearly
        four years ago I have been in countless prisons and jails. Those facilities house individuals
        who have been charged with or convicted of felonies and misdemeanors. I have never
        been in one that treats those confined in a manner that the CBP treats detainees. The
        absence of medical screening upon arrival is unthinkable. Sufficient food, water and
        clothing are fundamental to safe, secure and humane operation but I have never seen the
        challenges the CBP creates for detainees for access to these basic necessities. I have seen
        and experienced the effects of overcrowding but no jurisdiction would cram so many
        people into so little space, without beds and bedding, that routinely occurs in CBP
        facilities. The conditions of confinement I witnessed through my inspections and through
        studying the records in this case are unthinkable in any other jurisdiction that I have seen
        or heard about. The CBP are housing people in conditions that are unnecessarily harsh,
        dangerous and contrary to accepted industry practices and standards. These conditions
        seem to me to be designed to punish and that is not the role of the Border Patrol.
                155.   CBP must either take the necessary steps to ensure that detainees pass
        through these short-term facilities in a matter of hours, or take the significant steps
        required to make the conditions of confinement adequate for overnight stays.




                                                                                              75
Case 2:85-cv-04544-DMG-AGR
        Case 4:15-cv-00250-DCBDocument
                                Document
                                       312-1
                                         206-2Filed
                                                 Filed
                                                    01/03/17
                                                       08/17/16Page
                                                                 Page
                                                                    8339
                                                                      of 126
                                                                         of 59 Page ID
                                     #:10726


        VI.   CELL CAPACITIES, FLOOR PLANS, AND INSPECTION FORMS
              156.   Attached to the Appendix of Exhibits as Exhibit 83 is a true and correct
        copy of a document produced by Defendants on or about September 4, 2015 and Bates
        labeled USA000157, which purports to list the maximum cell capacities for each hold
        room at Tucson station.
              157.   Attached to the Appendix of Exhibits as Exhibit 94 is a true and correct
        copy of a document produced by Defendants on or about September 30, 2015 and Bates
        labeled USA000617, which purports to list the maximum cell capacities for each hold
        room at Nogales station.
              158.   Attached to the Appendix of Exhibits as Exhibit 99 is a true and correct
        copy of a document produced by Defendants on October 19, 2015 and Bates labeled
        USA000673-674, which purports to list the maximum cell capacities for each hold room
        at Douglas and Casa Grande stations.
              159.   Attached to the Appendix of Exhibits as Exhibit 89 is a true and correct
        copy of a document produced by Defendants on September 4, 2015 and Bates labeled
        USA000359, which purports to be hand drawn sketches with measurements for cell
        dimensions at Casa Grande station.
              160.   Attached to the Appendix of Exhibits as Exhibit 90 is a true and correct
        copy of a document produced by Defendants on September 4, 2015 and Bates labeled
        USA000360-363, which purports to be hand drawn sketches with measurements for cell
        dimensions at Douglas station.
              161.   Attached to the Appendix of Exhibits as Exhibit 91 is a true and correct
        copy of a document produced by Defendants on September 4, 2015 and Bates labeled
        USA000364, which purports to be sketches with measurements for cell dimensions at
        Nogales station.
              162.   Attached to the Appendix of Exhibits as Exhibit 92 is a true and correct
        copy of a document produced by Defendants on September 4, 2015 and Bates labeled




                                                                                         76
Case 2:85-cv-04544-DMG-AGR
        Case 4:15-cv-00250-DCBDocument
                                Document
                                       312-1
                                         206-2Filed
                                                 Filed
                                                    01/03/17
                                                       08/17/16Page
                                                                 Page
                                                                    8440
                                                                      of 126
                                                                         of 59 Page ID
                                     #:10727


        USA000365-371, which purports to be hand drawn sketches with measurements for cells
        at Tucson station.
               163.   Attached to the Appendix of Exhibits as Exhibit 93 is a true and correct
        copy of a document produced by Defendants on September 28, 2015 and Bates labeled
        USA000573-586, which purports to be hand drawn sketches with additional
        measurements for cells and fixtures at Tucson station.
               164.   Attached to the Appendix of Exhibits as Exhibit 93 is a true and correct
        copy of a document produced by Defendants on September 28, 2015and Bates labeled
        USA000587-591, which purports to be hand drawn sketches with additional
        measurements for cells and fixtures at Casa Grande station.
               165.   Attached to the Appendix of Exhibits as Exhibit 93 is a true and correct
        copy of a document produced by Defendants on September 28, 2015 and Bates labeled
        USA000592-599, which purports to be hand drawn sketches with additional
        measurements for cells and fixtures at Douglas station.
               166.   Attached to the Appendix of Exhibits as Exhibit 93 is a true and correct
        copy of a document produced by Defendants on September 28, 2015 and Bates labeled
        USA000600, which purports to be sketches with additional measurements for cells and
        fixtures at Nogales station.
               167.   Attached to the Appendix of Exhibits as Exhibit 117 is a true and correct
        copy of a document produced by Defendants on October 29, 2015 and Bates labeled
        USA002065, which purports to be the processing area blueprint for Casa Grande station.
               168.   Attached to the Appendix of Exhibits as Exhibit 117 is a true and correct
        copy of a document produced by Defendants on October 29, 2015 and Bates labeled
        USA002066, which purports to be the processing area blueprint for Nogales Grande
        station.
               169.   Attached to the Appendix of Exhibits as Exhibit 117 is a true and correct
        copy of a document produced by Defendants on October 29,, 2015 and Bates labeled
        USA002067, which purports to be the processing area blueprint for Douglas station.


                                                                                          77
Case 2:85-cv-04544-DMG-AGR
        Case 4:15-cv-00250-DCBDocument
                                Document
                                       312-1
                                         206-2Filed
                                                 Filed
                                                    01/03/17
                                                       08/17/16Page
                                                                 Page
                                                                    8541
                                                                      of 126
                                                                         of 59 Page ID
                                     #:10728


                170.   Attached to the Appendix of Exhibits as Exhibit 117 is a true and correct
        copy of a document produced by Defendants on October 29, 2015 and Bates labeled
        USA002068, which purports to be the processing area blueprint for Tucson station.
                171.   Attached to the Appendix of Exhibits as Exhibits 105, 106, and 107 are true
        and correct copies of documents produced by Defendants on November 9, 2015, which
        purport to be processing inspection forms for Casa Grande station between June and
        October, 2015.
                172.   Attached to the Appendix of Exhibits as Exhibits 109, 110, and 111 are true
        and correct copies of documents produced by Defendants on November 9, 2015, which
        purport to be Holding Cell Inspection Forms for Douglas station between June and
        October, 2015.
                173.   Attached to the Appendix of Exhibits as Exhibits 112 and 113 are true and
        correct copies of documents produced by Defendants on November 9, 2015, which
        purport to be Holding Cell Checklists for Nogales station between August and October,
        2015.
                174.   Attached to the Appendix of Exhibits as Exhibits 114, 115, and 116 are true
        and correct copies of documents produced by Defendants on November 9, 2015, which
        purport to be Holding Cell Checklists for Tucson station between July and October, 2015.

        VII.    AUTHENTICATION OF INSPECTION PHOTOGRAPHS
                175.   Exhibit 50 is a true and correct copy of a photograph taken during Plaintiffs’
        inspection of Tucson station on September 8, 2015, which accurately depicts a rolling cart
        at Tucson station containing paper cups and folded Mylar blankets in a cardboard box.
                176.   Exhibit 51 is a true and correct copy of a photograph taken during Plaintiffs’
        inspection of Tucson station on September 8, 2015, which accurately depicts a storage
        area at Tucson station with metal shelving and pallets containing office supplies,
        drinking cups, diapers, and other items.




                                                                                             78
Case 2:85-cv-04544-DMG-AGR
        Case 4:15-cv-00250-DCBDocument
                                Document
                                       312-1
                                         206-2Filed
                                                 Filed
                                                    01/03/17
                                                       08/17/16Page
                                                                 Page
                                                                    8642
                                                                      of 126
                                                                         of 59 Page ID
                                     #:10729


               177.   Exhibit 52 is a true and correct copy of a photograph taken during Plaintiffs’
        inspection of Tucson station on September 11, 2015, which accurately depicts Room 19 in
        Tucson station with a view across the room towards the toilets.
               178.   Exhibit 53 is a true and correct copy of a photograph taken during Plaintiffs’
        inspection of Tucson station on September 11, 2015, which accurately depicts Room 19 in
        Tucson station with a close-up view of the toilet/sink unit inside a stall.
               179.   Exhibit 54 is a true and correct copy of a photograph taken during Plaintiffs’
        inspection of Tucson station on September 11, 2015, which accurately depicts Room 19 in
        Tucson station with a view from the toilet stall towards the door and windows.
               180.   Exhibit 55 is a true and correct copy of a photograph taken during Plaintiffs’
        inspection of Tucson station on September 11, 2015, which accurately depicts Room 19 in
        Tucson station with a close-up view of the toilet/sink unit inside a stall.
               181.   Exhibit 56 is a true and correct copy of a photograph taken during Plaintiffs’
        inspection of Tucson station on September 11, 2015, which accurately depicts Room 19 in
        Tucson station with a view across the room towards the toilet stalls.
               182.   Exhibit 57 is a true and correct copy of a photograph taken during Plaintiffs’
        inspection of Tucson station on September 11, 2015, which accurately depicts Room 19 in
        Tucson station with a close-up view of underneath a toilet bowl.
               183.   Exhibit 58 is a true and correct copy of a photograph taken during Plaintiffs’
        inspection of Tucson station on September 11, 2015, which accurately depicts Room 19 in
        Tucson station with a view across the room towards the toilet stalls.
               184.   Exhibit 60 is a true and correct copy of a photograph taken during Plaintiffs’
        inspection of Tucson station on September 11, 2015, which accurately depicts Room 18 in
        Tucson station with a view of benches and toilet stalls.
               185.   Exhibit 61 is a true and correct copy of a photograph taken during Plaintiffs’
        inspection of Tucson station on September 11, 2015, which accurately depicts Room 18 in
        Tucson station with a view of cement benches.



                                                                                           79
Case 2:85-cv-04544-DMG-AGR
        Case 4:15-cv-00250-DCBDocument
                                Document
                                       312-1
                                         206-2Filed
                                                 Filed
                                                    01/03/17
                                                       08/17/16Page
                                                                 Page
                                                                    8743
                                                                      of 126
                                                                         of 59 Page ID
                                     #:10730


               186.   Exhibit 62 is a true and correct copy of a photograph taken during Plaintiffs’
        inspection of Tucson station on September 11, 2015, which accurately depicts Room 18 in
        Tucson station with a view from the door to the back of the cell.
               187.   Exhibit 63 is a true and correct copy of a photograph taken during Plaintiffs’
        inspection of Tucson station on September 11, 2015, which accurately depicts Room 18 in
        Tucson station with a close-up view of a toilet stall.
               188.   Exhibit 64 is a true and correct copy of a photograph taken during Plaintiffs’
        inspection of Tucson station on September 11, 2015, which accurately depicts Room 18 in
        Tucson station with a close-up view of a handicapped toilet/sink unit in stall
               189.   Exhibit 65 is a true and correct copy of a photograph taken during Plaintiffs’
        inspection of Tucson station on September 11, 2015, which accurately depicts Room 18 in
        Tucson station with a close-up view of windows and a door frame.
               190.   Exhibit 66 is a true and correct copy of a photograph taken during Plaintiffs’
        inspection of Tucson station on September 11, 2015, which accurately depicts Room 18 in
        Tucson station with a close-up view of underneath the toilet/sink unit in a stall.
               191.   Exhibit 67 is a true and correct copy of a photograph taken during Plaintiffs’
        inspection of Tucson station on September 11, 2015, which accurately depicts Room 1 in
        Tucson station with a close-up view of a soap dispenser and sink/backsplash.
               192.   Exhibit 68 is a true and correct copy of a photograph taken during Plaintiffs’
        inspection of Tucson station on September 11, 2015, which accurately depicts Room 4 in
        Tucson station with a view across the cell towards the back of the room.
               193.   Exhibit 69 is a true and correct copy of a photograph taken during Plaintiffs’
        inspection of Tucson station on September 11, 2015, which accurately depicts Room 4 in
        Tucson station with a close-up view of a privacy wall.
               194.   Exhibit 70 is a true and correct copy of a photograph taken during Plaintiffs’
        inspection of Tucson station on September 11, 2015, which accurately depicts Room 4 in
        Tucson station with a close-up view of a toilet/sink unit in a stall.



                                                                                             80
Case 2:85-cv-04544-DMG-AGR
        Case 4:15-cv-00250-DCBDocument
                                Document
                                       312-1
                                         206-2Filed
                                                 Filed
                                                    01/03/17
                                                       08/17/16Page
                                                                 Page
                                                                    8844
                                                                      of 126
                                                                         of 59 Page ID
                                     #:10731


               195.   Exhibit 71 is a true and correct copy of a photograph taken during Plaintiffs’
        inspection of Tucson station on September 11, 2015, which accurately depicts Room 4 in
        Tucson station with a close-up view of cement benches.
               196.   Exhibit72 is a true and correct copy of a photograph taken during Plaintiffs’
        inspection of Tucson station on September 11, 2015, which accurately depicts Room 4 in
        Tucson station with a close-up view of cement benches.
               197.   Exhibit 73 is a true and correct copy of a photograph taken during Plaintiffs’
        inspection of Tucson station on September 11, 2015, which accurately depicts Room 4 in
        Tucson station with a close-up view of cement benches.
               198.   Exhibit 74 is a true and correct copy of a photograph taken during Plaintiffs’
        inspection of Tucson station on September 11, 2015 which accurately depicts Room 4 in
        Tucson station with a view across cell in front of toilet stalls.
               199.   Exhibit 75 is a true and correct copy of a photograph taken during Plaintiffs’
        inspection of Tucson station on September 11, 2015, which accurately depicts Room 6 in
        Tucson station with a view of cement benches.
               200.   Exhibit 76 is a true and correct copy of a photograph taken during Plaintiffs’
        inspection of Tucson station on September 11, 2015, which accurately depicts Room 6 in
        Tucson station with a view of underneath a toilet/sink unit.
               201.   Exhibit 77 is a true and correct copy of a photograph taken during Plaintiffs’
        inspection of Tucson station on September 11, 2015, which accurately depicts Room 6 in
        Tucson station with a close-up view of underneath a toilet/sink unit.
               202.   Exhibit 1 is a true and correct copy of a photograph taken during Plaintiffs’
        inspection of Casa Grande station on September 9, 2015, which accurately depicts a
        storage area in Casa Grande station with metal shelving containing items including
        drinking cups, plastic liners, baby diapers, and sanitary napkins.
               203.   Exhibit 2 is a true and correct copy of a photograph taken during Plaintiffs’
        inspection of Casa Grande station on September 9, 2015, which accurately depicts the
        back of a package of microwavable burritos at Casa Grande station.


                                                                                           81
Case 2:85-cv-04544-DMG-AGR
        Case 4:15-cv-00250-DCBDocument
                                Document
                                       312-1
                                         206-2Filed
                                                 Filed
                                                    01/03/17
                                                       08/17/16Page
                                                                 Page
                                                                    8945
                                                                      of 126
                                                                         of 59 Page ID
                                     #:10732


               204.    Exhibit 3 is a true and correct copy of a photograph taken during Plaintiffs’
        inspection of Casa Grande station on September 9, 2015, which accurately depicts a
        storage room in Casa Grande station with metal shelving containing three sleeping mats.
               205.    Exhibit 4 is a true and correct copy of a photograph taken during Plaintiffs’
        inspection of Casa Grande station on September 9, 2015, which accurately depicts a box
        of Mylar blankets in Casa Grande station.
               206.    Exhibit 5 is a true and correct copy of a photograph taken during Plaintiffs’
        inspection of Casa Grande station on September 9, 2015, which accurately depicts a food
        heating unit and/or microwave in Casa Grande station.
               207.    Exhibit 6 is a true and correct copy of a photograph taken during Plaintiffs’
        inspection of Casa Grande station on September 9, 2015, which accurately depicts a
        janitor's closet in Casa Grande station.
               208.    Exhibit 7 is a true and correct copy of a photograph taken during Plaintiffs’
        inspection of Casa Grande station on September 9, 2015, which accurately depicts holding
        cell no. 9 in Casa Grande station from the door.
               209.    Exhibit 8 is a true and correct copy of a photograph taken during Plaintiffs’
        inspection of Casa Grande station on September 9, 2015, which accurately depicts holding
        cell no. 9 in Casa Grande station with a view of two toilet/sink units.
               210.    Exhibit 9 is a true and correct copy of a photograph taken during Plaintiffs’
        inspection of Douglas station on September 10, 2015, which accurately depicts holding
        cell S South Black in Douglas station with a close-up view of the floor behind the
        toilet/sink unit.
               211.    Exhibit 10 is a true and correct copy of a photograph taken during Plaintiffs’
        inspection of Douglas station on September 10, 2015, which accurately depicts holding
        cell S South Yellow and/or S South Blue in Douglas station with a close-up view of the
        toilet/sink area.
               212.    Exhibit 11 is a true and correct copy of a photograph taken during Plaintiffs’
        inspection of Douglas station on September 10, 2015, which accurately depicts holding


                                                                                             82
Case 2:85-cv-04544-DMG-AGR
        Case 4:15-cv-00250-DCBDocument
                                Document
                                       312-1
                                         206-2Filed
                                                 Filed
                                                    01/03/17
                                                       08/17/16Page
                                                                 Page
                                                                    9046
                                                                      of 126
                                                                         of 59 Page ID
                                     #:10733


        cell S South Yellow and/or S South Blue in Douglas station with a close-up view of the
        toilet/sink unit.
                213.   Exhibit 12 is a true and correct copy of a photograph taken during Plaintiffs’
        inspection of Douglas station on September 10, 2015, which accurately depicts holding
        cell S South Yellow and/or S South Blue in Douglas station with a close-up view of side
        of the sink and wall.
                214.   Exhibit 13 is a true and correct copy of a photograph taken during Plaintiffs’
        inspection of Douglas station on September 10, 2015, which accurately depicts holding
        cell N North Blue in Douglas station with a close-up view of the toilet bowl.
                215.   Exhibit 14 is a true and correct copy of a photograph taken during Plaintiffs’
        inspection of Douglas station on September 10, 2015, which accurately depicts holding
        cell N North Blue in Douglas station with a close-up view of human excrement on the
        privacy wall of the toilet.
                216.   Exhibit 15 is a true and correct copy of a photograph taken during Plaintiffs’
        inspection of Douglas station on September 10, 2015, which accurately depicts holding
        cell N North Green in Douglas station with a view from opened door.
                217.   Exhibit 17 is a true and correct copy of a photograph taken during Plaintiffs’
        inspection of Douglas station on September 10, 2015, which accurately depicts holding
        cell N North Black in Douglas station with a close-up view of the toilet bowl.
                218.   Exhibit 18 is a true and correct copy of a photograph taken during Plaintiffs’
        inspection of Douglas station on September 10, 2015, which accurately depicts holding
        cell N North Yellow in Douglas station with a view from the door.
                219.   Exhibit 19 is a true and correct copy of a photograph taken during Plaintiffs’
        inspection of Douglas station on September 10, 2015, which accurately depicts holding
        cell N North Yellow in Douglas station with a view from the side wall towards the privacy
        wall.




                                                                                            83
Case 2:85-cv-04544-DMG-AGR
        Case 4:15-cv-00250-DCBDocument
                                Document
                                       312-1
                                         206-2Filed
                                                 Filed
                                                    01/03/17
                                                       08/17/16Page
                                                                 Page
                                                                    9147
                                                                      of 126
                                                                         of 59 Page ID
                                     #:10734


               220.   Exhibit 20 is a true and correct copy of a photograph taken during Plaintiffs’
        inspection of Douglas station on September 10, 2015, which accurately depicts holding
        cell N North Yellow in Douglas station with a view of the toilet/sink unit.
               221.   Exhibit 21 is a true and correct copy of a photograph taken during Plaintiffs’
        inspection of Douglas station on September 10, 2015, which accurately depicts holding
        cell N North Yellow in Douglas station with a close-up view of the floor next to the toilet.
               222.   Exhibit 22 is a true and correct copy of a photograph taken during Plaintiffs’
        inspection of Douglas station on September 10, 2015, which accurately depicts holding
        cell N North Yellow in Douglas station with a close-up view of spotted stainless steel
               223.   Exhibit 23 is a true and correct copy of a photograph taken during Plaintiffs’
        inspection of Douglas station on September 10, 2015, which accurately depicts holding
        cell N North Yellow in Douglas station with a view of the toilet/sink unit.
               224.   Exhibit 24 is a true and correct copy of a photograph taken during Plaintiffs’
        inspection of Douglas station on September 10, 2015, which accurately depicts holding
        cell N North Yellow in Douglas station with a close-up view of the floor drain.
               225.   Exhibit 25 is a true and correct copy of a photograph taken during Plaintiffs’
        inspection of Douglas station on September 10, 2015, which accurately depicts isolation
        cell No. 1 in Douglas station with a close-up view of the floor and sleeping mat.
               226.   Exhibit 26 is a true and correct copy of a photograph taken during Plaintiffs’
        inspection of Nogales station on September 11, 2015, which accurately depicts holding
        cell no. 3 in Nogales station with a view into the cell from the door.
               227.   Exhibit 27 is a true and correct copy of a photograph taken during Plaintiffs’
        inspection of Nogales station on September 11, 2015, which accurately depicts holding
        cell no. 3 in Nogales station with a view into the cell from the door.
               228.   Exhibit 28 is a true and correct copy of a photograph taken during Plaintiffs’
        inspection of Nogales station on September 11, 2015, which accurately depicts holding
        cell no. 3 in Nogales station with a close-up of sleeping mats on benches.



                                                                                            84
Case 2:85-cv-04544-DMG-AGR
        Case 4:15-cv-00250-DCBDocument
                                Document
                                       312-1
                                         206-2Filed
                                                 Filed
                                                    01/03/17
                                                       08/17/16Page
                                                                 Page
                                                                    9248
                                                                      of 126
                                                                         of 59 Page ID
                                     #:10735


               229.   Exhibit 29 is a true and correct copy of a photograph taken during Plaintiffs’
        inspection of Nogales station on September 11, 2015, which accurately depicts holding
        cell no. 3 in Nogales station with a close-up of sleeping mats on benches.
               230.   Exhibit 30 is a true and correct copy of a photograph taken during Plaintiffs’
        inspection of Nogales station on September 11, 2015, which accurately depicts holding
        cell no. 3 in Nogales station with a close-up view of a stain on the floor.
               231.   Exhibit 31 is a true and correct copy of a photograph taken during Plaintiffs’
        inspection of Nogales station on September 11, 2015, which accurately depicts holding
        cell no. 5 in Nogales station with a close-up view of an air vent.
               232.   Exhibit 32 is a true and correct copy of a photograph taken during Plaintiffs’
        inspection of Nogales station on September 11, 2015, which accurately depicts holding
        Cell no. 1in Nogales station with a close-up view of a sink and backsplash.
               233.   Exhibit 33 is a true and correct copy of a photograph taken during Plaintiffs’
        inspection of Nogales station on September 11, 2015, which accurately depicts holding
        cell no. 1 in Nogales station with a close-up view of a ceiling vent.
               234.   Exhibit 34 is a true and correct copy of a photograph taken during Plaintiffs’
        inspection of Nogales station on September 11, 2015, which accurately depicts holding
        cell no. 1 in Nogales station with a view of a corner of the floor near a cement bench.
               235.   Exhibit 35 is a true and correct copy of a photograph taken during Plaintiffs’
        inspection of Nogales station on September 11, 2015, which accurately depicts holding
        cell no. 4 in Nogales station with a close-up view of an orange Igloo water container.
               236.   Exhibit 36 is a true and correct copy of a photograph taken during Plaintiffs’
        inspection of Nogales station on September 11, 2015, which accurately depicts a view of
        the floor at Nogales station underneath a toilet/sink unit.
               237.   Exhibit 37 is a true and correct copy of a photograph taken during Plaintiffs’
        inspection of Nogales station on September 11, 2015, which accurately depicts holding
        cell no. 2 in Nogales station with a close-up view of the cinder block walls.



                                                                                           85
Case 2:85-cv-04544-DMG-AGR
        Case 4:15-cv-00250-DCBDocument
                                Document
                                       312-1
                                         206-2Filed
                                                 Filed
                                                    01/03/17
                                                       08/17/16Page
                                                                 Page
                                                                    9349
                                                                      of 126
                                                                         of 59 Page ID
                                     #:10736


              238.   Exhibit 38 is a true and correct copy of a photograph taken during Plaintiffs’
        inspection of Nogales station on September 11, 2015, which accurately depicts a cleaning
        supply room in Nogales station viewed from the door.
              239.   Exhibit 42 is a true and correct copy of a photograph taken during Plaintiffs’
        inspection of Nogales station on September 11, 2015, which accurately depicts Room C in
        Nogales station with a close-up view of two microwave ovens.
              240.   Exhibit 43 is a true and correct copy of a photograph taken during Plaintiffs’
        inspection of Nogales station on September 11, 2015, which accurately depicts Room 8 in
        Nogales station with a close-up view of underneath the toilet bowl.
              241.   Exhibit 44 is a true and correct copy of a photograph taken during Plaintiffs’
        inspection of Nogales station on September 11, 2015, which accurately depicts Room 7 in
        Nogales station with a close-up view of underneath the sink.
              242.   Exhibit 45 is a true and correct copy of a photograph taken during Plaintiffs’
        inspection of Nogales station on September 11, 2015, which accurately depicts Room 7 in
        Nogales station showing a corner of the floor.
              243.   Exhibit 46 is a true and correct copy of a photograph taken during Plaintiffs’
        inspection of Nogales station on September 11, 2015, which accurately depicts Room 7 in
        Nogales station with a close-up view of a corner wall next to the door.
              244.   Exhibit 47 is a true and correct copy of a photograph taken during Plaintiffs’
        inspection of Nogales station on September 11, 2015, which accurately depicts Shower
        Room 2 in Nogales station viewed from the door.
              245.   Exhibit 48 is a true and correct copy of a photograph taken during Plaintiffs’
        inspection of Nogales station on September 11, 2015, which accurately depicts Station
        ASID at Nogales station with a view of air-conditioning controls and computers.

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      Case 2:85-cv-04544-DMG-AGR
              Case 4:15-cv-00250-DCBDocument
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                                                             08/17/16Page
                                                                       Page
                                                                          9450
                                                                            of 126
                                                                               of 59 Page ID
                                           #:10737



              1          246.    Exhibit 49 is a true and correct copy of a photograph taken during Plaintiffs'
              2   inspection of Nogales station on September 11, 2015, which accurately depicts Station



                                                                                       u'
              3   ASID at Nogales station with a view of air-conditioning controls.
              4
                         Executed this __L_ day of December, 2015.
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                                                                          c. _ ~
                                                                                    ELDON VAIL
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                  DECL. OF ELDON VAIL lN SUPPORT OF PLAINTIFFS, MOT. FOR PRELIMINARY INJUNCTION              48
                  Case No. 4:15-cv-00250-DCB    ·




                                                                                                        87
Case 2:85-cv-04544-DMG-AGR
        Case 4:15-cv-00250-DCBDocument
                                Document
                                       312-1
                                         206-2Filed
                                                 Filed
                                                    01/03/17
                                                       08/17/16Page
                                                                 Page
                                                                    9551
                                                                      of 126
                                                                         of 59 Page ID
                                     #:10738




                           Attachment A




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Case 2:85-cv-04544-DMG-AGR
        Case 4:15-cv-00250-DCBDocument
                                Document
                                       312-1
                                         206-2Filed
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                                                    01/03/17
                                                       08/17/16Page
                                                                 Page
                                                                    9652
                                                                      of 126
                                                                         of 59 Page ID
                                     #:10739



     ELDON VAIL
     1516 8th Ave SE
     Olympia, WA. 98501
     360-349-3033
     Nodleliav@comcast.net

     WORK HISTORY

        Nearly 35 years working in and administering adult and juvenile institutions, and
        probation and parole programs, starting at the entry level and rising to Department
        Secretary. Served as Superintendent of 3 adult institutions, maximum to minimum
        security, male and female. Served as Secretary for the Washington State Department
        of Corrections (WADOC) from 2007 until 201l.

        !   Secretary                        WADOC                                 2007-2011
        !   Deputy Secretary                 WADOC                                 1999-2006
        !   Assistant Deputy Secretary       WADOC                                 1997-1999
        !   Assistant Director for Prisons   WADOC                                 1994-1997
        !   Superintendent                   McNeil Island Corrections Center      1992-1994
        !   Superintendent                   WA. Corrections Center for Women      1989-1992
        !   Correctional Program Manager     WA. Corrections Center                1988
        !   Superintendent                   Cedar Creek Corrections Center        1987
        !   Correctional Program Manager     Cedar Creek Corrections Center        1984-1987
        !   Juvenile Parole Officer          Division of Juvenile Rehabilitation   1984
        !   Correctional Unit Supervisor     Cedar Creek Corrections Center        1979-1983
        !   Juvenile Institution Counselor   Division of Juvenile Rehabilitation   1974-1979

     SKILLS AND ABILITIES

        !   Ability to analyze complex situations, synthesize the information and find
            practical solutions that are acceptable to all parties.

        !   A history of work experience that demonstrates how a balance of strong security
            and robust inmate programs best improves institution and community safety.

        !   Leadership of a prison system with very little class action litigation based on
            practical knowledge that constitutional conditions are best achieved through
            negotiation with all parties and not through litigation.

        !   Extensive experience as a witness, both in deposition and at trial.

        !   Experience working with multiple Governors, legislators of both parties, criminal
            justice partners and constituent groups in the legislative and policymaking
            process.




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Case 2:85-cv-04544-DMG-AGR
        Case 4:15-cv-00250-DCBDocument
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                                       312-1
                                         206-2Filed
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                                                    01/03/17
                                                       08/17/16Page
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                                                                    9753
                                                                      of 126
                                                                         of 59 Page ID
                                     #:10740


        !   Skilled labor negotiator for over a decade. Served as chief negotiator with the
            Teamsters and the Washington Public Employees Association for Collective
            Bargaining Agreements. Chaired Labor Management meetings with Washington
            Federation of State Employees.

     HIGHLIGHTS OF CAREER ACCOMPLISHMENTS

        !   Reduced violence in adult prisons in Washington by over 30% during my tenure
            as Secretary and Deputy Secretary even though the prison population became
            much more violent and high risk during this same time period.

        !   Long term collaboration with the University of Washington focusing on
            improving treatment for the mentally ill in prison and the management of
            prisoners in and through solitary confinement.

        !   Implemented and administered an extensive array of evidence based and
            promising programs:

               o   Education, drug and alcohol, sex offender and cognitive treatment programs.
               o   Implemented sentencing alternatives via legislation and policy, reducing the
                   prison populations of non-violent, low risk offenders, including the Drug
                   Offender Sentencing Alternative and, as the Secretary, the Family and Offender
                   Sentencing Alternative. http://www.doc.wa.gov/community/fosa/default.asp
               o   Pioneered extensive family based programs resulting in reductions in use of force
                   incidents and infractions, as well as improved reentry outcomes for program
                   participants.
               o   Established Intensive Treatment Program for mentally ill inmates with behavioral
                   problems.
               o   Established step down programs for long-term segregation inmates resulting in
                   significant reduction in program graduate returns to segregation.
                   http://www.thenewstribune.com/2012/07/10/2210762/isolating-prisoners-less-
                   common.html

        !   Initiated the Sustainable Prisons Project
            http://blogs.evergreen.edu/sustainableprisons/

        !   Improved efficiency in the agency by administrative consolidation, closing 3 high
            cost institutions and eliminating over 1,200 positions. Housed inmates safely at
            lowest possible custody levels, also resulting in reduced operating costs.

        !   Increased partnerships with non-profits, law enforcement and community
            members in support of agency goals and improved community safety.

        !   Resolved potential class action lawsuit regarding religious rights of Native
            Americans.
            http://seattletimes.nwsource.com/html/opinion/2015464624_guest30galanda.html




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Case 2:85-cv-04544-DMG-AGR
        Case 4:15-cv-00250-DCBDocument
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                                       312-1
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                                                    01/03/17
                                                       08/17/16Page
                                                                 Page
                                                                    9854
                                                                      of 126
                                                                         of 59 Page ID
                                     #:10741


        !   Successful settlement of the Jane Doe class action law suit, a PREA case
            regarding female offenders in the state’s prisons for women.

        !   Led the nation’s corrections directors to support fundamental change in the
            Interstate Compact as a result of the shooting of 4 police officers in Lakewood,
            WA.

        !   Dramatically improved media relations for the department by being aggressively
            open with journalists, challenging them to learn the difficult work performed by
            corrections professionals on a daily basis.


     EDUCATION AND OTHER BACKGROUND INFORMATION

        !   Bachelor of Arts - The Evergreen State College, Washington – 1973

        !   Post graduate work in Public Administration - The Evergreen State College,
            Washington - 1980 and 1981

        !   National Institute of Corrections and Washington State Criminal Justice Training
            Commission - various corrections and leadership training courses

        !   Member of the American Correctional Association

        !   Associate member, Association of State Correctional Administrators (ASCA)

        !   Guest Speaker, Trainer and Author for the National Institute of Corrections (NIC)

        !   Commissioner, Washington State Criminal Justice Training Commission 2002-
            2006, 2008-2011

        !   Member, Washington State Sentencing Guidelines Commission 2007-2011

        !   Instructor for Correctional Leadership Development for the National Institute of
            Corrections

        !   Author of Going Beyond Administrative Efficiency—The Budget Crisis in the
            State of Washington, published in Topics of Community Corrections by NIC,
            2003

        !   Advisory Panel Member, Correctional Technology—A User’s Guide

        !   Consultant for Correctional Leadership Competencies for the 21st Century, an
            NIC publication




                                                3
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Case 2:85-cv-04544-DMG-AGR
        Case 4:15-cv-00250-DCBDocument
                                Document
                                       312-1
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                                                    01/03/17
                                                       08/17/16Page
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                                                                         of 59 Page ID
                                     #:10742


        !   Co-chair with King County Prosecutor Dan Satterberg, Examining the Tool Box:
            A Review of Supervision of Dangerous Mentally Ill Offenders
            http://your.kingcounty.gov/prosecutor/DMIO%20-WorkgroupFinalReport.pdf

        !   Consultant for Correctional Health Care Executive Curriculum Development, an
            NIC training program, 2012

        !   Guest lecturer on solitary confinement, University of Montana Law School in
            2012

        !   On retainer for Pioneer Human Services from July 2012 - July 2013

        !   On retainer for BRK Management Services from September 2012 – April 2013

        !   Guest Editorial, Seattle Times, February 22, 2014
            http://www.seattletimes.com/opinion/guest-opinions-should-washington-state-
            abolish-the-death-penalty/

        CURRENT ACTIVITIES

        !   Serve on the Board of Advisors for Huy, a non-profit supporting Native American
            Prisoners

        !   Registered Agent for the Association of State Correctional Administrators
            (ASCA) in Washington

        !   Retained as an expert witness or correctional consultant in the following cases:

               o Mitchell v. Cate,
                        No. 08-CV-1196 JAM EFB
                        United States District Court, Eastern District of California,
                        Declarations, March 4, 2013, May 15, 2013 and June 7, 2013
                        Deposed, July 9, 2013
                        Case settled, October 2014

               o Parsons, et al v. Ryan,
                       No. CV 12-06010 PHX-NVW
                       United States District Court of Arizona
                       Declarations and reports, November 8, 2013, January 31, 2014,
                       February 24, 2014, September 4, 2014
                       Deposed, February 28, 2014 and September 17, 2014
                       Case settled, October 2014




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Case 2:85-cv-04544-DMG-AGR
        Case 4:15-cv-00250-DCB
                             Document
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                                      312-1
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               o Gifford v. State of Oregon,
                        No. 6:11-CV-06417-TC
                        United States District Court, For the District of Oregon,
                        Eugene Division,
                        Expert report, March 29, 2013
                        Case settled, May 2013

               o Ananachescu v. County of Clark,
                       No. 3:13-cv-05222-BHS
                       United States District Court, Western District of Tacoma
                       Case settled, February 2014

               o Coleman et al v. Brown, et al,
                       No. 2:90-cv-0520 LKK JMP P
                       United State District Court, Eastern District of California,
                       Declarations, March 14, 2013, May 29, 2013, August 23, 2013 and
                       February 11, 2014
                       Deposed, March 19, 2013 and June 27, 2013
                       Testified, October 1, 2, 17 and 18, 2013

               o Peoples v. Fischer,
                        No. 1:11-cv-02694-SAS
                        United States District Court, Southern District of New York
                        Interim settlement agreement reached February 19, 2014,
                        Negotiations ongoing

               o Dockery v. McCarty,
                       No. 3:13-cv-326 TSL JMR
                       United States District Court for the Southern District of
                       Mississippi, Jackson Division
                       Report, June 16, 2014

               o C.B., et al v. Walnut Grove Correctional Authority et al,
                         No. 3:10-cv-663 DPS-FKB,
                         United States District Court for the Southern District of
                         Mississippi, Jackson Division
                         Memo to ACLU and Southern Poverty Law Center,
                         March 14, 2014, filed with the court
                         Reports to the court August 4, 2014 and February 10, 2015
                         Testified April 1, 2 and 27, 2015

               o Graves v. Arpaio,
                       No. CV-77-00479-PHX-NVW,
                       United States District Court of Arizona
                       Declaration, November 15, 2013
                       Testified on March 5, 2014



                                               5
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Case 2:85-cv-04544-DMG-AGR
        Case 4:15-cv-00250-DCB
                             Document
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                                      312-1
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               o Wright v. Annucci, et al,
                        No. 13-CV-0564 (MAD)(ATB)
                        United States District Court, Northern District of New York
                        Reports, April 19, 2014 and December 12, 2014

               o   Corbett v. Branker,
                         No. 5:13 CT-3201-BO
                         United States District Court, Eastern District of North Carolina,
                         Western District
                         Special Master appointment November 18, 2013
                         Expert Report, January 14, 2014
                         Testified, March 21, 2014

               o Fontano v. Godinez,
                       No. 3:12-cv-3042
                       United States District Court, Central District of Illinois,
                       Springfield Division
                       Report, August 16, 2014

               o Atencio v. Arpaio,
                        No. CV12-02376-PHX-PGR
                        United States District Court of Arizona
                        Reports, February 14, 2014 and May 12, 2014
                        Deposed on July 30, 2014

               o State of Oregon v. James DeFrank,
                         Case # 11094090C
                         Malheur County, Oregon

               o Disability Rights, Montana, Inc. v. Richard Opper,
                        No. CV-14-25-BU-SHE
                        United State District Court for the District of Montana,
                        Butte Division

               o Larry Heggem v. Snohomish County,
                        No. CV-01333-RSM
                        United States District Court,
                        Western District of Washington at Seattle
                        Report, May 29, 2014
                        Deposed, June 27, 2014

               o Padilla v. Beard, et al,
                        Case 2:14-at-00575
                        United States District Court, Eastern District of California,
                        Sacramento Division
                        Declaration November 19, 2015



                                                6
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Case 2:85-cv-04544-DMG-AGR
        Case 4:15-cv-00250-DCB
                             Document
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               o Dunn et al v. Dunn et al,
                       No. 2:14-cv-00601-WKW-TFM
                       United States District Court, Middle District of Alabama
                       Declarations, September 3, 2014, April 29, 2015 and
                       June 3, 2015

               o Sassman v. Brown,
                       No. 2:14-cv-01679-MCE-KJN,
                       United States District Court, Eastern District of California,
                       Sacramento Division
                       Declaration, August 27, 2014, Report, December 5, 2014
                       Deposed, December 15, 2014

               o Manning v. Hagel,
                       No. 1:14-cv-01609
                       United States District Court for the District of Columbia

               o Doe v. Michigan Department of Corrections
                        No. 5:13-cv-14356-RHC-RSW
                        United States District Court, Eastern District of Michigan,
                        Southern Division

               o Robertson v. Struffert, et al
                        Case 4:12-cv-04698-JSW
                        United States District Court, Northern District of California
                        Declaration March 16, 2015
                        Deposed May 4, 2015
                        Case settled, October 2015

               o Commonwealth of Virginia v. Reginald Cornelius Latson
                      Case No: GC14008381—00
                      General District Court of the County of Stafford
                      Report January 12, 2015
                      Pardon granted

               o Star v. Livingston
                         Case No: 4:14-cv-03037
                         United States District Court, Southern District of Texas,
                         Houston Division
                         Report March 3, 2015




                                               7
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Case 2:85-cv-04544-DMG-AGR
        Case 4:15-cv-00250-DCB
                             Document
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                                      312-1
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                                    #:10746


               o Redmond v. Crowther
                      Civil No. 2:13-cv-00393-PMW
                      United States District Court, Central Division,
                      State of Utah
                      Report April 28, 2015
                      Deposed July 28, 2015

               o Doe v. Johnson
                         Case 4:15-cv-00250-DCB
                         United States District Court for the District of Arizona

               o Flores v. United States of America
                         Civil Action No 14-3166
                         United States District Court, Eastern District of New York
                         Report August 14, 2015

               o Bailey v. Livingston
                          Civil Action No. 4:14-cv-1698
                          United States District Court, Southern District of Texas,
                          Houston Division
                          Report August 5, 2015
                          Deposed December 2, 2015

               o Rasho v. Godinez
                         Civil Action No. 07-CV-1298
                         United States District Court, Central Division of Illinois,
                         Peoria Division

               o Morgal v. Williams
                        No. CV 12-280-TUC-CKJ
                        United States District Court for the District of Arizona

               o Williams v. Snohomish County
                         Case No. 15-2-22078-1 SEA
                         Superior Court for the State of Washington, King County

               o Sacramento County
                        Retained to evaluate conditions for mentally ill inmates
                        in Sacramento County jail




                                                8
                                                                                       96
Case 2:85-cv-04544-DMG-AGR Document 312-1 Filed 01/03/17 Page 104 of 126 Page ID
                                  #:10747




                          Exhibit 5
Case 2:85-cv-04544-DMG-AGR
         Case 4:15-cv-00250-DCB
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        Email: EBalassone@mofo.com
        Attorneys for Plaintiffs
        * Admitted pursuant to Ariz. Sup. Ct. R. 38(f)
        Additional counsel listed on next page


                             IN THE UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF ARIZONA


        Jane Doe #1; Jane Doe #2; Norlan Flores,         Case No. 4:15-cv-00250-TUC-DCB
        on behalf of themselves and all others
        similarly situated,
                                                         DECLARATION OF JOSEPH
                             Plaintiffs,                 GASTON IN SUPPORT OF
               v.                                        PLAINTIFFS’ MOTION FOR
                                                         PRELIMINARY INJUNCTION
        Jeh Johnson, Secretary, United States
        Department of Homeland Security, in his
        official capacity; R. Gil Kerlikowske,
        Commissioner, United States Customs &
        Border Protection, in his official capacity;
        Michael J. Fisher, Chief of the United States
        Border Patrol, in his official capacity;
        Jeffrey Self, Commander, Arizona Joint
        Field Command, in his official capacity;
        Manuel Padilla, Jr., Chief Patrol Agent-
        Tucson Sector, in his official capacity,
                             Defendants.




                                                                                    97
Case 2:85-cv-04544-DMG-AGR
         Case 4:15-cv-00250-DCB
                              Document
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                                       312-1
                                          206-5
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        Facsimile: (650) 494-0792                     San Francisco, CA 94105
        Email: CRMayer@mofo.com                       Telephone: (415) 543-9444
                                                      Facsimile: (415) 543-0296
                                                      Email: tsilva@lccr.com
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        Pieter S. de Ganon*                           Victoria Lopez (Bar No. 330042)**
        MORRISON & FOERSTER LLP                       Daniel J. Pochoda (Bar No. 021979)
        Shin-Marunouchi Building, 29th Floor          James Duff Lyall (Bar No. 330045)**
        5-1, Marunouchi 1-Chome                       ACLU FOUNDATION OF ARIZONA
        Tokyo, Chiyoda-ku 100-6529, Japan             3707 North 7th Street, Suite 235
        Telephone: +81-3-3214-6522                    Phoenix, AZ 85014
        Facsimile: +81-3-3214-6512                    Telephone: (602) 650-1854
        Email: LStoupe@mofo.com                       Facsimile: (602) 650-1376
        Email: PdeGanon@mofo.com                      Email: vlopez@acluaz.org
                                                      Email: dpochoda@acluaz.org
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        Email: ecreighton@immcouncil.org
        Email: mcrow@immcouncil.org
        Attorneys for Plaintiffs
        * Admitted pursuant to Ariz. Sup. Ct. R. 38(a)
        ** Admitted pursuant to Ariz. Sup. Ct. R. 38(f)




                                                                                     98
Case 2:85-cv-04544-DMG-AGR
         Case 4:15-cv-00250-DCB
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        I, JOSEPH GASTON, hereby declare:
               1.     I am an eDiscovery Analyst at the law firm of Morrison & Foerster LLP and
        counsel of record for Plaintiffs in this litigation. I have personal knowledge of the facts
        stated herein and, if called as a witness, could and would competently testify thereto.
               2.     I have been employed at Morrison & Foerster LLP since October 2012. In
        my role, I regularly perform data analysis on projects within the Litigation Department.
        Prior to my position at Morrison & Foerster LLP, I was a data analyst at SFL Data (now
        Discovia) and the law firm of Coblentz, Patch, Duffy, & Bass LLP.

        I.     INTRODUCTION
               3.     I was asked by Plaintiffs’ counsel to analyze data produced by Defendants
        in a native Excel spreadsheet, Bates stamped as USA000653, titled “USBP e3 Detention
        Module Fields for Apprehensions Booked Into TCA Facilities, Booked in 6/10/15 -
        9/28/15, Data includes Deportable Aliens Only, Data Source: EID (Unofficial) as of
        10/7/15” (the “e3DM Spreadsheet”). I understand that the spreadsheet purports to be a
        production of data from Defendants’ logging system “e3DM,” that includes various data
        points for civil detainees held in a U.S. Customs and Border Protection facility within the
        Tucson Sector of the U.S. Border Patrol booked from June 10, 2015 to September 28,
        2015 (the “Relevant Time Period”). This spreadsheet contains nearly half a million rows
        of records.
               4.     The e3DM spreadsheet title indicates that it pertains to “Deportable Aliens
        Only.” I understand that Defendants did not provide any explanation why records
        associated with all other detainees, including U.S. citizens, were omitted.
               5.     I also reviewed the document produced by Defendants, Bates stamped as
        USA000654-665 with the heading “Statistical Information – Information Redacted From
        USA000653 Pursuant to 8 U.S.C. 1367” (the “e3DM Supplement”). 1 I understand this


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                All exhibit references in this declaration are to an Appendix of Exhibits In
        Support of Plaintiffs’ Motion for Preliminary Injunction.


                                                                                             99
Case 2:85-cv-04544-DMG-AGR
         Case 4:15-cv-00250-DCB
                              Document
                                 Document
                                       312-1
                                          206-5
                                             FiledFiled
                                                    01/03/17
                                                        08/17/16
                                                              Page
                                                                 Page
                                                                   1084ofof126
                                                                            21 Page ID
                                     #:10751


        spreadsheet purports to be a supplemental production of data from Defendants’ e3DM
        logging system, which omits certain information Defendants allege to be protected from
        disclosure under federal law.
               6.      I reviewed the document produced by Defendants, in conjunction with the
        production of this spreadsheet, titled “e3 Detention Module Custodial Action Codes,”
        Exhibit 96, that provides “Action Descriptions” for the “Action Codes” in the e3DM
        Spreadsheet.
               7.      I reviewed the document produced by Defendants, Exhibit 119, that defines
        the column headings in the e3DM Spreadsheet.
               8.      I also reviewed another document produced by Defendants, Exhibit 192 at
        USA002184, titled “Station Abbreviations,” that explains the abbreviations for each
        facility listed in the “Station” column of the e3DM Spreadsheet.
               9.      I am informed that, although there are more than two dozen different
        facilities indicated in the “Station Abbreviations” column, this lawsuit specifically
        challenges conditions at facilities within the Tucson Sector of the U.S. Border Patrol: Ajo,
        Brian A. Terry, Casa Grande, Douglas, Nogales, Sonoita, Tucson/TCC, and Willcox
        stations (collectively, the “Tucson Sector Stations”).
               10.     I understand that Defendants also produced a native Excel spreadsheet,
        Bates stamped USA000699 with the heading “USBP e3 Detention Module Detention Cell,
        Booked in 6/10/15 – 9/28/15” (the “EID Spreadsheet”). I understand this information
        purports to be a production of data from Defendants’ “Enforcement Integrated Database”
        (“EID”), a Department of Homeland Security shared common database repository in
        which information related to the investigation, arrest, booking, detention, and removal of
        individuals encountered by U.S. Customs and Border Protection is maintained. I
        understand that the spreadsheet produced contains information regarding the last known
        holding cell in which individuals are detained while in Border Patrol custody.




                                                                                           100
Case 2:85-cv-04544-DMG-AGR
         Case 4:15-cv-00250-DCB
                              Document
                                 Document
                                       312-1
                                          206-5
                                             FiledFiled
                                                    01/03/17
                                                        08/17/16
                                                              Page
                                                                 Page
                                                                   1095ofof126
                                                                            21 Page ID
                                     #:10752


               11.    I also understand that Defendants did not preserve comprehensive records
        regarding other Hold Rooms in which each detainee was held. It was therefore impossible
        to calculate from the data how many detainees were in any given Hold Room at one time.
               12.    The e3DM Spreadsheet, e3DM Supplement and EID Spreadsheet are
        voluminous and would likely span hundreds of thousands of pages if printed. I
        understand the spreadsheets were produced by Defendants and thus my analysis of the
        data contained in those spreadsheets can easily be verified by Defendants by reviewing
        the documents already in their possession.

        II.    e3DM SPREADSHEET ANALYSIS
               13.    As explained below, my initial quality control work for the e3DM
        Spreadsheet and e3DM Supplement resulted in 277,009 unique log entries and 17,006
        unique Alien file Numbers, for individuals held in a U.S. Customs and Border Protection
        facility within the Tucson Sector of the U.S. Border Patrol during the Relevant Time
        Period (June 10, 2015 to September 28, 2015). Each of these 17,006 unique individuals
        were booked into at least one of the 8 “Tucson Sector Stations” (defined as Tucson/TCC,
        Casa Grande, Douglas, Nogales, Willcox, Sonoita, Ajo and Brian A. Terry (Naco)
        stations). Defendants withheld most of the data associated with 14 of these 17,006
        detainees on the basis that federal law protects these records from disclosure. For
        instance, the data produced does not indicate one way or the other whether these 14
        individuals were provided meals, mats, personal hygiene items or other supplies.
        Therefore, much of my analysis below reflects only the 16,992 individuals for whom full
        records were produced.
               14.    The analysis below reflects only records from the Relevant Time Period.

               A.     Sector-Wide Analysis
               15.    I performed the following analysis of the e3DM Spreadsheet data across the
        Tucson Sector of the U.S. Border Patrol.
               16.    I observed, however, that the e3DM Spreadsheet included some rows of
        data related to facilities outside of the Tucson Sector of the U.S. Border Patrol.


                                                                                             101
Case 2:85-cv-04544-DMG-AGR
         Case 4:15-cv-00250-DCB
                              Document
                                 Document
                                       312-1
                                          206-5
                                             FiledFiled
                                                    01/03/17
                                                        08/17/16
                                                              Page
                                                                 Page
                                                                   1106ofof126
                                                                            21 Page ID
                                     #:10753


               17.    Based on my review of the e3DM Spreadsheet, the rows of data relating to
        facilities outside of the Tucson Sector appeared to be associated with individuals who
        were held at facilities both inside and outside of the Tucson Sector of the U.S. Border
        Patrol during the course of their detention(s).
               18.    I used the “Station Abbreviations” provided in the “Station” column of each
        row of data to determine there were 24,046 rows related to facilities outside of the Tucson
        Sector of the U.S. Border Patrol. That is 8.681% of the 277,009 unique log entries. In
        addition to the 8 relevant Border Patrol stations, the e3DM spreadsheet also included
        records from Border Patrol stations from other Border Patrol Sectors as far away as
        Louisiana. These stations included Baton Rouge, Calexico, Del Rio, Eagle Pass, El
        Centro, Falfurrias, Kingsville, Lordsburg, McAllen, Three Points, Yuma, and Welton
        Stations. Records were also included from various Border Patrol checkpoints and points
        of entry, both in and out of the Tucson Sector geographical area. Upon analysis of the
        e3DM data, it was determined that records from these facilities outside of Border Patrol’s
        Tucson Sector were invariably related to detainees who at some point during their time in
        CBP custody, were brought to one of the 8 relevant Border Patrol stations.
               19.    The sector-wide analysis of various time periods detailed below
        incorporates these out-of-sector records. For example, according to the e3DM data
        produced by Defendants, starting on September 1, 2015, one detainee was held for 7.783
        hours in the El Centro Station (which I am informed and believe to be located in
        California), then moved to the Del Rio Station (which I am informed and believe to be
        located in Texas) for 10.25 more hours of holding, then moved to the Tucson Sector
        Tucson Coordination Center for 20.8 more hours of holding. My Sector-wide analysis
        would reflect that this detainee was held in CBP custody for a total of 38.833 hours.

                      i.     Hours in Detention
               20.    The following table represents the number of detainees held in CBP custody
        during the Relevant Time Period for more than the various numbers of hours listed in the



                                                                                           102
Case 2:85-cv-04544-DMG-AGR
         Case 4:15-cv-00250-DCB
                              Document
                                 Document
                                       312-1
                                          206-5
                                             FiledFiled
                                                    01/03/17
                                                        08/17/16
                                                              Page
                                                                 Page
                                                                   1117ofof126
                                                                            21 Page ID
                                     #:10754


        first column, as well as the corresponding percentages relating to the total number of
        unique individuals held in CBP Custody during the same Relevant Time Period:


           Table 1
           Time in Detention      Number of Detainees       Percentage of 17,006 Total
                                                            Detainees
           12 hours or more       14,021                    82.447%
           24 hours or more       6,541                     38.463%
           36 hours or more       2,841                     16.706%
           48 hours or more       1,064                     6.257%
           72 hours or more       157                       0.9%


               21.    The figures in Table 1 were calculated from the difference between the
        timestamp of the initial “In_BP_Station” action code and the final “Book_Out_DT”
        timestamp for a specific detainee, and the corresponding “EVENT_NUMBER” value
        reported. These detainee-specific timestamps and the associated “EVENT_NUMBER”
        are analyzed to calculate length of detainment time, and the resulting value is defined as a
        single “Detainment Event.” Individuals held in CBP custody more than once for each of
        the various numbers of hours listed in the first column are only counted once when
        calculating the respective percentages in the third column.
               22.    I observed that a significant number of individuals were recorded to have
        been in CBP custody on more than one occasion during the Relevant Time Period. While
        only 17,006 individuals were detained during this period, there were 20,145 “Detainment
        Events,” associated with those individuals. The reason for the higher number of
        Detainment Events is not clear from the e3DM spreadsheet. These individuals could have
        been apprehended more than once, or transferred to and from different U.S. government
        agencies before returning to CBP custody. Table 1 does not reflect the fact that some
        individuals are associated with multiple Detainment Events. Table 1.1, however, does



                                                                                           103
Case 2:85-cv-04544-DMG-AGR
         Case 4:15-cv-00250-DCB
                              Document
                                 Document
                                       312-1
                                          206-5
                                             FiledFiled
                                                    01/03/17
                                                        08/17/16
                                                              Page
                                                                 Page
                                                                   1128ofof126
                                                                            21 Page ID
                                     #:10755


        reflect the number of “Detainment Events” where any individual was detained for the
        various number of hours listed in the first column:

            Table 1.1
            Time in Detention     Number of                   Percentage of 20,145 Total
                                  Detainment Events           Detainment Events
            12 hours or more      15,782                      78.342%
            24 hours or more      6,881                       34.157%
            36 hours or more      2,891                       14.351%
            48 hours or more      1,069                       5.307%
            72 hours or more      157                         0.779%


                23.   Table 1.1 reflects the number of hours each detainee was held on every
        occasion of detainment. For example, if a detainee were confined for 12 hours, released,
        then subsequently apprehended and detained for another 12 hours, Table 1 would only
        count that detainee once, in the “12 hours or more” category. Table 1.1 would instead
        count two Detainment Events, each under the category of “12 hours or more.” Thus,
        Table 1.1 more accurately reflects the hours of confinement a detainee is held on each
        occasion under CBP custody.
                24.   The difference between Table 1 and Table 1.1 also indicates that within the
        Relevant Time Period detainees were held more than once on over 3000 occasions. This
        indicates that a significant number of detainees experience the hold rooms more than
        once.

                      ii.    Provision of Sleeping Mats
                25.   For all detainees held in U.S. Border Patrol custody over this time period,
        there are only 122 detainees who reportedly received a sleeping mat. That is 0.7% out of
        the 16,992 unique Alien file Numbers identified in the e3DM Spreadsheet.
                26.   To calculate this figure, I searched for any occurrence in the
        “DA_COMMENT_TEXT” column of terms related to sleeping mats: “bed,” “foam” or


                                                                                           104
Case 2:85-cv-04544-DMG-AGR
         Case 4:15-cv-00250-DCB
                              Document
                                 Document
                                       312-1
                                          206-5
                                             FiledFiled
                                                    01/03/17
                                                        08/17/16
                                                              Page
                                                                 Page
                                                                   1139ofof126
                                                                            21 Page ID
                                     #:10756


        “mat” (with an exclusion for “mat wit,” which I observed meant “material witness”). I
        isolated those results and expunged the irrelevant hits to form a preliminary list of records
        indicating that a mat had been provided. I then did a visual check of the rows not isolated
        in my initial search with “DA_COMMENT_TEXT” entries for any other notes or remarks
        which might indicate that a mat had been provided and added any relevant records to the
        preliminary list.

                      iii.   Provision of Showers
               27.    For all detainees held in U.S. Border Patrol custody over this time period,
        there are only 115 detainees who reportedly received a shower. That is 0. 677% of the
        16,992 total number of individuals identified from the e3DM Spreadsheet.
               28.    To calculate this figure, I searched for any occurrence in the
        “DA_COMMENT_TEXT” column for the term “shower.” Following that text search, I
        also did a visual search for any other text related to showers on the remaining rows.
               29.    I also searched for any occurrence of the “SHWRP” action code (defined as
        “Shower Provided”).

                      iv.    Provision of Dental Care Supplies
               30.    For all detainees held in U.S. Border Patrol custody over this time period,
        there are only 1,642 detainees who reportedly received provision of some dental care
        supplies, including toothbrush or toothpaste. That is 9.663% out of the 16,992 unique
        Alien file Numbers identified from the e3DM Spreadsheet.
               31.    To calculate this figure, I searched for any occurrence in the
        “DA_COMMENT_TEXT” column of terms related to dental care: “tooth,” “teeth,” or
        “brush.” Following that text search, I also did a visual search for any other text related to
        dental care on the remaining rows.

                      v.     Provision of Feminine Hygiene Supplies
               32.    For all detainees held in U.S. Border Patrol custody over this time period,
        there are only 93 detainees who reportedly received toilet paper or feminine hygiene



                                                                                            105
Case 2:85-cv-04544-DMG-AGR
        Case 4:15-cv-00250-DCB
                             Document
                               Document
                                      312-1
                                         206-5
                                             Filed
                                                 Filed
                                                    01/03/17
                                                       08/17/16
                                                              Page
                                                                Page
                                                                   11410
                                                                       ofof
                                                                         12621 Page ID
                                    #:10757


        supplies. That is 0.5473% of the 16,992 unique Alien file Numbers identified from the
        e3DM Spreadsheet.
               33.     To calculate this figure, I searched for any occurrence in the
        “DA_COMMENT_TEXT” column of terms related to toilet paper or feminine hygiene
        supplies: “toilet paper,” “feminine hygiene products,” “feminine products,” “maxi pad,”
        “pad,” and “pads.” Following that text search, I also did a visual search for any other text
        related to toilet paper or feminine hygiene supplies on the remaining rows.
               34.     Regarding the provision of feminine hygiene supplies, I was not able to run
        analysis of the data limited by gender because the e3DM Spreadsheet does not have
        adequate data to determine the gender of any detainee.

                       vi.    Provision of Baby Supplies
               35.     For all detainees held in U.S. Border Patrol custody over this time period,
        there are only 208 detainees who reportedly received baby supplies. I calculated that
        there were 372 infants under the age of three held in U.S. Border Patrol custody over this
        time period.
               36.     To calculate the number of detainees who reportedly received baby supplies,
        I searched for any occurrence in the “DA_COMMENT_TEXT” column of terms related
        to baby supplies: “bottle,” “diaper,” “diapers,” “formula,” and “gerber,” and “nido.”
        Following that text search, I also did a visual search for any other text related to baby
        supplies on the remaining rows.
               37.     To calculate the number of infants held in U.S. Border Patrol custody over
        this time period, I searched for individual detainees where the difference in their
        “BIRTH_DT” (birth date) was three years or less from the timestamp of the initial
        “In_BP_Station” action code.

                       vii.   Provision of Food
                              a.     Gap Time Between Food Offerings
               38.     For all detainees held in U.S. Border Patrol custody over this time period,
        the average gap time between reported food offerings to detainees was 5.056 hours.


                                                                                              106
Case 2:85-cv-04544-DMG-AGR
        Case 4:15-cv-00250-DCB
                             Document
                               Document
                                      312-1
                                         206-5
                                             Filed
                                                 Filed
                                                    01/03/17
                                                       08/17/16
                                                              Page
                                                                Page
                                                                   11511
                                                                       ofof
                                                                         12621 Page ID
                                    #:10758


               39.    In calculating these figures, I considered both the “MLACC” action code
        (described as “Served meal(Accepted)”) and “MLREF” action code (described as “Served
        meal(Refused)”) as an incident of a detainee being offered food.
               40.    I also observed that there were occurrences in the
        “DA_COMMENT_TEXT” where a detainee may have been offered food but those
        occurrences were not logged with an “MLACC” or “MLREF” action code.
               41.    I searched for any occurrence in the “DA_COMMENT_TEXT” column of
        terms related to food: “food,” “meal,” “breakfast,” “lunch,” “dinner,” “eat,” “eating,”
        “bean,” “cheese,” “milk,” “drink,” “drinking,” “ate,” “water,” “juice,” “formula,”
        “gerber,” “nido,” “pedialyte,” “electrolyte,” “snack,” “soup,” “burrito,” “burro,” “animal
        crackers,” and “crackers.”
               42.    My search resulted in 2,168 occurrences. For example, “subject has blanket
        and snack requires nothing further at this time.” For the purposes of this analysis, I
        counted these log entries as an incident of a detainee being offered food.
               43.    Accordingly, the average gap time between food was calculated either from
        1) the difference between the timestamps of an “MLACC” action code (described as
        “Served meal(Accepted)”), an “MLREF” action code (described as “Served
        meal(Refused)”), or occurrences in the “DA_COMMENT_TEXT” field as described
        above; 2) the difference between the timestamps of an “MLACC” or “MLREF” action
        code or food-related occurrence appearing in the “DA_COMMENT_TEXT” and a final
        book out timestamp where no subsequent “MLACC” or “MLREF” action code or food-
        related “DA_COMMENT_TEXT” appeared; or 3) the difference between the initial book
        in timestamp and an initial “MLACC” or “MLREF” action code or food-related
        occurrence appearing in the “DA_COMMENT_TEXT” field.
               44.    My analysis indicated that there were 6,719 instances of a gap extending 12
        or more hours without an individual being offered food of any kind.




                                                                                           107
Case 2:85-cv-04544-DMG-AGR
        Case 4:15-cv-00250-DCB
                             Document
                               Document
                                      312-1
                                         206-5
                                             Filed
                                                 Filed
                                                    01/03/17
                                                       08/17/16
                                                              Page
                                                                Page
                                                                   11612
                                                                       ofof
                                                                         12621 Page ID
                                    #:10759


               45.     There were 4,474 instances of such a gap extending 15 or more hours; 2,425
        instances of such a gap extending 20 or more hours; and 1,400 instances of such a gap
        extending 24 or more hours.

                               b.    Gap Time Between Meals (Burrito)
               46.     For the Tucson Sector Stations, the vast majority of the 87,712 results from
        the food-related term search of the “DA_COMMENT_TEXT” column hit on terms
        related to three types of food: burritos, juice, and crackers.
               47.     In order to isolate the incidents where a detainee was offered a burrito, I
        searched for any occurrence in the “DA_COMMENT_TEXT” column of terms related to
        burrito: “burrito,” “burritos,” and “burro.”
               48.     For all detainees held in U.S. Border Patrol custody during the Relevant
        Time Period, there were 52,382 instances logged, where a meal (burrito) was offered.
               49.     For all detainees held in U.S. Border Patrol custody during the Relevant
        Time Period, the average gap time between burritos reportedly offered to detainees was
        7.336 hours.
               50.     The e3DM data produced by Defendants does not appear to reflect whether
        meals were offered upon arrest or during times of transport between different facilities.
        To my knowledge, Defendants have not produced any policies or procedures regarding
        the provision of meals during transit or between time of arrest and initial book in at a
        Border Patrol station.

                       viii.   Provision of Medical Screening
               51.     For all detainees held in U.S. Border Patrol custody over this time period, I
        did not identify any medical screening reportedly performed on a detainee.
               52.     I did not observe any columns or action codes with definitions related to
        medical screening, either in the e3DM Spreadsheet itself or in the list of explanations,
        Exhibit 119. I searched for any occurrence in the “DA_COMMENT_TEXT” column of
        terms related to medical screening: “doctor”, “emergency”, “medical eval”, “medical
        screen”, “medical test”, “medic”, “hospital”, “observation” and “ER”. Following that text


                                                                                             108
Case 2:85-cv-04544-DMG-AGR
        Case 4:15-cv-00250-DCB
                             Document
                               Document
                                      312-1
                                         206-5
                                             Filed
                                                 Filed
                                                    01/03/17
                                                       08/17/16
                                                              Page
                                                                Page
                                                                   11713
                                                                       ofof
                                                                         12621 Page ID
                                    #:10760


        search, I also did a visual search for any other text related to baby supplies on the
        remaining rows.
               53.    That search did not result in any hits for medical screening.

                      ix.     Provision of Medical Treatment
               54.    For all detainees held in U.S. Border Patrol custody over this time period, in
        one of the eight facilities in the Tucson sector described above, I identified 527 incidents
        of medical treatment reportedly provided to a detainee.
               55.    I did not observe any columns or action codes with definitions related to
        medical treatment. Next, I searched for any occurrence in the “DA_COMMENT_TEXT”
        column of terms related to medical treatment: “complained”, “complaining”, “EMT”,
        “headache”, “health”, “injured”, “medication”, “medicine”, “meds”, “pain”, “pills”,
        “prescribed”, “treated”, “treatment”. Following that text search, I also did a visual search
        for any other text related to medical treatment on the remaining rows.

               B.     Station-by-Station Analysis
               56.    I performed the following analysis of the e3DM Spreadsheet data for each
        of the Tucson Sector Stations.

                      i.      Provision of Sleeping Mats
               57.    The following table represents the number of detainees held in one of the
        Tucson Sector facilities who reportedly received a sleeping mat, compared to the total
        number of individuals identified from the e3DM Spreadsheet detained in each of these
        facilities over this time period:

        Table 2
        Facility                            Number of         Number of Total           Percentage
                                            Detainees         Detainees
                                            Provided Mats
        Casa Grande                         3                 1,700                     0.176%
        Douglas                             84                3,909                     2.149%
        Tucson Sector Tucson
                                            35                18,087                    0.194%
        Coordinating Center


                                                                                            109
Case 2:85-cv-04544-DMG-AGR
        Case 4:15-cv-00250-DCB
                             Document
                               Document
                                      312-1
                                         206-5
                                             Filed
                                                 Filed
                                                    01/03/17
                                                       08/17/16
                                                              Page
                                                                Page
                                                                   11814
                                                                       ofof
                                                                         12621 Page ID
                                    #:10761


               58.    To calculate this figure, I searched for any occurrence in the
        “DA_COMMENT_TEXT” column of terms related to sleeping mats: “bed,” “foam,” or
        “mat” (with an exclusion for “mat wit”). Following that text search, I also did a visual
        search for any other text related to sleeping mats on the remaining rows.
               59.    Three facilities—Douglas, Nogales and Tucson Sector Tucson Coordinating
        Center —yielded results from these searches.

                      ii.    Provision of Showers
               60.    The following table represents the number of detainees held in one of the
        Tucson Sector Stations who reportedly received a shower, compared to the total number
        of individuals identified from the e3DM Spreadsheet detained in each of these facilities
        over this time period:


        Table 3
        Facility                 Number of               Number of Total               Percentage
                                 Detainees Provided      Detainees
                                 Shower
        Casa Grande              20                      1,700                         1.176%
        Douglas                  1                       3,909                         0.026%
        Nogales                  2                       4,457                         0.045%
        Tucson Sector Tucson
                                 92                      18,087                        0.509%
        Coordinating Center


               61.    To calculate this figure, I searched for any occurrence in the
        “DA_COMMENT_TEXT” column for the term “shower.” Following that text search, I
        also did a visual search for any other text related to showers on the remaining rows.
               62.    I also searched for any occurrence of the “SHWRP” action code (described
        as “Shower Provided”).
               63.    Four facilities—Casa Grande, Douglas, Nogales and Tucson Sector Tucson
        Coordinating Center —yielded results from these searches.



                                                                                          110
Case 2:85-cv-04544-DMG-AGR
        Case 4:15-cv-00250-DCB
                             Document
                               Document
                                      312-1
                                         206-5
                                             Filed
                                                 Filed
                                                    01/03/17
                                                       08/17/16
                                                              Page
                                                                Page
                                                                   11915
                                                                       ofof
                                                                         12621 Page ID
                                    #:10762


               64.     Of the 115 instances where subjects were provided a shower, 74 were in
        CBP custody for at least 24 hours, 41 were in CBP custody for at least 48 hours, and 4
        were in CBP custody for at least 72 hours. Based on a comparison with a table of
        common Hispanic women’s names, 15 were possibly females. Seven were juveniles.
               65.     To calculate the number of juveniles held in one of the Tucson Sector
        Stations this time period, I searched for individual detainees where the difference in their
        “BIRTH_DT” (birth date) was thirteen years or less from the timestamp of the
        corresponding “SHWRP” action code, or timestamp of a shower-related occurrence
        appearing in the “DA_COMMENT_TEXT” field.
               66.     My analysis of the provision of showers suggested that at least some of the
        e3DM data produced by Defendants is unreliable. For example, I understand that, during
        Plaintiffs’ inspection of the Casa Grande station on September 9, 2015, CBP informed
        Plaintiffs’ counsel that there were no shower facilities at Casa Grande. However, the
        e3DM spreadsheet shows that, between June 10 and September 28, 2015, 20 showers
        were provided at that facility. Upon closer examination, it appears that 19 of those
        20 showers were provided at midnight on August 4, 2015. The 20th shower was provided
        at 4:15 a.m. that same day. These factors indicate that the 20 records may be incorrect.
               67.     Regarding the provision of showers, specifically to female subjects, I was
        not able to run analysis of the data limited by gender because the e3DM Spreadsheet does
        not have adequate data to determine the gender of any detainee.

                       iii.   Provision of Food
               68.     The following table represents the average gap time between meals
        reportedly offered to detainees in one of the Tucson Sector Stations over this
        time period:




                                                                                           111
Case 2:85-cv-04544-DMG-AGR
        Case 4:15-cv-00250-DCB
                             Document
                               Document
                                      312-1
                                         206-5
                                             Filed
                                                 Filed
                                                    01/03/17
                                                       08/17/16
                                                              Page
                                                                Page
                                                                   12016
                                                                       ofof
                                                                         12621 Page ID
                                    #:10763



        Table 4
        Facility                           Meals           Meals        Meals        Average Meal
                                           Offered         Accepted     Declined     Gap Time
        Ajo                                676             670          6            3.355
        Brian A. Terry                     1,245           1,206        39           5.127
        Casa Grande                        2,715           2,690        25           3.855
        Douglas                            5,519           5,468        51           5.886
        Nogales                            2,193           2,165        28           2.959
        Sonoita                            456             456          0            2.211
        Tucson Sector Tucson
        Coordinating Center                39,352          39,231       121          8.239
        Willcox                            226             216          10           4.130


               69.    These figures were calculated in the same manner as described in Section
        viii above, but at the station-by-station level.

        III.   EID SPREADSHEET ANALYSIS
               70.    I understand that the EID Spreadsheet (USA000699) includes records of the
        last known holding cell at each facility in which detainees were housed during the
        Relevant Time Period. I also understand that records regarding any prior cells in which
        detainees were held has not been preserved.
               71.    The EID Spreadsheet produced by Defendants does not include any data
        regarding the specific dates during which individuals were held in the holding cells listed.
               72.    I was asked to calculate the number of detainees at Casa Grande Station
        during the Relevant Time Period who were last held in Cell 6. By filtering the
        “DC_Station column” for “CAG_S” and the “DCL_CELL_NM” column for any field
        containing the text “Cell 6,” I calculated that no fewer than 34 individuals were last held
        in Cell 6 during the Relevant Time Period:




                                                                                             112
Case 2:85-cv-04544-DMG-AGR
        Case 4:15-cv-00250-DCB
                             Document
                               Document
                                      312-1
                                         206-5
                                             Filed
                                                 Filed
                                                    01/03/17
                                                       08/17/16
                                                              Page
                                                                Page
                                                                   12117
                                                                       ofof
                                                                         12621 Page ID
                                    #:10764



                      Table 5
                      DC_STATION             DCL_CELL_NM            Detainee Count
                      CAG_S                  Cell 6                             22
                      CAG_S                  Cell 6_1507                          3
                      CAG_S                  Cell 6_4778                          9

        IV.    METHODOLOGY
               A.     e3DM Spreadsheet
               73.    Upon my initial review of the e3DM Spreadsheet, I observed that the
        document contained 498,387 rows of data, with an associated date range of October 6,
        2014 to October 7, 2015. As explained below and based on my review, it is my
        understanding that each row purports to represent a discrete event logged for a detainee
        held in BP custody.
               74.    I implemented a variety of quality control measures before performing
        analysis on the data. I discovered that a significant number of rows in the e3DM
        Spreadsheet were duplicates of other rows. To remove the duplicate rows, I engaged in
        the following process: First, I sorted the rows into chronological order. Then, I used a
        text editing program to locate rows that contained identical information in the first twenty-
        five columns of the e3DM Spreadsheet. Once identified, I removed those duplicate rows.
               75.    I also observed that the e3DM Spreadsheet included rows that were outside
        of the Relevant Time Period. I observed that records outside the Relevant Time Period
        invariably pertained to individuals who were also detained at some point during the
        Relevant Time Period. When I searched the number of records on each day outside the
        Relevant Time Period, I found that these records were dramatically fewer than the records
        for each day inside the Relevant Time Period. I understand that Defendants were only
        ordered to produce e3DM data for detainees held during the Relevant Time Period.
        Considering all these factors, I concluded that the data from outside the Relevant Time
        period was not comprehensive (i.e., the majority of records from those dates had been
        omitted from the e3DM Spreadsheet produced by Defendants). Because the records


                                                                                           113
Case 2:85-cv-04544-DMG-AGR
        Case 4:15-cv-00250-DCB
                             Document
                               Document
                                      312-1
                                         206-5
                                             Filed
                                                 Filed
                                                    01/03/17
                                                       08/17/16
                                                              Page
                                                                Page
                                                                   12218
                                                                       ofof
                                                                         12621 Page ID
                                    #:10765


        outside the Relevant Time Period appeared largely incomplete and unreliable for
        statistical analysis, I applied a date filter to include only rows with an associated date
        range of June 10, 2015 to September 28, 2015 (the Relevant Time Period). I created this
        filter based on the data in the “Action_DT” (action date) and “Book_Out_DT” (book out
        date) columns.
               76.     After deduplication and date filtering, there were 277,009 rows of data in
        the e3DM Spreadsheet.
               77.     Because each row purports to represent a discrete event logged for a
        detainee, I then searched for all unique “ALIEN_FILD-NBRs” (defined as Alien file
        Numbers) to attempt to determine the number of individuals captured in the e3DM and
        e3DM Supplemental Spreadsheets. That search resulted in 17,006 unique Alien file
        Numbers. This number includes the 14 anonymous individuals who were listed in the
        Supplemental e3DM Spreadsheet (Ex. 97) and whose records were largely withheld.
               78.     In performing my analysis on this data, I observed a common workflow for
        processing detainees that included rows logging the following events listed in the
        “Actions” column of the e3DM Spreadsheet:
               • “Arrest”
               • “In_BP_Station” – when detainee arrived at Border Patrol station
               • “In_Transit” – if detainee was transported from one station to another
               • “In_BP_Station” – following any “In_Transit” action code
               • Custodial action codes while a detainee was in a facility, including:
                     o “MLACC” – served meal, accepted
                     o “MLREF” – served meal, accepted
                     o “SHWRP” – shower provided
               79.     In my review of the e3DM Spreadsheet, I did not observe unique rows that
        contained data logging the date and time a detainee was booked out of Border Patrol
        custody (“Book_Out_DT”). Instead, the “Book_Out_DT” information was somehow



                                                                                             114
Case 2:85-cv-04544-DMG-AGR
        Case 4:15-cv-00250-DCB
                             Document
                               Document
                                      312-1
                                         206-5
                                             Filed
                                                 Filed
                                                    01/03/17
                                                       08/17/16
                                                              Page
                                                                Page
                                                                   12319
                                                                       ofof
                                                                         12621 Page ID
                                    #:10766


        entered into a field in a subsequent column of the row logging the “In_BP_Station” action
        code.

                B.    Supplemental e3DM Spreadsheet
                80.   I implemented the same quality control measures for the Statistical
        Information – Information Redacted from USA000653 Pursuant to 8 U.S.C. 1367
        spreadsheet (“supplemental e3DM Spreadsheet”).
                81.   Upon my initial review of the supplemental spreadsheet, I observed that the
        document contained 402 rows of data.
                82.   I deduplicated the rows by sorting them into chronological order and used a
        text editing program to locate rows that contained identical information in the first twenty-
        five columns of the supplemental spreadsheet.
                83.   I also applied a date filter to include only rows with an associated date range
        of June 10, 2015 to September 28, 2015.
                84.   After deduplication and date filtering, there were 216 rows of data in the
        supplemental spreadsheet.
                85.   I also identified 14 unique Alien file numbers, suggesting that the 216
        records pertained to 14 different individuals.

        V.      ADDITIONAL DOCUMENTS RELIED UPON
                86.   Exhibit 78 is a true and correct copy of a document produced by Defendants
        on or about August 24, 2015, Bates labeled USA000001-004, which purports to be a list
        of all logs required to be produced under the Court’s August 14, 2004 Order. The
        document provides a description of Defendants’ Enforcement Integrated Database (EID),
        the e3 application through which Border Patrol records information specific to individual
        detainees, and the e3DM Detention Module, which “maintains information related to
        individuals who are detained in BP custody.” (Ex. 78 at USA000003.)
                87.   Exhibit 82 is a true and correct copy of a document produced by Defendants
        on or about September 4, 2015, Bates labeled USA000119-122, which purports to be a
        CBP Memorandum dated September 24, 2012 with the subject heading: “Use of the e3


                                                                                            115
Case 2:85-cv-04544-DMG-AGR
        Case 4:15-cv-00250-DCB
                             Document
                               Document
                                      312-1
                                         206-5
                                             Filed
                                                 Filed
                                                    01/03/17
                                                       08/17/16
                                                              Page
                                                                Page
                                                                   12420
                                                                       ofof
                                                                         12621 Page ID
                                    #:10767


        Detention Module,” which requires as of October 1, 2012 that “usage of the e3 Detention
        Module (e3DM) by all field elements will be mandatory for all transfers out of U.S.
        Border Patrol custody and inter-sector/station transfers.” (Ex. 82 at USA000121.) The
        memorandum also states that “Due to the importance that Congress, DHS and CBP place
        on the integrity of data returned from all information technology systems, it is imperative
        that all data be as complete and accurate as possible” and requires “each sector will
        establish local protocols for using the module[.]” (Id.)
               88.    Exhibit 86 is a true and correct copy of a document produced by Defendants
        on or about September 4, 2015, Bates labeled USA000321, which purports to be a CBP
        Memorandum dated October 8, 2013 with subject heading “Use of the Updated e3
        Detention Module,” which states that “all Chief Patrol Agents will ensure that the updated
        e3DM is used to the fullest extent to capture the custodial actions and transportation for
        all detainees.” (Ex. 86 at USA000321.)
               89.    Exhibit 193 is a true and correct copy of a letter dated October 16, 2015
        from Plaintiffs’ counsel requesting that Defendants “produce the manual or instructions
        for inputting and storing [e3DM] data through the e3 application and e3DM module so
        that [Plaintiffs] can understand how Border Patrol creates and maintains these records,
        and the nature of the data reflected in those records.” (Ex. 193 at 1.)
               90.    Exhibit 194 is a true and correct copy of a letter dated October 23, 2015,
        received by Plaintiffs’ counsel, wherein Defendants “decline to produce those additional
        materials, if any exist” in reference to the e3DM manual or instructions requested in
        Exhibit 193. (Ex. 194 at 1.)
               91.    Exhibit 96 is a true and correct copy of a document produced by Defendants
        on or about October 9, 2015, Bates labeled USA00652, entitled “e3 Detention Module
        Custodial Action Codes,” which purports to explain “Action Codes” appearing in
        Defendant’s e3DM data. (Ex. 96.)
               92.    Exhibit 97 is a true and correct copy of a document produced by Defendants
        on or about October 12, 2015, Bates labeled USA000654-665 and entitled “Statistical


                                                                                           116
Case 2:85-cv-04544-DMG-AGR
        Case 4:15-cv-00250-DCB
                             Document
                               Document
                                      312-1
                                         206-5
                                             Filed
                                                 Filed
                                                    01/03/17
                                                       08/17/16
                                                              Page
                                                                Page
                                                                   12521
                                                                       ofof
                                                                         12621 Page ID
                                    #:10768


   1   Information - Information Redacted From USA000653 Pursuant to 8 U.S.C. 1367,"
   2   which purports to include partial detainee records that were omitted from Defendants'
   3   original production of e3DM data. (Ex 97 at USA000654.)
   4           93.    Exhibit 119 is a true and correct copy ofBates labeled USA002184-2186
   5   produced by Defendants on or about November 6, 2015 and purports to provide
   6   descriptions of column headings in the e3DM data spreadsheet, USA00653. This
   7   document was previously produced, Bates labeled USA00700-020.
   8           94.    Exhibit192 at USA002184, on November 13, 2015, Defendants produced a

   9   second document Bates labeled USA002184, which purports to explain station
  10   abbreviations in the e3DM data spreadsheet (USA000653).
  11           Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing

  12   is true and correct.
  13           Executed this 4th day ofDecember, 2015.
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       DECL. OF JOSEPH GASTON ISO PLAINTIFFS' MOT. FOR PRELIMINARY INJUNCTION                   19
       CASE No. 4: l 5-cv-00250-DCB
       sf-3591981                                                                         117
Case 2:85-cv-04544-DMG-AGR Document 312-1 Filed 01/03/17 Page 126 of 126 Page ID
                                  #:10769

1
2                                    CERTIFICATE OF SERVICE

3          I, Peter Schey, declare and say as follows:
4
           I am over the age of eighteen years of age and am a party to this action. I am
5
6    employed in the County of Los Angeles, State of California. My business address is
7    256 S. Occidental Blvd., Los Angeles, CA 90057, in said county and state.
8
           On January 3, 2017 I electronically filed the following document(s):
9

10      •   PLAINTIFFS’ EXHIBITS 1 - 5 TO PLAINTIFFS’ SUPPLEMENTAL RESPONSE IN
            SUPPORT OF MOTION TO ENFORCE SETTLEMENT AND APPOINT A SPECIAL
11
            MONITOR
12
     with the United States District Court, Central District of California by using the
13
14   CM/ECF system. Participants in the case who are registered CM/ECF users will be
15
     served by the CM/ECF system.
16
17
                                                  /s/__Peter Schey_____
18                                                Attorney for Plaintiffs
19

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